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     1       IN THE UNITED STATES DISTRICT COURT
     2        FOR THE EASTERN DISTRICT OF OHIO
     3                EASTERN DIVISION
     4                     - - -
     5    IN RE: NATIONAL     : MDL NO. 2804
          PRESCRIPTION OPIATE :
     6    LITIGATION          :
          -----------------------------------------
     7                        : CASE NO.
          THIS DOCUMENT       : 1:17-MD-2804
     8    RELATES TO ALL CASES:
                              : Hon. Dan A.
     9                        : Polster
    10                     - - -
                 Thursday, December 13, 2018
    11                     - - -
    12    HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                   CONFIDENTIALITY REVIEW
    13
                                    -    -   -
    14
                       Videotaped deposition of
    15    SHAUN ABREU, taken pursuant to notice,
          was held at the law offices of Locke
    16    Lord, LLP, Brookfield Place, 200 Vesey
          St., 20th Floor, New York, New York
    17    10281-2101, beginning at 9:06 a.m., on
          the above date, before Amanda Dee
    18    Maslynsky-Miller, a Certified Realtime
          Reporter.
    19
                                    -    -   -
    20
    21
    22
    23              GOLKOW LITIGATION SERVICES
                 877.370.3377 ph| 917.591.5672 fax
    24                   deps@golkow.com
   Golkow Litigation Services                                        Page 1 (1)
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    1   APPEARANCES:                               1   APPEARANCES: (Continued)
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    1               - - -                              1   there's nothing so formal about this that
    2           (It is hereby stipulated and           2   you can't stop and ask to talk to your
    3       agreed by and among counsel that           3   lawyer. If there's some issue between
    4       sealing, filing and certification          4   us, then the lawyers will handle that
    5       are waived; and that all                   5   between ourselves.
    6       objections, except as to the form          6            But, otherwise, as we go
    7       of the question, will be reserved          7   through today, if I ask a question and
    8       until the time of trial.)                  8   you answer it, for my purposes, I'm going
    9              - - -                               9   to assume that you've understood the
   10           VIDEO TECHNICIAN: We are              10   question.
   11       now on the record. My name is Ray         11            Is that a fair way to start?
   12       Moore, I'm a videographer with            12        A. Yes.
   13       Golkow Litigation Services.               13        Q. Okay. Your answers have to
   14       Today's date is December 12, 2018,        14   be verbal, that is, the court reporter is
   15       and the time is 9:06 a.m.                 15   taking down each word, so gestures or
   16           This video deposition is              16   sounds are hard to type. So please
   17       being held in New York, New York,         17   articulate all of your answers verbally.
   18       in the matter In Re National              18            And also because the court
   19       Prescription Opiate Litigation for        19   reporter is taking this down, please wait
   20       the United States District Court          20   for my question to finish before you
   21       for the Northern District of Ohio,        21   answer. And I'll do the same, I'll try
   22       Eastern Division MDL2804.                 22   not to interrupt your response.
   23           The deponent is Shaun Abreu.          23            Do you have any questions
   24       Counsel will be noted on the              24   before we get started?
                                            Page 11                                               Page 13
    1         stenographic record. The court           1        A. No.
    2         reporter is Amanda Miller, and           2        Q. Okay. Have you done this
    3         will now swear in the witness.           3   before?
    4                  - - -                           4        A. No.
    5              SHAUN ABREU, after having           5        Q. Again, at any time if you
    6         been duly sworn, was examined and        6   have any questions, just stop and we'll
    7         testified as follows:                    7   take a break or clarify whatever you
    8                  - - -                           8   need.
    9                EXAMINATION                       9            Let's get started.
   10                  - - -                          10            So could you give me your
   11   BY MR. MIGLIORI:                              11   full name and your current residence?
   12         Q. Good morning, Mr. Abreu.             12        A. Shaun Terrence Abreu. And
   13         A. Good morning.                        13   that's 686 North Fulton Avenue,
   14         Q. My name is Don Migliori, I'm         14   Lindenhurst, New York 11757.
   15   from the law firm Motley Rice, and I'm        15        Q. What is your job title and
   16   one of the lawyers representing the           16   employment?
   17   various plaintiffs in this litigation.        17        A. I work for Henry Schein.
   18              I'll be asking you questions       18   I'm a senior manager of the verifications
   19   throughout the course of today. My voice      19   team.
   20   is a little low. If you can't hear me or      20        Q. And what are your
   21   if you can't understand me, please stop       21   responsibilities as a senior manager?
   22   me, and I'll clarify or raise my voice.       22        A. So I'm responsible for
   23              If there's any questions           23   overseeing our licensing verification
   24   that you have during the deposition,          24   process, as well as our program for
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    1   suspicious order monitoring and customer         1   there between verification and the
    2   due diligence.                                   2   regulatory affairs department?
    3        Q. Okay. Let's break that                   3            MR. JONES: Object to the
    4   down.                                            4        form. Vague.
    5            Let's start with the                    5   BY MR. MIGLIORI:
    6   licensing side. Licensing for what               6        Q. What's the relationship?
    7   processes within Henry Schein?                   7   Are you in parallel departments? Do you
    8        A. So customers' orders of                  8   have any responsibilities within
    9   prescription products, devices, drugs and        9   regulatory affairs?
   10   controlled substances. We validate              10        A. I don't have responsibility
   11   licensure and credentials for the               11   within regulatory affairs.
   12   shipment of those products.                     12        Q. Does regulatory affairs have
   13        Q. On the suspicious order                 13   responsibilities within the suspicious
   14   monitoring side, what are your                  14   order monitoring program?
   15   responsibilities, more precisely?               15        A. Yes. They have oversight.
   16        A. To, you know, control the               16        Q. Okay. So in that sense, is
   17   system itself, you know, review orders          17   the verification process for which you're
   18   and conduct customer due diligence to           18   a senior manager, does that report to
   19   ship those orders.                              19   regulatory affairs, or does regulatory
   20        Q. Are you part of the                     20   affairs have oversight over your
   21   verification department, or is there            21   verification process?
   22   another name for the department that            22        A. Regulatory has oversight
   23   you're in?                                      23   over the verification process.
   24        A. No, it's the verifications              24        Q. And has that been true as
                                              Page 15                                              Page 17
    1   department.                                      1   long as you've been involved with
    2        Q. And that's separate, as I                2   verifications?
    3   understand it, from the regulatory               3        A. Yes.
    4   affairs department?                              4        Q. And who is the senior-most
    5        A. That's correct.                          5   person in the regulatory affairs
    6        Q. Is there overlap or                      6   department?
    7   oversight for both of those departments          7        A. Jeff Peacock.
    8   that you report to?                              8        Q. And how many people does
    9        A. I'm sorry, say that one more             9   Jeff Peacock have underneath him?
   10   time.                                           10        A. I'm not sure of an exact
   11        Q. Not a good question.                    11   number.
   12            Who do you report to?                  12        Q. When you interact with
   13        A. The name of my --                       13   regulatory affairs in its oversight
   14        Q. Supervisor.                             14   capacity, who do you deal with on a
   15        A. -- my manager?                          15   day-to-day basis?
   16        Q. His or her title.                       16        A. Sergio Tejeda.
   17        A. Bill Brandt.                            17        Q. And what's Sergio's title?
   18        Q. And what is his title?                  18        A. He's the director of
   19        A. He's the executive director             19   regulatory affairs.
   20   of customer service.                            20        Q. And what kind of
   21        Q. Is that role above                      21   interactions would you have in
   22   regulatory affairs as well?                     22   verifications with Sergio?
   23        A. No, it's separate.                      23        A. Just understanding
   24        Q. What, if any, overlap is                24   requirements and systems, and just
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    1   collaboration on a day-to-day basis.              1   of the folks that are on your team?
    2        Q. And in terms of suspicious                2        A. It's a lot of people.
    3   orders, is there a process today where            3        Q. Okay. How many people?
    4   you formally seek approval for shipment           4   Let's start there.
    5   from the regulatory affairs department?           5        A. About 42.
    6        A. We collaborate, yes.                      6        Q. Okay. Are they all in the
    7        Q. And, ultimately, when you                 7   same location, or are they throughout the
    8   collaborate with regulatory affairs,              8   country?
    9   whose decision is it to decide to ship or         9        A. Two different locations.
   10   not ship an order?                               10        Q. What are the two locations?
   11        A. On ones that we discuss,                 11        A. Melville, New York and Reno,
   12   regulatory would have the final say.             12   Nevada.
   13        Q. Are there some suspicious                13        Q. So you're in Melville, New
   14   orders that are allowed to be cleared            14   York, correct?
   15   today that don't require you to go to            15        A. Correct.
   16   regulatory affairs?                              16        Q. And how many people are in
   17            MR. JONES: Object to the                17   the verifications department in the
   18        form. Vague.                                18   Melville, New York office?
   19            MR. MIGLIORI: Go ahead.                 19        A. Twenty-five.
   20            THE WITNESS: Sorry?                     20        Q. And the balance of the 42
   21   BY MR. MIGLIORI:                                 21   are in Reno?
   22        Q. Do you understand the                    22        A. Correct.
   23   question? I can repeat it.                       23        Q. And are the responsibilities
   24        A. Yes. I'm sorry, can you                  24   divided between those two offices
                                               Page 19                                              Page 21
    1   repeat it?                                        1   geographically?
    2        Q. Sure.                                     2         A. No.
    3            Are there some suspicious                3         Q. How are they divided?
    4   orders that can be cleared for shipment           4         A. It's one team working on
    5   that don't require verifications to go to         5   everything in collaboration. It's not
    6   regulatory affairs --                             6   divided geographically.
    7            MR. JONES: Same objection.               7         Q. So we're going to get more
    8   BY MR. MIGLIORI:                                  8   into many of the issues that we've
    9        Q. -- today?                                 9   touched upon. But let me start by asking
   10            You may answer.                         10   a little bit about you.
   11        A. Yes.                                     11             You've been at Henry Schein
   12        Q. And we'll go through those               12   since you graduated from college,
   13   systems.                                         13   correct?
   14            Would you be the person                 14         A. That's correct.
   15   responsible, within verifications, to            15         Q. You initially went to Nassau
   16   clear those orders, the ones that do not         16   Community College until 2003. And from
   17   go to regulatory affairs?                        17   2003 to 2005, you went to Farmingdale
   18        A. One of the people                        18   State University of New York?
   19   responsible.                                     19         A. That's correct.
   20        Q. And who would be the other               20         Q. You obtained a Bachelor's
   21   people in verifications?                         21   degree in business management technology,
   22        A. People on my team that would             22   correct?
   23   report to me.                                    23         A. Correct.
   24        Q. Could you give me the names              24         Q. And after that, within
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    1   December, I guess, of 2005 you started           1   became a lead representative for
    2   with Henry Schein as a customer service          2   database; is that correct?
    3   representative, correct?                         3         A. That's right.
    4        A. Yes.                                     4         Q. You held that position for a
    5        Q. What responsibilities did                5   little more than a year and-a-half?
    6   you have as a customer service                   6         A. I think it was a little
    7   representative?                                  7   longer, but yes.
    8        A. I would handle customer                  8         Q. And what did you do in that
    9   inquiries, you know, returns, credits,           9   capacity?
   10   tracking, those types of inquiries.             10         A. We were responsible for
   11        Q. Did that include controlled             11   maintaining the customer database.
   12   substances?                                     12         Q. And the customers being the
   13        A. Tracking, yes.                          13   physicians and healthcare facilities that
   14        Q. And did you have any role,              14   purchased devices and drugs and
   15   at that period of time, from 2005 to            15   controlled substances from Schein?
   16   2006, as a customer service                     16         A. Correct.
   17   representative, in any suspicious order         17         Q. In that role, as a database
   18   monitoring process?                             18   representative, did you have any
   19        A. No.                                     19   responsibilities relating to suspicious
   20        Q. In January of 2007, you                 20   order monitoring?
   21   became a customer service trainer?              21         A. No.
   22        A. Correct.                                22         Q. Did you have any training,
   23        Q. And you held that position              23   as of September of 2009, in any aspects
   24   for approximately a year, correct?              24   of suspicious order monitoring?
                                              Page 23                                               Page 25
    1        A. Correct.                                 1            MR. JONES: Object to the
    2        Q. And what were your                       2        form. Vague. Overly broad.
    3   responsibilities there?                          3            MR. MIGLIORI: Go ahead.
    4        A. I was to train new hires in              4            THE WITNESS: Can you, I'm
    5   the role that I was previously in.               5        sorry, repeat the question?
    6        Q. In the customer service                  6   BY MR. MIGLIORI:
    7   representative role?                             7        Q. Sure.
    8        A. Correct.                                 8            So I understand you held a
    9        Q. In that training, were there             9   role as a representative for the
   10   any aspects of that training that               10   database, customer database, through
   11   involved suspicious order monitoring            11   September of 2009; is that correct?
   12   processes for controlled substances?            12        A. Correct.
   13        A. No.                                     13        Q. Through September of 2009,
   14        Q. In January of --                        14   did you receive any training with respect
   15            MR. BEISELL: I'm sorry to              15   to suspicious order monitoring?
   16        interrupt, can we move the mike to         16        A. No.
   17        the witness? I can't hear the              17        Q. All right. In October of
   18        witness at all from the phone.             18   2009, you began working in the
   19               - - -                               19   verifications department, correct?
   20            (Whereupon, a discussion off           20        A. That's correct.
   21        the record occurred.)                      21        Q. At that point, did you
   22              - - -                                22   receive particularized training with
   23   BY MR. MIGLIORI:                                23   respect to suspicious order monitoring
   24        Q. In January of 2008 you                  24   and controlled substances?
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    1             MR. JONES: Object to the               1   suspicious order monitoring program, that
    2        form. Vague. Overly broad.                  2   is covered by regulatory as well,
    3             MR. MIGLIORI: Go ahead.                3   correct?
    4             THE WITNESS: Yes, I began              4            MR. JONES: Object to the
    5        training. Yes.                              5        form.
    6   BY MR. MIGLIORI:                                 6            THE WITNESS: Correct.
    7        Q. Describe the training you                7   BY MR. MIGLIORI:
    8   would have received, in October of 2009,         8        Q. All right. So your training
    9   relative to suspicious order monitoring          9   in verifications in 2009 was specific to
   10   programs and controlled substances?             10   the -- what you call license verification
   11        A. I was training with the                 11   or registration verification of your
   12   trainer at the time. And, you know, we          12   customers, correct?
   13   started going through training for              13        A. Correct.
   14   license verification and understanding          14        Q. Tell me what you learned at
   15   what the SOM processes and protocols were       15   that point about the verification
   16   at that time.                                   16   component of suspicious order monitoring
   17        Q. At that time, there was a               17   in 2009.
   18   suspicious order monitoring program in          18            MR. JONES: Object to the
   19   place, correct?                                 19        form. Overly broad. Vague.
   20        A. Correct.                                20            MR. MIGLIORI: Go ahead.
   21        Q. At that time, you were not              21            THE WITNESS: So when you
   22   in the division of suspicious order             22        say the "verification component,"
   23   monitoring; that is, you were not in            23        are you talking about the
   24   regulatory affairs, I should say,               24        licensing part and inclusive of
                                              Page 27                                              Page 29
    1   correct?                                         1        suspicious order monitoring?
    2        A. I was not in regulatory                  2   BY MR. MIGLIORI:
    3   affairs.                                         3        Q. Even more basic.
    4        Q. In verifications, your                   4            What became your job with
    5   responsibilities, within the suspicious          5   respect to verifications and suspicious
    6   order monitoring program in 2009, were           6   order monitoring in October of 2009?
    7   limited to license verification and              7        A. To, you know, to run the
    8   registration verification, correct?              8   system and our protocols for validating
    9        A. Can you repeat that                      9   licensure, right, state licensure,
   10   question?                                       10   federal licensure, for customers to
   11        Q. Sure.                                   11   receive prescription products, including
   12            When you started in the                12   controlled substances.
   13   verifications department, and you started       13        Q. And as of --
   14   to receive your training relative to            14            MR. JONES: Hang on. Were
   15   suspicious order monitoring and                 15        you finished?
   16   controlled substances, you were training        16            THE WITNESS: Hmm?
   17   within a division of verifications,             17            MR. JONES: Were you
   18   correct?                                        18        finished with your answer?
   19        A. Correct.                                19            THE WITNESS: Yes.
   20        Q. And verifications is a                  20            MR. MIGLIORI: He nodded.
   21   component part of the suspicious order          21        You may not have seen it.
   22   monitoring program, correct?                    22   BY MR. MIGLIORI:
   23        A. Correct.                                23        Q. Okay. And how long was that
   24        Q. It is not the entire                    24   your job in verifications, that is, the
   Golkow Litigation Services                                                    Page 8 (26 - 29)
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    1   description you just provided?                  1   BY MR. MIGLIORI:
    2        A. It continues to be to                   2        Q. This is a notice, it's
    3   present day.                                    3   called the first amended notice of
    4        Q. From the end of 2009 to                 4   deposition for today.
    5   today, how have your responsibilities           5            Have you seen this before?
    6   evolved within the verifications                6        A. Yes.
    7   department, and, specifically, to the           7        Q. And you understand that
    8   suspicious order monitoring program?            8   you're being asked to be here today as a
    9        A. I mean, they basically have             9   representative of the company, Henry
   10   been the same since the beginning. I've        10   Schein, Inc., correct?
   11   had responsibility for the license             11        A. Yes.
   12   verification and the suspicious order          12        Q. That is, we call this a
   13   monitoring since day one.                      13   30(b)(6) deposition, but it's another way
   14        Q. All right. Did you -- I                14   of saying that we're asking you to be
   15   understood you to say that you're a            15   here today to speak for the company
   16   senior manager now?                            16   relative to certain topics that are
   17        A. Yes.                                   17   specifically referenced in this notice.
   18        Q. What's the difference                  18            Do you understand that?
   19   between being a senior manager today and       19        A. Yes.
   20   what you started at in verifications back      20        Q. And that today we're not
   21   in 2009, if anything?                          21   here to take your personal deposition as
   22        A. Responsibility-wise?                   22   to facts that you have come across that
   23        Q. Yes.                                   23   are outside the scope of this.
   24        A. Well, I do oversee another             24            If, and when, we ever need
                                             Page 31                                               Page 33
    1   team as well.                                   1   that kind of deposition, that would be a
    2        Q. What team is that?                      2   separate process, okay?
    3        A. The gatekeepers.                        3        A. Okay.
    4        Q. And what role -- what does              4        Q. And I'm not going to go
    5   that department do? What does that team         5   through them here, it's not as
    6   do?                                             6   productive, but on Page 6 of this notice,
    7        A. It's the database team that             7   those subjects, those specific subjects
    8   I formerly worked in years prior.               8   for this deposition, are enumerated in
    9        Q. So your responsibilities                9   Subparagraphs A through N on Page 7.
   10   relative to verifications has not              10            Do you see that?
   11   changed, but now you've added an               11        A. Yes.
   12   oversight component to your job, which         12        Q. And did you review these
   13   now includes the database -- customer          13   topics with your counsel?
   14   database responsibilities you had              14        A. Yes.
   15   previously; is that a fair statement?          15        Q. All right. And in
   16        A. Yes.                                   16   preparation for this deposition, did you
   17        Q. Okay. Let me show you                  17   meet with counsel?
   18   what's been premarked as Exhibit-1.            18        A. Yes.
   19               - - -                              19        Q. How many times did you meet
   20            (Whereupon, Exhibit                   20   with your counsel to prepare for today?
   21        Schein-Abreu-1, First Amended             21        A. Twice.
   22        Notice of Deposition, was marked          22        Q. When were those occasions?
   23        for identification.)                      23        A. Once last week and once
   24              - - -                               24   yesterday.
   Golkow Litigation Services                                                    Page 9 (30 - 33)
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     1        Q. And those are the only two             1   regulatory affairs that has oversight of
     2   meetings you've had in preparation for         2   your verifications department?
     3   this deposition?                               3        A. That's correct.
     4        A. Yes.                                   4        Q. Anyone else?
     5        Q. Nothing by telephone of                5        A. No.
     6   substance?                                     6        Q. Was Sergio at the meetings?
     7        A. No.                                    7        A. Yes.
     8        Q. And the meeting last week,             8        Q. Both of them?
     9   how long did that meeting last?                9        A. No.
    10        A. It was for almost one day.            10        Q. Who else -- just the meeting
    11        Q. And did you review                    11   yesterday, or which meeting?
    12   documents?                                    12        A. Sergio was at the meeting
    13        A. Sorry?                                13   last week.
    14        Q. Did you review documents              14        Q. And did you meet with
    15   with counsel?                                 15   anybody else besides counsel and Sergio?
    16        A. Yes.                                  16        A. Yes. Frank O'Regan.
    17        Q. Did you bring any of your             17        Q. And who is Frank O'Regan?
    18   own documents to share with counsel that      18        A. He's the manager for
    19   you maintain?                                 19   regulatory affairs.
    20        A. No.                                   20        Q. And does Sergio report to
    21        Q. And was Mr. Jones present             21   Frank?
    22   during that meeting?                          22        A. No, Frank reports to Sergio.
    23        A. Yes, he was.                          23        Q. Okay. And was he also at
    24        Q. Was it here at this office?           24   the meeting last week?
                                             Page 35                                            Page 37
     1       A. The one yesterday.                      1        A. Yes, briefly.
     2       Q. Okay. How long did you meet             2        Q. Anyone else that you can
     3   yesterday?                                     3   recall?
     4       A. For four hours.                         4        A. Just my inside attorney.
     5       Q. Did you review additional               5        Q. And by that you mean the
     6   documents?                                     6   general counsel --
     7       A. No.                                     7        A. Yes.
     8       Q. Did you review any testimony            8        Q. -- or someone from the
     9   of any other witness in this litigation?       9   general counsel's office?
    10       A. No.                                    10        A. Yes.
    11       Q. Did you speak with any other           11        Q. Other than those meetings
    12   employees at Schein to help inform            12   and the documents you reviewed and the
    13   yourself about certain topics that we're      13   two other employees that you spoke with,
    14   going to discuss?                             14   did you do anything else to prepare for
    15       A. Yes.                                   15   your testimony today?
    16       Q. Which other employees --               16        A. No.
    17   don't tell me the nature of the               17        Q. Over the course of your time
    18   conversations, but which other employees      18   at Schein, were you involved, at any
    19   did you speak with?                           19   point, with the development of
    20       A. Sergio Tejeda.                         20   standing -- standard operating
    21       Q. That's your supervisor?                21   procedures, or SOM procedures, at Schein?
    22       A. No.                                    22        A. Yes.
    23       Q. Sorry, strike that.                    23        Q. What responsibilities have
    24            That is the person within            24   you had, and when?
   Golkow Litigation Services                                                 Page 10 (34 - 37)
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     1        A. I created an SOP in 2011 or             1   response to that notice that I just
     2   2012.                                           2   showed you.
     3        Q. Okay. And what was that SOP             3            And it's -- references the
     4   for?                                            4   topics specifically and what limitations,
     5        A. For our suspicious order                5   if any. I just want to go through these
     6   monitoring and due diligence program.           6   topics really quickly to make sure that
     7        Q. And what component did you              7   we're on the same page.
     8   work on for that particular standard            8        A. Okay.
     9   operating procedure?                            9        Q. If we go to Page 5 of
    10        A. I drafted the SOP.                     10   Exhibit-2, and just for the record, this
    11        Q. The entire SOP?                        11   is, Distributor Defendant Henry Schein's
    12        A. Yes.                                   12   Objections and Responses to Plaintiffs'
    13        Q. We'll go through that                  13   First Amended Notice of Deposition. This
    14   specifically.                                  14   one is dated December 7th, 2018.
    15           Anything else that you did             15            The first topic listed is,
    16   personally with respect to developing          16   Your duty and the basis of said duty
    17   SOPs or modifying the suspicious order         17   relating to the maintenance of effective
    18   monitoring program?                            18   controls against diversion and/or your
    19        A. I've been involved. But,               19   duty and the basis of said duty to design
    20   you know, just drafting of the SOP.            20   and operate a system to disclose
    21        Q. The one SOP that we spoke              21   suspicious orders of controlled
    22   of?                                            22   substances pursuant to federal law,
    23        A. And the one for the                    23   including but not limited to the
    24   licensing.                                     24   following topics.
                                              Page 39                                             Page 41
     1       Q.     And the one for licensing.           1            Counsel here is indicating
     2             What was the year for the             2   that you're not here to talk about your
     3   one for the licensing?                          3   legal obligations.
     4         A. It's been in existence.                4            Do you understand that to be
     5   It's just been revisions to it over the         5   a limitation of your testimony today?
     6   years.                                          6        A. Yes.
     7         Q. And by that, that is a                 7        Q. The first enumerated item is
     8   verification that a customer, in fact,          8   A, it says, Your past and present
     9   maintains the appropriate DEA                   9   suspicious order monitoring program, SOM
    10   registration and state licensing before        10   programs, and procedures.
    11   you'll ship medications to that doctor,        11            You are identified, with
    12   correct?                                       12   some reservations, as being the person
    13         A. That's correct.                       13   with most knowledge within the company to
    14         Q. I'll show you what's been             14   speak on that topic.
    15   premarked as Exhibit-2.                        15            Do you understand that to be
    16                - - -                             16   your role?
    17             (Whereupon, Exhibit                  17        A. Yes.
    18         Schein-Abreu-2, Objections and           18        Q. Do you know of other people
    19         Responses to First Amended Notice        19   in your company that have equal or
    20         of Deposition, was marked for            20   greater information about the suspicious
    21         identification.)                         21   order monitoring programs, policies and
    22               - - -                              22   procedures --
    23   BY MR. MIGLIORI:                               23            MR. JONES: Objection.
    24         Q. Exhibit-2 is Schein's                 24   BY MR. MIGLIORI:
   Golkow Litigation Services                                                  Page 11 (38 - 41)
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     1        Q. -- over the course of the              1   company that has equal to or greater
     2   past 20 years?                                 2   knowledge about the Know Your Customer
     3             MR. JONES: Objection.                3   requirements?
     4        Form. Vague. Overly broad.                4        A. Again, it would be Sergio
     5             MR. MIGLIORI: Go ahead.              5   Tejeda.
     6             THE WITNESS: Only Sergio             6        Q. And you understand you're
     7        Tejeda.                                   7   here to talk to me today about that
     8   BY MR. MIGLIORI:                               8   topic?
     9        Q. And that's -- again, Sergio            9        A. Yes.
    10   is the -- in the regulatory affairs           10        Q. All right. The next topic,
    11   department, and he has -- and his             11   Your past and present interpretation,
    12   department has oversight of verifications     12   compliance agreement and/or disagreement
    13   with respect to suspicious orders,            13   with various Dear Registrant letters from
    14   correct?                                      14   the DEA outlining the duties imposed on a
    15        A. Correct.                              15   distributor by federal law.
    16        Q. All right. The next topic             16            Are you familiar with the
    17   is, Your past, present Know Your Customer     17   so-called Rannazzisi letters?
    18   program policies and procedures.              18        A. Yes.
    19             Are you familiar with the           19        Q. Did you review those in
    20   term "Know Your Customer"?                    20   preparation for today?
    21        A. Yes.                                  21        A. Yes.
    22        Q. Have you been involved in             22        Q. Do you believe that you
    23   the Know Your Customer evolution within       23   reviewed the four that are specifically
    24   the suspicious order monitoring program       24   dated and referenced here in this notice?
                                             Page 43                                              Page 45
     1   at Schein?                                     1            MR. JONES: Objection.
     2        A. Yes.                                   2        Form. Misstates the topic.
     3        Q. And your involvement                   3   BY MR. MIGLIORI:
     4   includes the 2011/2012 SOP that you wrote      4        Q. Do you see those?
     5   on due diligence?                              5        A. Yes.
     6        A. Yes.                                   6        Q. The dates here, 9/26/06,
     7        Q. Do you consider Know Your              7   2/7/07, and 12/27/2007 --
     8   Customer to include, among other things,       8        A. Yes.
     9   your obligations with respect to due           9        Q. -- do you see those?
    10   diligence?                                    10            Have you seen other
    11            MR. JONES: Objection.                11   Rannazzisi letters?
    12        Form. Vague.                             12        A. No.
    13            THE WITNESS: Can you                 13        Q. Have you read those three?
    14        restate the question?                    14        A. Yes.
    15   BY MR. MIGLIORI:                              15        Q. Do you feel that you are
    16        Q. Sure.                                 16   qualified and prepared to speak on behalf
    17            Is due diligence a component         17   of the company with respect to those
    18   part of Know Your Customer?                   18   letters?
    19        A. Yes.                                  19        A. Yes.
    20        Q. Are you the person with the           20        Q. Are you -- you were not in
    21   most knowledge about the issue of knowing     21   the SOM or verification program during
    22   your customer obligations?                    22   those years, were you?
    23        A. Yes.                                  23        A. No.
    24        Q. Is there anybody else in the          24        Q. You didn't become part of
   Golkow Litigation Services                                                  Page 12 (42 - 45)
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     1   any verification process or suspicious          1   BY MR. MIGLIORI:
     2   order monitoring program process until          2        Q. Okay. Let's break that
     3   2009, correct?                                  3   down.
     4        A. Correct.                                4             At any point in your
     5        Q. Is there any other person in            5   preparation for today, did you review
     6   the company that you believe has equal to       6   that opinion or the substance of that
     7   or superior knowledge about the                 7   opinion?
     8   Rannazzisi letters?                             8        A. No. I'm familiar with the
     9        A. Sergio Tejeda.                          9   topic, but I have not read the opinion
    10        Q. Anyone else?                           10   itself.
    11        A. No.                                    11        Q. When this opinion came out
    12        Q. The next topic. Past and               12   in 2017, last year, you recall that it
    13   present interpretation, compliance,            13   had come out?
    14   agreement and/or disagreement with the         14        A. Yes.
    15   reporting requirements and shipping            15        Q. And when it came out, you
    16   requirement as referenced in a particular      16   and regulatory had conversations about
    17   written opinion.                               17   what it means for your company; is that a
    18            Have you read the opinion             18   fair statement?
    19   that's referenced here that's called the       19        A. Yes.
    20   Masters Pharmacy Versus Drug Enforcement       20        Q. Who were those conversations
    21   Administration?                                21   with?
    22        A. Which opinion? I'm sorry.              22        A. With Sergio Tejeda and Frank
    23        Q. If you look at D on the top            23   O'Regan.
    24   of Page 8. There's referenced on the           24        Q. And, again, those are both
                                              Page 47                                               Page 49
     1   very top caption, the very title, the           1   from regulatory affairs?
     2   emboldened, the very top, under Subpart         2        A. Correct.
     3   D, there's a reference, in italics, to          3        Q. And they were involving you
     4   Masters Pharmacy Inc. versus Drug               4   with respect to any implications it may
     5   Enforcement Administration.                     5   have for the verification process?
     6            Do you see that?                       6        A. Correct.
     7        A. Yes.                                    7        Q. Is it fair to say that
     8            No, I did not read the                 8   within the suspicious order monitoring
     9   opinion.                                        9   program, your responsibilities are
    10        Q. Do you recall speaking to              10   limited to the verification side,
    11   counsel about that opinion?                    11   correct?
    12        A. Yes.                                   12            MR. JONES: Objection.
    13        Q. And did counsel inform you             13        Form. Misstates prior testimony.
    14   what the opinion holds?                        14   BY MR. MIGLIORI:
    15        A. We worked with regulatory              15        Q. Is that correct?
    16   regarding that opinion.                        16        A. Correct.
    17        Q. So regulatory, during your             17        Q. All right. So what do you
    18   meeting last week, and counsel explained       18   understand, as you sit here today, if you
    19   to you what that case provides?                19   can remember back to 2017 and your
    20            MR. JONES: Objection.                 20   conversations, what do you understand
    21        Form. Vague. Misstates.                   21   that decision to mean?
    22            You can answer.                       22            MR. JONES: Objection.
    23            THE WITNESS: Not last week,           23        Form. Vague.
    24        no. When the opinion came out.            24            Don, we're now starting to
   Golkow Litigation Services                                                   Page 13 (46 - 49)
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     1       get into the areas that Special              1   DEA.
     2       Master Cohen said that witnesses             2        Q. And what change do you think
     3       are not to be testifying to, as to           3   that case required of your company?
     4       the interpretation and the legal             4            MR. JONES: Objection.
     5       import of the Masters decision.              5        Form. Objection. It calls for a
     6           MR. MIGLIORI: I appreciate               6        legal conclusion.
     7       that. I'm not asking -- you have             7            THE WITNESS: Can you
     8       identified, in this answer, that             8        repeat?
     9       you're designating Shaun Abreu to            9   BY MR. MIGLIORI:
    10       testify with regard to this topic,          10        Q. You said -- you referenced a
    11       to the extent it seeks                      11   change that may have come from that
    12       nonprivileged information that is           12   decision.
    13       relevant to the case.                       13            What did you understand that
    14           I'm only asking what his                14   change to be?
    15       impression is. I'm not asking him           15        A. The reporting of orders to
    16       to give me a judicial or legal              16   DEA, when to report.
    17       opinion.                                    17        Q. So is it fair to say that,
    18           MR. JONES: That is fine.                18   as of 2017, Schein believed that it had a
    19       Just so we're clear, he's here to           19   change in obligation to report suspicious
    20       testify to that topic, subject to           20   orders in a different manner?
    21       our objections, which includes the          21            MR. JONES: Objection.
    22       rulings from Special Master Cohen           22        Form. Vague. Objection. Calls
    23       as to all of the legal nuances,             23        for legal conclusion.
    24       interpretation, agreement or                24            MR. MIGLIORI: Go ahead.
                                               Page 51                                               Page 53
     1        disagreement with the Masters               1            THE WITNESS: Not a change
     2        decision or the statutes.                   2       in obligation. We were always
     3            MR. MIGLIORI: Fair enough.              3       reporting suspicious orders, but
     4   BY MR. MIGLIORI:                                 4       the timeliness, the timing of
     5        Q. To understand what we're                 5       reporting those orders.
     6   doing, let me just ask the question this         6   BY MR. MIGLIORI:
     7   way. I'm not asking you for a legal              7       Q. And what was the change that
     8   opinion or for a conclusion about the            8   you believe had to happen?
     9   case.                                            9       A. That we needed to report the
    10            You said contemporaneously             10   orders more timely.
    11   with the case coming out, within the            11       Q. By "timely," do you mean
    12   ordinary business of your company, you          12   when discovered?
    13   and regulatory, that is, you, Frank and         13            MR. JONES: Objection.
    14   Sergio, actually had a conversation about       14       Form. Vague.
    15   something that happened in the court            15   BY MR. MIGLIORI:
    16   systems in this case, correct?                  16       Q. What do you mean by "more
    17        A. Correct.                                17   timely"?
    18        Q. From that conversation, what            18       A. When the orders are pended.
    19   came of it within your company, that is,        19       Q. So prior to that moment in
    20   what is it that you believe, or believed        20   time, how was Schein reporting suspicious
    21   at the time, that meant for you                 21   orders, in terms of timeliness?
    22   operationally within your company?              22       A. It depends on what time
    23        A. We were discussing the                  23   frame you're referring to.
    24   potential change of reporting orders to         24       Q. Let's start with immediately
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     1   prior to the decision in 2017.                  1   BY MR. MIGLIORI:
     2        A. We were reporting orders                2        Q. And Schein maintained that
     3   when they were deemed to be suspicious.         3   process up until the Masters decision?
     4        Q. And what would cause                    4        A. That's correct.
     5   something, in 2017, to be deemed                5        Q. As a result of the Masters
     6   suspicious?                                     6   decision, did Schein change the
     7            MR. JONES: And, again, are             7   timeliness of when something was to be
     8        you talking before Masters came            8   deemed suspicious?
     9        out or after?                              9            MR. JONES: Objection.
    10            MR. MIGLIORI: I'm all in              10        Form.
    11        the same period, immediately              11            MR. MIGLIORI: Go ahead.
    12        prior.                                    12            MR. JONES: Vague.
    13   BY MR. MIGLIORI:                               13            THE WITNESS: Sorry. Can
    14        Q. What caused something to be            14        you repeat the question?
    15   deemed suspicious, in 2017, before             15   BY MR. MIGLIORI:
    16   Masters?                                       16        Q. Did Masters change that
    17        A. As a result of our due                 17   process?
    18   diligence, we would potentially deem an        18        A. Yes.
    19   order as suspicious.                           19        Q. How?
    20        Q. If an order was a variance             20        A. The order was reported when
    21   in size or frequency or pattern of a           21   it pended as an order of interest.
    22   particular company, before any due             22        Q. And "pended" is a term of
    23   diligence had been conducted, in 2017,         23   art to Schein, that is, in Schein's
    24   was that deemed a suspicious order within      24   system, "pended" means that something
                                              Page 55                                              Page 57
     1   Henry Schein?                                   1   triggered a potential for an order to
     2             MR. JONES: Excuse me. Just            2   become suspicious, correct?
     3        so we're clear, we're talking              3        A. Potential, yes.
     4        about 2017, we're talking about            4        Q. And up until Masters, Schein
     5        before Masters?                            5   treated a deviation of size, frequency or
     6             MR. MIGLIORI: Yes.                    6   pattern to be a pended order, subject to
     7             MR. JONES: Okay.                      7   some due diligence, before it would be
     8             THE WITNESS: Sorry. Can               8   deemed suspicious?
     9        you restate the question?                  9        A. That is correct.
    10   BY MR. MIGLIORI:                               10        Q. After Masters, Schein
    11        Q. Sure.                                  11   changed that to be as soon as a
    12             In 2017, prior to the                12   triggering event, like a threshold,
    13   Masters decision, if an order was above        13   deviation of size, deviation of pattern
    14   or in excess of size, frequency or             14   of ordering, or deviation of frequency of
    15   pattern, that is, if there's a deviation       15   ordering by a customer, any of those
    16   in size, frequency or pattern of a             16   deviations would immediately cause that
    17   customer's order in early 2017, but            17   order to be deemed suspicious, subject to
    18   before any due diligence was conducted,        18   further due diligence, correct?
    19   was that order deemed, in your system at       19             MR. JONES: Objection to
    20   Schein, suspicious?                            20        form.
    21             MR. JONES: Objection.                21             THE WITNESS: The order was
    22        Form. Vague.                              22        still an order of interest to us,
    23             THE WITNESS: No, it was              23        but it was reported at that point.
    24        deemed as an order of interest.           24   BY MR. MIGLIORI:
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     1        Q. But did you report it, after            1        A. Yes.
     2   Masters, as an order of interest or did         2        Q. Have you seen examples of
     3   you report it as a suspicious order?            3   reports, post-Masters, of pended orders
     4            MR. JONES: Objection to                4   that were again later reported as
     5        form. Vague.                               5   suspicious orders?
     6   BY MR. MIGLIORI:                                6        A. Yes.
     7        Q. How did you report it?                  7        Q. And where are those reports
     8        A. We reported it as a pended              8   maintained?
     9   order.                                          9        A. Internally in our system.
    10        Q. So of all of the reporting             10        Q. What's the system called?
    11   at Schein, before and after Masters, all       11        A. It would be JD Edwards and,
    12   of the reporting of orders were separated      12   you know, other local drives in the
    13   into pended orders separately from             13   company.
    14   suspicious orders?                             14        Q. Is that part of your
    15        A. I'm sorry, can you restate             15   database department that you oversee?
    16   that question?                                 16        A. No.
    17        Q. Sure.                                  17        Q. So the database department
    18            Did you report suspicious             18   you oversee is a certain platform, and
    19   orders after they were no longer pending?      19   that manages relationships with
    20            MR. JONES: Objection to               20   customers, correct?
    21        form. Vague.                              21        A. It's customer maintenance.
    22            THE WITNESS: I'm sorry, I'm           22        Q. Okay. And that has no
    23        not sure I understand the                 23   component parts of it that relate to the
    24        question.                                 24   suspicious order monitoring program,
                                              Page 59                                               Page 61
     1   BY MR. MIGLIORI:                                1   correct?
     2        Q. I'll walk you through a                 2        A. Correct.
     3   hypothetical.                                   3        Q. Separately, a database
     4           After Masters, an order                 4   exists that maintains all of the pended
     5   comes in and it deviates from size,             5   orders that have been reported to DEA and
     6   frequency or pattern of that customer's         6   suspicious orders that have been reported
     7   prior purchasing history, okay?                 7   to DEA, correct?
     8           Are we on the same page?                8        A. They're in two different
     9        A. Yes.                                    9   databases, but yes.
    10        Q. In the system, after                   10        Q. And what are the two
    11   Masters, that would be deemed a pended         11   databases -- what are the platforms of
    12   order that was immediately reportable to       12   the two databases for pended orders and
    13   the DEA, correct?                              13   suspicious orders?
    14        A. Correct.                               14        A. The pended orders are housed
    15        Q. Under Schein's suspicious              15   in our JDE, our ERP system.
    16   order monitoring program, that order           16        Q. You have to help me with
    17   would then be investigated, that is,           17   names.
    18   there would be a due diligence component       18        A. So it's JD Edwards, that's
    19   to determine whether or not to consider        19   our system, our customer master system,
    20   that order suspicious, correct?                20   which we would store the pended orders.
    21        A. That's correct.                        21            And then the suspicious
    22        Q. If an order, after due                 22   order letters would be housed on a, like,
    23   diligence, was deemed suspicious, was it       23   a local drive, a network drive.
    24   again reported to DEA?                         24        Q. Okay. And is that
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     1   accessible by every employee of the                  1            MR. JONES: Objection.
     2   company, that local network drive?                   2        Form. Vague.
     3       A. No.                                           3            THE WITNESS: That we --
     4       Q. Who has access to those                       4        sorry, can you clarify that?
     5   suspended order letters?                             5   BY MR. MIGLIORI:
     6       A. The ones that --                              6        Q. You understand you're here
     7       Q. Suspicious order letters,                     7   as the person with the most knowledge
     8   sorry.                                               8   about suspicious orders at Henry Schein,
     9       A. The regulatory affairs team                   9   correct?
    10   and verifications.                                  10        A. Yes.
    11       Q. All right. So you have                       11        Q. Has it always been the
    12   access to those?                                    12   definition of a suspicious order at
    13       A. Yes.                                         13   Schein that the order was pended,
    14       Q. And how far does that                        14   investigated and determined to be
    15   database go back, the suspicious orders             15   suspicious and, therefore, required
    16   database?                                           16   termination with the client?
    17       A. I'm not sure.                                17        A. For controlled substances,
    18       Q. Do you, from time to time,                   18   yes.
    19   go into that local drive to review                  19        Q. All right. And I appreciate
    20   suspicious orders?                                  20   that clarification. Okay.
    21       A. Generally not.                               21            So we were talking about the
    22       Q. If a pended orders comes up,                 22   Masters case.
    23   do you check your suspicious orders                 23            Is it still, pre and post
    24   database to see if that customer has                24   Masters, the understanding -- the
                                                   Page 63                                              Page 65
     1   previously had a suspicious order?                   1   definition at Schein that you only report
     2        A. No.                                          2   an order as suspicious if you've gone
     3        Q. Why not?                                     3   ahead and terminated the relationship
     4        A. Because they would be                        4   with the client?
     5   disconnected.                                        5             MR. JONES: Objection.
     6        Q. So in your system at Schein,                 6        Form. Vague.
     7   as of today, if a customer has been                  7             MR. MIGLIORI: Go ahead.
     8   subject to a suspicious order, that                  8             THE WITNESS: No. We are
     9   customer relationship is terminated?                 9        still reporting the order when
    10        A. That's correct.                             10        it's pended to DEA.
    11        Q. So the definition of a                      11   BY MR. MIGLIORI:
    12   suspicious order, in Henry Schein's                 12        Q. And I'm trying to make that
    13   suspicious order monitoring program                 13   distinction.
    14   today, is a decision not only that the              14             You report pended orders to
    15   order was suspicious but a decision to              15   the DEA when something deviates from
    16   terminate the relationship with the                 16   size, frequency and pattern, correct?
    17   client?                                             17        A. Correct.
    18        A. That's correct.                             18             MR. JONES: Again, I'm
    19            MR. JONES: Objection to                    19        sorry, we're talking post Masters?
    20        form.                                          20             MR. MIGLIORI: Right now I'm
    21   BY MR. MIGLIORI:                                    21        talking about today, and I'll go
    22        Q. All right. Has that always                  22        back. Yes, post Masters.
    23   been the definition of suspicious order             23             MR. JONES: Okay.
    24   at Henry Schein?                                    24   BY MR. MIGLIORI:
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     1        Q. You report pended orders as                1            MR. JONES: Objection.
     2   soon as they pop up as being deviations            2        Form. Objection. Calls for a
     3   from size, frequency and pattern,                  3        legal conclusion.
     4   correct?                                           4            MR. MIGLIORI: Go ahead.
     5        A. Correct.                                   5   BY MR. MIGLIORI:
     6        Q. You do due diligence on                    6        Q. There was an audit where
     7   them. You don't report those as                    7   Schein was told, you need to report at
     8   suspicious orders, today, until you've             8   the time you discover the deviation in
     9   made a decision that, in fact, it was              9   size, frequency and pattern, wasn't
    10   suspicious and terminate the client               10   there?
    11   relationship, correct?                            11        A. An audit? I'm sorry? I
    12        A. Correct.                                  12   don't believe so, no.
    13        Q. And so going back in                      13        Q. Did you review any audits in
    14   history, has that been the definition of          14   preparation for today, that is, any
    15   a suspicious order at Schein, that is, an         15   outside vendor audits or reviews of the
    16   order that reaches the level that it not          16   suspicious order monitoring program at
    17   only deviates from size, frequency and            17   Schein?
    18   pattern, but it also requires termination         18        A. No.
    19   of the relationship with the client?              19        Q. We'll go through those in a
    20            MR. JONES: Objection.                    20   minute.
    21        Form. Vague. Overly broad.                   21            Okay. Any other changes
    22            MR. MIGLIORI: Go ahead.                  22   that you recall operationally as a result
    23            THE WITNESS: Yes.                        23   of the Masters decision in 2017?
    24   BY MR. MIGLIORI:                                  24            MR. JONES: Objection.
                                                 Page 67                                                Page 69
     1        Q. All right. I know that                     1        Form. Overly broad.
     2   there's a timing issue. You mentioned              2   BY MR. MIGLIORI:
     3   timing in this conversation about                  3        Q. That you can remember.
     4   Masters. I have one other timing                   4        A. No.
     5   question for you.                                  5        Q. The next topic is, How your
     6            There was a period of time                6   interpretation and compliance with the
     7   at Schein that the pended orders were not          7   reporting requirement has changed over
     8   reported to DEA until 15 days or so after          8   time.
     9   the month in which it happened.                    9            We've talked a little bit
    10            Are you familiar with that               10   about that. You're designated here for
    11   policy?                                           11   that topic.
    12        A. We would send the report                  12            Would you also include
    13   monthly, yes, to the DEA local offices.           13   Sergio and Frank as people who would have
    14        Q. Right. So it could be as                  14   equal or superior knowledge about that?
    15   much as 45 days after the report, if it           15        A. Yes.
    16   were on the first of the month, those             16        Q. And we'll get into the more
    17   reports would go out on the 15th of the           17   specifics of that a little later.
    18   following month, correct?                         18            F, on Page 9, you're here to
    19        A. The report would go out                   19   talk about how your interpretation and
    20   monthly, yes.                                     20   compliance with the shipping requirement
    21        Q. All right. And that process               21   has changed over time. And, again, on
    22   was determined to be noncompliant with            22   Page 10, you're designated as the person
    23   DEA's expectations at some point in the           23   to testify on this topic.
    24   process, correct?                                 24            Do you understand what the
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     1   shipping requirement is?                         1   were not reported?
     2        A. Yes.                                     2        A. They were reported monthly.
     3        Q. What do you understand it to             3        Q. Monthly, but not immediately
     4   be?                                              4   upon discovery, correct?
     5        A. That due diligence needs to              5            MR. JONES: Objection.
     6   be conducted prior to the shipment of an         6        Form. Vague.
     7   order, to dispel any suspicion.                  7            THE WITNESS: They were
     8        Q. If an order is pended in                 8        reported when they pended.
     9   your system, is it halted --                     9   BY MR. MIGLIORI:
    10        A. Yes.                                    10        Q. Prior to Masters, they
    11        Q. -- today?                               11   reported at the end of every month as a
    12            Has that always been the               12   single report, correct?
    13   case?                                           13        A. Correct.
    14        A. Yes.                                    14        Q. After Masters, they reported
    15        Q. So if you have a pended                 15   as they pended, that is, when they were
    16   order, is the whole order pended or just        16   discovered, correct?
    17   a component part of the order, today?           17            MR. JONES: Objection.
    18        A. The whole order is pended.              18        Form. Vague as to "discovered."
    19        Q. Has that always been the                19            MR. MIGLIORI: Well, I can
    20   case?                                           20        show you the statute.
    21        A. Yes.                                    21   BY MR. MIGLIORI:
    22        Q. And as subject to due                   22        Q. But when did an order
    23   diligence -- would you report that pended       23   pend -- a pended order get reported,
    24   order, by the way?                              24   after Masters?
                                               Page 71                                                Page 73
     1        A. Can you repeat that part?                1         A. The day -- the day that
     2        Q. Yes. Strike all of that. I               2   it -- the day after it pended.
     3   changed my thought in the middle of it.          3         Q. Within 24 hours of it being
     4            Do you report the pended                4   discovered?
     5   order before you do the due diligence?           5         A. Correct.
     6        A. I'm sorry, the timing we're              6         Q. All right. So the question
     7   talking about?                                   7   I think I had asked was, at what point
     8        Q. Today.                                   8   did shipment -- strike that.
     9        A. Today. That's correct, yes.              9             Have all pended orders been
    10        Q. And that's evolved over                 10   halted from shipment at the time that
    11   time; that wasn't always the case,              11   they were pended, that is -- strike that.
    12   correct?                                        12   I'm actually going to read it.
    13        A. Correct.                                13             That's really terrible.
    14        Q. Do you recall exactly, or               14             An order gets pended --
    15   roughly, when that change occurred?             15             MR. JONES: No objection.
    16        A. Where we pended -- where we             16             MR. MIGLIORI: I think we
    17   reported every pended order?                    17         can stipulate to that.
    18        Q. Yes.                                    18   BY MR. MIGLIORI:
    19        A. It was some time in February            19         Q. If an order is pended today,
    20   of 2018.                                        20   that order is halted, correct?
    21        Q. And was that a result of, at            21         A. Correct.
    22   least in part, the Masters decision?            22         Q. And the shipping requirement
    23        A. Yes.                                    23   that we're talking about here is the
    24        Q. Prior to that, pended orders            24   decision to ship or not ship after some
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     1   level of due diligence, correct?                 1   BY MR. MIGLIORI:
     2        A. Correct.                                 2        Q. And the due diligence files,
     3        Q. By the way, on due                       3   where are they maintained in Schein?
     4   diligence, due diligence is a process of         4        A. In our JDE system, our
     5   knowing your customer, correct?                  5   customer system.
     6        A. Correct.                                 6        Q. And that system is
     7        Q. Early in time, that involved             7   maintained by who?
     8   sending a letter and the customer sending        8        A. The whole company. The
     9   back responses to a one-page letter,             9   entire company.
    10   correct?                                        10        Q. Is there a manager of it?
    11        A. At what period? I'm sorry.              11        A. Our IT team. I'm not sure
    12        Q. Early on --                             12   if there's somebody specifically.
    13        A. Early on, yes.                          13        Q. So you can sit at your desk
    14        Q. -- 2005, when you first                 14   and log into the due diligence files of
    15   started with the company.                       15   all of your customers?
    16        A. Correct, yes.                           16        A. Me personally?
    17        Q. That process evolved over               17        Q. Yes, you personally.
    18   time and, really, in 2009, a due                18        A. Yes.
    19   diligence program was in place that             19        Q. And that's because of your
    20   involved things like on-site visits and         20   role within verification?
    21   interviews and the like, correct?               21        A. Correct.
    22            MR. JONES: Objection.                  22        Q. And folks in regulatory can
    23        Form. Overly broad. Vague.                 23   do that as well, correct?
    24   BY MR. MIGLIORI:                                24        A. Yes.
                                               Page 75                                                  Page 77
     1         Q. Correct?                                1        Q. And those due diligence
     2         A. Correct.                                2   files, do they exist for every customer
     3         Q. All right. And an important             3   of Schein?
     4   component part of due diligence and              4        A. Yes.
     5   knowing your customer is not just the            5        Q. And how long are those files
     6   investigation but documentation of that          6   maintained?
     7   investigation, correct?                          7        A. They've never been --
     8         A. Correct.                                8   they've never been purged.
     9         Q. There's an adage that, "if              9        Q. So if you have a doctor that
    10   it's not written down, it didn't happen."       10   you have been supplying controlled
    11             Is that a component part of           11   substances to for 15 years, you should
    12   the Schein due diligence suspicious order       12   have all of your due diligence
    13   monitoring program?                             13   interactions with that doctor going back
    14             MR. JONES: Objection.                 14   the entire time, correct?
    15         Form. Vague.                              15        A. Clarification. We used to
    16             THE WITNESS: Depending on             16   have an older system that was purged a
    17         the time period.                          17   number of years ago.
    18   BY MR. MIGLIORI:                                18            Everything, I would say,
    19         Q. When would that have become            19   since 2009 or so, it still exists. Prior
    20   the rule?                                       20   documents have been purged.
    21             MR. JONES: Objection.                 21        Q. What was the name of the
    22         Form.                                     22   other system?
    23             THE WITNESS: I would say              23        A. It was a microfilm system.
    24         post 2009.                                24        Q. Like the old library, you
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     1   got --                                           1         A. I'm not sure of its
     2        A. With the reels, yes.                     2   location. But it can be accessed, yes.
     3        Q. Okay. Great. Thank God I                 3         Q. So you would tell Sergio,
     4   don't do that part of the business               4   I'll go look at the due diligence files
     5   anymore.                                         5   in the imaging system?
     6            And when you say they were              6         A. Yes.
     7   purged, they were just discarded?                7         Q. And you can make whatever
     8        A. Sorry?                                   8   decisions about the shipping requirements
     9        Q. They were discarded?                     9   or the suspicious order reporting
    10        A. Yes. Everything on the                  10   requirements, in part, by going into that
    11   reels was discarded.                            11   system to find out the history of that
    12        Q. So if you had a doctor that             12   particular doctor or healthcare facility,
    13   had an event that was investigated before       13   correct?
    14   2009, there is no place in the company to       14         A. For the shipping
    15   find out what the outcome of that               15   requirement, yes.
    16   investigation was?                              16         Q. What about for -- I said
    17        A. We have internal notes in               17   shipping, but I also mentioned for
    18   the system, but not the actual documents        18   reporting requirements.
    19   themselves.                                     19             Are there some components of
    20        Q. Okay. So something from the             20   whether to report that are also in that
    21   earlier years is maintained in the JDE          21   database?
    22   system reflecting what happened prior in        22             MR. JONES: Objection.
    23   the now-purged, older due diligence             23         Form. Vague.
    24   files?                                          24   BY MR. MIGLIORI:
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     1        A. Yes.                                     1         Q. As part of your due
     2        Q. And so for you to access Dr.             2   diligence to look at the history, the
     3   Jones's due diligence file today, how            3   dispensing history, and investigations of
     4   would you do it physically? What do you          4   that doctor in that database.
     5   do?                                              5         A. For due diligence, yes.
     6        A. It's a keystroke in the                  6         Q. Okay. Fair enough.
     7   system to retrieve an image.                     7             And Know Your Customer
     8        Q. And are those images also                8   generally?
     9   associated with internal discussion about        9         A. Correct.
    10   investigations and follow-ups and               10         Q. All right. Next topic, G,
    11   interviews and deficiencies and the like?       11   whether you historically ship suspicious
    12        A. It would be everything about            12   orders without conducting due diligence
    13   that customer.                                  13   prior to Masters.
    14        Q. Okay. And is there a name               14             We've talked about this a
    15   of that system? When you talk to Sergio         15   little bit. You are listed here as the
    16   and you say, I don't know, I'll go check,       16   person with most knowledge.
    17   I'm going to go look in X.                      17             MR. JONES: Just to be
    18            What is that X?                        18         clear, I mean, you keep asking if
    19        A. We just refer to it as our              19         he's with most knowledge. I mean,
    20   imaging database or system.                     20         he's here as a 30(b)(6)
    21        Q. Okay. And so in your                    21         representative.
    22   imaging database, in the -- locally             22             So -- I think that's
    23   housed, right? That server is onsite in         23         probably what you're getting at,
    24   Melville?                                       24         but I just want to make sure the
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     1        record is clear.                           1   and metrics used to identify orders of
     2            MR. MIGLIORI: Sure. We can             2   unusual size, orders deviating
     3        rely on the statute for what it            3   substantially from normal pattern, and
     4        means.                                     4   orders of unusual frequency.
     5   BY MR. MIGLIORI:                                5            You're listed here. I
     6        Q. You're listed here as the               6   assume Sergio and Frank are also people
     7   person to talk about it, right?                 7   with knowledge on this topic?
     8        A. Right.                                  8        A. I would say Sergio.
     9        Q. And people with equal or                9        Q. Okay. And of that, you're
    10   superior knowledge to you about that           10   saying that -- you understand that the
    11   include Sergio and Frank, from regulatory      11   language of unusual size, pattern and
    12   affairs, correct?                              12   frequency, that that comes out of what's
    13        A. Correct.                               13   called the Controlled Substances Act?
    14        Q. And in this topic of                   14        A. Yes.
    15   shipping suspicious orders, is it fair to      15        Q. All right. And you know
    16   say that, given the definitions you've         16   that that act was -- became effective, as
    17   given me today about what is a suspicious      17   amended for this purpose, in 1971?
    18   order versus a pended order, that,             18        A. Yes.
    19   historically, Schein did not ship              19        Q. And that's been the law
    20   suspicious orders prior to the Masters         20   since 1971?
    21   decision?                                      21        A. Yes.
    22        A. We don't ship suspicious               22        Q. And, that is, the statutory
    23   orders.                                        23   definition of suspicious order under the
    24        Q. All right. We'll get into              24   Act?
                                              Page 83                                              Page 85
     1   that a little more later, too.                  1            MR. JONES: Objection.
     2             H -- we're almost done with           2        Form. Misstates the law.
     3   this -- Your past and present policies          3            THE WITNESS: Yes.
     4   related to due diligence following the          4   BY MR. MIGLIORI:
     5   detection of a suspicious order.                5        Q. All right. And you're here
     6             So you are listed here. I             6   to talk about those policies and
     7   assume Frank and Sergio could also talk         7   procedures and how they've changed over
     8   on this topic as well?                          8   time, correct?
     9        A. Yes.                                    9        A. Correct.
    10        Q. And based on what you've               10        Q. How your policies,
    11   told me so far, would it be a true             11   procedures, standards, and metrics used
    12   statement that due diligence, in the           12   to identify suspicious orders has changed
    13   Schein system, was done before detection       13   over time.
    14   of a suspicious order and not after?           14            I don't even know how that's
    15        A. Correct.                               15   different from the other, but you're here
    16        Q. That is, you didn't consider           16   for that?
    17   an order suspicious until you conducted        17        A. Yes.
    18   due diligence and that due diligence           18        Q. All right. Subject K, on
    19   found that it was an order that should         19   Page 13, Your policies, procedures,
    20   not be shipped --                              20   standards and metrics used to set and/or
    21        A. That's right.                          21   alter thresholds.
    22        Q. -- is that correct?                    22            Are you familiar with the
    23             The next topic, I, Your past         23   process of setting a threshold?
    24   and present policy, procedures, standards      24        A. Yes.
   Golkow Litigation Services                                                   Page 22 (82 - 85)
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     1        Q. And you understand what a                1        Form. Vague.
     2   threshold is?                                    2            THE WITNESS: I'm sorry,
     3        A. Yes.                                     3        could you restate that question?
     4        Q. Are thresholds today at                  4   BY MR. MIGLIORI:
     5   Schein calculated on an individual               5        Q. Are you familiar with any
     6   customer basis?                                  6   changes over time with respect to what
     7        A. No.                                      7   level person within the company could not
     8        Q. Have they ever been                      8   just perform the due diligence but also
     9   calculated based on an individual's              9   clear a new client for controlled
    10   dispensing or purchasing history?               10   substances?
    11        A. No.                                     11        A. Yes.
    12        Q. At Schein, it has always                12        Q. All right. And those due
    13   been the policy to set thresholds based         13   diligence files for onboarding of new
    14   on groups of physicians or similar              14   customers, are those maintained in the
    15   practitioners and their dispensing or           15   same place that we've discussed earlier,
    16   ordering histories, correct?                    16   in the imaging files of the company in
    17        A. Depending on the time frame.            17   the JWE system?
    18        Q. Right. And so -- but it's               18        A. Yes.
    19   never been the case that a suspicious           19        Q. Let me just ask a question
    20   order threshold has been set based on the       20   in particular about it.
    21   individual's ordering practices himself         21            Today, if a doctor had a
    22   or herself, correct?                            22   prior history of criminal conviction for
    23        A. We did begin to set                     23   a drug-related offense, today, under
    24   individual thresholds earlier this year.        24   Schein's system, would that client be
                                               Page 87                                             Page 89
     1        Q. In 2018?                                 1   allowed to become a customer of the
     2        A. In 2018.                                 2   company?
     3        Q. Okay. Prior to that, it had              3            MR. JONES: Objection.
     4   always been aggregated, correct?                 4        Form. Vague.
     5        A. Correct.                                 5            THE WITNESS: Potentially.
     6        Q. L, Your policies and                     6   BY MR. MIGLIORI:
     7   procedures used to perform due diligence         7        Q. And what would be the
     8   related to new and existing buyers of            8   analysis?
     9   controlled substances.                           9        A. We would go through our Know
    10            You're here to talk about              10   Your Customer due diligence process.
    11   the onboarding of new clients.                  11        Q. And if that client -- if
    12            Do you understand that?                12   that doctor client lost his or her
    13        A. Yes.                                    13   license as a result of that conviction
    14        Q. And in that process, that               14   and got his or her license back, would
    15   changes over time at Schein about what,         15   that change whether or not that client
    16   if any, due diligence needed to be done         16   would be allowed to purchase controlled
    17   for bringing a new client on board,             17   substances from Schein?
    18   correct?                                        18            MR. JONES: Objection.
    19        A. Correct.                                19        Form.
    20        Q. And who, at what level in               20            THE WITNESS: Well, they
    21   the company, was best suited to make            21        would have to have a license in
    22   decisions about due diligence relative to       22        order to purchase from us.
    23   a new client, correct?                          23   BY MR. MIGLIORI:
    24            MR. JONES: Objection.                  24        Q. Is that the only thing that
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     1   they need to demonstrate?                       1   and nobody else in the office has
     2        A. No.                                     2   drug-related offenses, is that enough?
     3        Q. What else do they need to               3        A. It's hard to say without a
     4   demonstrate, with that history?                 4   specific set of circumstances that we
     5        A. We need to show that the due            5   would evaluate.
     6   diligence supports that customer                6        Q. How many times, in your
     7   purchasing those products.                      7   experience, or within the company, to
     8        Q. And within due diligence,               8   your knowledge, has Schein taken back or
     9   what are you looking for, that a person         9   started a new relationship with a doctor
    10   with a felony criminal conviction for a        10   that lost a license and had a prior
    11   drug-related offense and a loss of             11   felony conviction for a drug-related
    12   medical licensure, with a renewed              12   offense?
    13   license, looking to come back on board as      13        A. I would say not very many.
    14   a customer, what else are you looking for      14        Q. Less than ten?
    15   in due diligence to say, yes, that's a         15        A. I would say so, yes.
    16   customer that Schein will take?                16        Q. Do you know of any in the
    17            MR. JONES: Object to the              17   state of Ohio?
    18        form.                                     18        A. Not to my recollection, no.
    19            THE WITNESS: It would be on           19        Q. All right. Category M --
    20        a case-by-case basis. There's             20   there's only two more -- Your past,
    21        nothing specific, per se.                 21   present programs, policies and procedures
    22   BY MR. MIGLIORI:                               22   relating to the maintenance of effective
    23        Q. You perform due diligence              23   controls against diversion.
    24   and you oversee people that perform due        24            Are you the person here to
                                              Page 91                                             Page 93
     1   diligence, correct?                             1   talk about that program?
     2        A. Yes.                                    2        A. Yes.
     3        Q. And you -- have you                     3        Q. And do you understand that
     4   experienced doctors who have lost their         4   program at Schein to effectively be the
     5   license and have served felony                  5   suspicious order monitoring program and
     6   convictions for drug-related offenses who       6   its history?
     7   have then come out and become a new             7             MR. JONES: Objection to the
     8   customer of Schein?                             8        form.
     9        A. Yes.                                    9             THE WITNESS: Yes.
    10        Q. And what about that                    10   BY MR. MIGLIORI:
    11   customer, in your experience, made that a      11        Q. Is there any other program
    12   person that you felt was an appropriate        12   within Schein, aside from the suspicious
    13   client for Schein?                             13   order monitoring program, that we'll
    14        A. In many cases, you know, as            14   speak about today, that you fit -- you
    15   I said, we go through the due diligence        15   think would also be included in a program
    16   process. And depending on the severity         16   for maintaining effective controls
    17   of the offense.                                17   against diversion?
    18        Q. Okay. And what in the due              18        A. License verification.
    19   diligence do you ask? Are there special        19        Q. So the suspicious order
    20   questions you ask that new client?             20   monitoring program and the license
    21        A. We would go through pretty             21   verification program are the two
    22   much a similar process. A customer could       22   component parts of Schein's maintenance
    23   receive an on-site audit, potentially.         23   and effective control against diversion;
    24        Q. So if the office is clear              24   is that a fair statement?
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     1        A. Including Know Your Customer            1   conversation.
     2   due diligence, yes.                             2        Q. And do you know who that
     3        Q. Which is within --                      3   conversation would have been with, if you
     4        A. Which is within the                     4   had one?
     5   suspicious order monitoring.                    5        A. It would have been with
     6        Q. And then the last topic is,             6   Sergio Tejeda.
     7   Your past and present interpretation,           7        Q. Okay. Are you familiar
     8   agreement or disagreement with the              8   with -- he's a very good-looking guy --
     9   positions or arguments asserted in the          9   Louis Ferraro?
    10   brief related to HDMA.                         10        A. I know him, yes.
    11            Your counsel says in here             11        Q. And he's a vice president
    12   that nobody is going to present on this.       12   today of generic pharmaceutical sourcing
    13   I'm okay with that for now.                    13   and administration at Henry Schein?
    14            But let me ask you a                  14        A. I believe so, yes.
    15   question about the HDMA.                       15        Q. And he also sits on the
    16            Are you familiar with the             16   board of the HDA.
    17   Healthcare Distributor Management              17            Are you aware of that?
    18   Association, or the -- what's now called       18        A. I am now, yes.
    19   Healthcare Distribution -- Distributors        19        Q. Have you ever had any
    20   Association?                                   20   conversations with him about the HDA or
    21        A. I know who they are, yes.              21   the guidances as it relates to suspicious
    22        Q. Are you an active member of            22   order monitoring programs?
    23   it yourself?                                   23        A. No.
    24        A. No.                                    24        Q. The last part of this notice
                                              Page 95                                             Page 97
     1        Q. You understand that Henry               1   I sent you in Exhibit-2 has a component
     2   Schein, Inc. is a member of the HDA?            2   that is asking you to bring documents
     3        A. Yes.                                    3   with you that you rely on.
     4        Q. And, in fact, you have a                4            Did you bring any documents
     5   person that sits on the board of the            5   with you today?
     6   HDMA?                                           6        A. No, I did not.
     7        A. I'm not sure who it is.                 7        Q. The documents that you
     8        Q. Okay. Have you ever                     8   reviewed in preparation for today, were
     9   attended an HDMA event? Seminar?                9   they given to you in a binder of some
    10        A. No.                                    10   sort, or were they just shared with you
    11        Q. Are you familiar with the              11   one by one?
    12   HDA's guidance relative to suspicious          12        A. In a binder.
    13   order monitoring programs that was issued      13        Q. And did you take that binder
    14   in 2008?                                       14   home in between your meetings and review
    15        A. Not directly. Maybe through            15   them?
    16   conversations with regulatory.                 16        A. Yes.
    17        Q. And so when you started to             17        Q. And do you still maintain
    18   get trained in late October, I guess, of       18   that binder?
    19   2009 on suspicious order monitoring            19        A. Yes.
    20   programs, do you recall ever being shown       20        Q. But as you sit here today,
    21   or taught that the HDA issued a guidance       21   you haven't brought any documents with
    22   for all distributors in the United             22   you that you used to help you educate
    23   States?                                        23   yourself to serve in this role as a
    24        A. Maybe through a                        24   person knowledgeable on these various
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     1   topics?                                         1   correct?
     2       A. Correct.                                 2        A. Correct.
     3            MR. MIGLIORI: Do you want              3        Q. The internal local drives of
     4       to take a break? I can keep                 4   the company, correct?
     5       going, or we can take a break.              5        A. Correct.
     6       It's been about an hour and 15.             6        Q. Any other systems?
     7            MR. JONES: If you're at a              7        A. No. I don't believe so, no.
     8       stopping point.                             8        Q. Do you maintain any reports,
     9            VIDEO TECHNICIAN: The time             9   data -- strike that.
    10       is now 10:19 a.m. We're going off          10            So you have a platform for
    11       the record.                                11   your customer client bases, correct?
    12               - - -                              12        A. Right.
    13            (Whereupon, a brief recess            13        Q. And what do we call that
    14       was taken.)                                14   again?
    15              - - -                               15        A. I'm sorry?
    16            VIDEO TECHNICIAN: The time            16        Q. What's the name of the
    17       is now 10:35 a.m. We are back on           17   database that you oversee for clients?
    18       the record.                                18        A. For -- JD Edwards.
    19               - - -                              19        Q. That's all part of the same
    20            (Whereupon, Exhibit                   20   database?
    21       Schein-Abreu-3, Amended Objections         21        A. Yes.
    22       and Responses to Plaintiffs'               22        Q. Any other platforms that you
    23       First Combined Discovery Requests,         23   would look to, to answer any questions
    24       was marked for identification.)            24   about where documents are, other than
                                              Page 99                                             Page 101
     1             - - -                                 1   those that you've mentioned?
     2   BY MR. MIGLIORI:                                2        A. No. Just, maybe, something
     3        Q. I'm going to do this very               3   on my own computer, but --
     4   quickly, but in this case, we received          4        Q. Do employees of Schein
     5   some documents responsive to certain            5   maintain documents locally on their own
     6   questions from your company. This               6   computers that are not connected to a
     7   Exhibit Number 3 is the document that           7   main server?
     8   references what's been produced, in part,       8        A. Yes.
     9   okay?                                           9        Q. And do employees of Schein
    10        A. Okay.                                  10   maintain documents, hard copies of
    11        Q. Have you, first of all, seen           11   documents, in their own files that are
    12   this document before?                          12   not part of a computerized system?
    13        A. This document --                       13        A. Yes.
    14        Q. Yes.                                   14        Q. Yes?
    15        A. -- here?                               15        A. Yes.
    16           I don't believe so, no.                16        Q. Did you do any searching in
    17        Q. Do you know whether you                17   the hard files or the local computers of
    18   participated in gathering documents that       18   certain employees in efforts to help be
    19   are responsive to our request for              19   responsive to document requests?
    20   information, documents?                        20        A. Yes.
    21        A. Yes, I did.                            21        Q. All right. And were all of
    22        Q. And the sources of                     22   those searches, on your part, directed by
    23   information that you went to, to help          23   counsel for you, that is, were they
    24   find documents, included the JWE system,       24   specific instructions that you received
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     1   to look for certain things?                       1        Q. And there's only one system
     2        A. Yes.                                      2   that begins with a J and ends with an E,
     3        Q. And over what period of time              3   correct?
     4   did you do that?                                  4        A. I think so.
     5        A. Sorry, the timeline for the               5        Q. All right. I just want to
     6   request, or the time period for me to do          6   make sure. I apologize.
     7   it?                                               7            So you go into the JDE
     8        Q. Your effort to do it.                     8   system to find transactional data?
     9            When did you do that?                    9        A. Correct.
    10        A. I guess it's been over the               10        Q. And how far back does the
    11   last couple of months.                           11   transactional data go, to your knowledge?
    12        Q. And did you produce, in                  12        A. It went back to 2009,
    13   fact, documents that were responsive to          13   January of 2009.
    14   certain requests?                                14        Q. Do you know what happened to
    15        A. Yes.                                     15   the transactional data before 2009?
    16        Q. Do you know anybody else in              16        A. It would have been purged.
    17   your company that was also asked to              17        Q. And what system was it on at
    18   perform that same task, to your                  18   that point?
    19   knowledge?                                       19        A. Sorry?
    20        A. Yes.                                     20        Q. Was it on a different
    21        Q. Who else?                                21   platform then?
    22        A. It would be Sergio Tejeda                22        A. No. It still would have
    23   and, I believe, Frank O'Regan as well.           23   been on JDE.
    24        Q. Anyone else you can think                24        Q. It was just purged because
                                               Page 103                                            Page 105
     1   of?                                               1   it was -- a decision was made to purge
     2         A. I don't think so, no.                    2   prior to 2009?
     3         Q. If you go to Page 6 of this              3        A. Yes. It would have been
     4   Exhibit-3, there's a response to the              4   from our IT team.
     5   first question asking for transactional           5        Q. And do you know when that
     6   data of the company.                              6   purging happened?
     7            Do you have access yourself              7        A. No, I don't.
     8   to the transactional data of Henry                8        Q. Do you know the retention
     9   Schein?                                           9   policy of the company relative to
    10         A. Yes.                                    10   transactional data?
    11         Q. And where is that                       11        A. I'm familiar with the
    12   information stored and located?                  12   retention policy, yes.
    13         A. It would be in our JDE                  13        Q. What is your understanding
    14   system.                                          14   of it?
    15         Q. JDE system?                             15        A. My understanding, I believe,
    16         A. Yes.                                    16   is seven years.
    17         Q. Have I been saying a                    17        Q. Would that apply to
    18   different letter?                                18   suspicious order monitoring records as
    19         A. Have you?                               19   well?
    20         Q. Maybe.                                  20        A. I don't believe those are
    21            So if I said JWE, it would              21   purged to the best of my --
    22   be -- I would be wrong, that it's the JDE        22        Q. So if there was a suspicious
    23   system?                                          23   order within the Henry Schein company, to
    24         A. Yes, yes.                               24   your knowledge, that information would
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     1   not have been purged?                           1        A. Referring to SOPs?
     2        A. After 2009.                             2        Q. Correct.
     3        Q. After 2009.                             3        A. Correct.
     4            Prior to 2009, were the                4        Q. All right. So databases
     5   suspicious orders -- is this what was on        5   relative to clients' suspicious orders
     6   the microfilm, or was this something            6   transactions were purged for all records
     7   else?                                           7   prior to 2009?
     8        A. No. It's something else.                8            MR. JONES: And I'm just
     9        Q. So a decision was made, at              9        going to make an objection. This
    10   some point, to purge the transactional         10        is outside the scope for which
    11   data and the suspicious order monitoring       11        he's designated as a 30(b)(6)
    12   data prior to 2009?                            12        witness.
    13        A. I guess, yes.                          13            I assume you're asking him
    14        Q. And it's your understanding            14        his personal understanding.
    15   that both of those types of information        15            MR. MIGLIORI: I don't think
    16   were purged at the same time?                  16        so. Because I asked -- it asks
    17        A. That, I don't know.                    17        about past and present suspicious
    18        Q. But do you think the start             18        orders. I'm trying to keep it to
    19   date for the purge or the end date for         19        the topics that we're talking
    20   the purge would be the same?                   20        about.
    21        A. I just know that we have the           21            MR. JONES: I'm not sure --
    22   data from January 2009 going forward.          22        I'm sorry. Go ahead.
    23        Q. Have you asked whether that            23            MR. MIGLIORI: Transactions
    24   data prior to 2009 was stored or backed        24        are related because the
                                             Page 107                                              Page 109
     1   up somewhere else?                              1       transactions are what are being
     2        A. Yes.                                    2       monitored. Suspicious orders
     3        Q. And what was the answer to              3       would be the -- those that didn't
     4   that question?                                  4       make it through the system and the
     5        A. That we don't have it.                  5       pended orders would be something
     6        Q. And who gave you that                   6       in the middle.
     7   answer?                                         7            So I'm not trying to be
     8        A. Our IT team.                            8       obstreperous or short-circuit this
     9        Q. Who at the IT team?                     9       process. I think they are within
    10        A. The director, I believe, of            10       the scope of his testimony.
    11   IT.                                            11            MR. JONES: And I understand
    12        Q. And that director's name is            12       where you're coming from. Insofar
    13   what?                                          13       as he's answering questions about
    14        A. Gavin Dsouza.                          14       the nuances of the technology and
    15        Q. Could you spell the last               15       policies related to overall
    16   name?                                          16       document policies, you know,
    17        A. I think it's D-S-O-U-Z-A.              17       that's probably something that
    18        Q. Same for pending orders,               18       he's not here to testify about.
    19   would those have been purged prior to          19            But, obviously, if he knows
    20   2009, pended orders?                           20       in his personal capacity, he can
    21        A. Yes.                                   21       tell you.
    22        Q. But policies, procedures,              22            MR. MIGLIORI: Right now I'm
    23   those types of documents were not purged,      23       just more interested in the
    24   correct?                                       24       information, anyway.
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     1   BY MR. MIGLIORI:                                1   system to do that?
     2        Q. So if it's only based on                2        A. Yes.
     3   your understanding, I'm okay with that          3        Q. And who would you ask to do
     4   answer, and you can tell me that.               4   that, if you had to run that report?
     5            But my question is simply,             5        A. Our IT team.
     6   the transactional data of Henry Schein          6        Q. And starting with the
     7   relative to controlled substances, the          7   director?
     8   pended orders that were reported and the        8        A. Yes.
     9   suspicious orders that were deemed and          9        Q. All right. And if you look
    10   reported, those files, those records at        10   further in Exhibit-3, there are responses
    11   Henry Schein are all purged if they are        11   relative to finding suspicious orders.
    12   prior to 2009; is that your                    12             We -- and your counsel will
    13   understanding?                                 13   argue about whether the answers are
    14        A. That's my understanding.               14   responsive or complete or whatever. I'm
    15        Q. All right. The policies and            15   referring you only to this for one
    16   procedures, the handbooks, the revisions,      16   purpose, which is simply, did you help
    17   those were not purged, to your knowledge,      17   gather any information about whether or
    18   in 2009, correct?                              18   not suspicious orders existed in Ohio or
    19        A. Correct.                               19   within Summit County?
    20        Q. You've reviewed a lot of               20        A. I'm sorry, which part of the
    21   those procedures that predate 2009,            21   document?
    22   correct?                                       22        Q. Page 6, Question Number 2,
    23        A. Correct.                               23   we can start with.
    24        Q. And the person that would              24             Question 2 asks for the SOM
                                             Page 111                                             Page 113
     1   have the most knowledge about when those        1   systems themselves. And there's 141
     2   records were purged and why would be the        2   pages that were produced in response to
     3   director of IT?                                 3   that.
     4            MR. JONES: Objection.                  4            The next question --
     5        Form.                                      5            MR. JONES: Just so we're
     6            You can answer if you know.            6        clear, it's 441.
     7   BY MR. MIGLIORI:                                7            MR. MIGLIORI: I'm sorry.
     8        Q. To your knowledge.                      8        That was my bad.
     9        A. I believe so.                           9   BY MR. MIGLIORI:
    10        Q. Have you reviewed any                  10        Q. 441 pages produced.
    11   suspicious order databases for your            11            And then on Number 3 it
    12   testimony here?                                12   says, suspicious orders -- it asks for
    13        A. I'm sorry, when you say                13   any suspicious orders beginning at a
    14   "databases"?                                   14   certain date.
    15        Q. Files, records.                        15            But the answer says that
    16        A. Yes.                                   16   there were none in Summit County.
    17        Q. Have you reviewed any --               17            Were you involved with
    18   yes.                                           18   gathering any of that data?
    19            If you went into the system,          19        A. Yes.
    20   could you print out a list of all              20        Q. And did you look and search
    21   suspicious orders in a state, particular       21   for Summit County suspicious orders going
    22   state?                                         22   back to 2006?
    23        A. Me personally, no.                     23        A. Yes.
    24        Q. Is it feasible within your             24        Q. And is this, in part, this
   Golkow Litigation Services                                                Page 29 (110 - 113)
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     1   answer that there were none that could be       1         Q. In addition to that, there
     2   found in Summit County, was that an             2   is, federally, a requirement that you
     3   answer that was consistent with your            3   report suspicious orders to the DEA,
     4   investigation into that?                        4   correct?
     5        A. Yes.                                    5         A. Correct.
     6        Q. Did you look for suspicious             6         Q. And at least under the
     7   orders in the state of Ohio beyond Summit       7   statute that the suspicious order
     8   County?                                         8   monitoring program addresses, that those
     9        A. No.                                     9   suspicious orders are to be reported when
    10        Q. Did you look for suspicious            10   discovered, correct?
    11   orders throughout the country?                 11             MR. JONES: Objection.
    12        A. Responsive to this?                    12         Form. Vague.
    13        Q. To respond to this question.           13             THE WITNESS: Sorry, can you
    14        A. No.                                    14         restate the question?
    15        Q. Does that information exist            15   BY MR. MIGLIORI:
    16   in the system that you were looking at?        16         Q. Sure.
    17        A. Yes.                                   17             You're supposed to report
    18        Q. And then there are several             18   suspicious orders when you discover them,
    19   different ways of asking different             19   correct?
    20   questions about suspicious orders.             20         A. Correct.
    21            But is it fair to say, as             21             MR. JONES: Objection.
    22   you sit here today, at least relative to       22         Form.
    23   Summit County, you're aware of no              23   BY MR. MIGLIORI:
    24   suspicious orders that have been reported      24         Q. And in addition to that,
                                             Page 115                                             Page 117
     1   to the DEA relative to any Schein clients       1   you're telling me that Schein reported
     2   or customers from 2006 to the present,          2   monthly what it called pended orders,
     3   correct?                                        3   correct?
     4            MR. JONES: Objection.                  4        A. Correct.
     5        Form. Objection. Vague. Overly             5        Q. And those were orders that
     6        broad.                                     6   triggered based on an excessive threshold
     7   BY MR. MIGLIORI:                                7   for that group of doctors, correct?
     8        Q. Is that correct?                        8             MR. JONES: Objection.
     9        A. So we did report orders to              9        Form. Objection as to overly
    10   DEA during that time period, the monthly       10        broad as to time.
    11   reports that we discussed earlier.             11   BY MR. MIGLIORI:
    12        Q. The pended orders?                     12        Q. Today.
    13        A. Correct.                               13        A. We reported orders that
    14        Q. So let's break that down.              14   pended, yes; and that we reported orders
    15            You'll agree with me that             15   that were pended and cancelled.
    16   Henry Schein has always had the                16        Q. Pended and cancelled is your
    17   obligation, relative to controlled             17   definition of a suspicious order,
    18   substances, to report the transactions to      18   correct?
    19   DEA on a quarterly basis, correct?             19        A. Potentially.
    20        A. Correct.                               20        Q. Is there a pended and
    21        Q. And those transactions are             21   cancelled that is not suspicious?
    22   reported into what's called the ARCOS          22        A. Could be.
    23   database, correct?                             23        Q. So -- and we've already said
    24        A. Correct.                               24   that it's only after Masters, so,
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     1   basically, beginning in 2018, that you          1   BY MR. MIGLIORI:
     2   started reporting suspicious orders             2        Q. You were asked to go look
     3   before due diligence, correct?                  3   for information to be responsive to this
     4            MR. JONES: Objection.                  4   question, correct?
     5        Form. It's not it was part of his          5        A. Correct.
     6        testimony.                                 6        Q. One of the things you did is
     7            THE WITNESS: I'm sorry?                7   you went into your JDE system and you
     8            MR. MIGLIORI: We already               8   looked where you would find suspicious
     9        covered it. I don't have to do it          9   orders, correct?
    10        again.                                    10        A. Correct.
    11   BY MR. MIGLIORI:                               11        Q. And you did that for Summit
    12        Q. You found no reports of                12   County, Ohio, correct?
    13   suspicious orders in Summit County             13        A. Yes.
    14   beginning in 2006, correct?                    14        Q. And you were told to start
    15        A. The ones we did report                 15   in January of 2006, correct?
    16   monthly to DEA, we reported.                   16        A. Correct.
    17        Q. I want to be very specific,            17        Q. And when you did that, you
    18   because you reported different things,         18   produced zero suspicious orders that are
    19   and I want to make sure we're talking          19   responsive to that question, correct?
    20   about the same thing.                          20            MR. JONES: Objection.
    21            In helping to respond to the          21        Form. Vague as to "suspicious
    22   answers in Exhibit Number 3, you looked        22        orders."
    23   at the database, the files of Schein, to       23   BY MR. MIGLIORI:
    24   find whether or not there were any -- as       24        Q. You're here to talk about
                                             Page 119                                             Page 121
     1   the request specifically says, any              1   suspicious orders, right?
     2   suspicious orders in Summit County;             2            MR. JONES: Objection.
     3   that's what you were asked to look for,         3       Overly broad.
     4   correct?                                        4   BY MR. MIGLIORI:
     5        A. Correct.                                5       Q. You've been designated as a
     6        Q. And you found none, correct?            6   person to talk about suspicious orders
     7        A. Correct.                                7   today, correct?
     8        Q. That is, at least you went              8       A. Yes.
     9   back in time to 2006.                           9       Q. You understand what a
    10            And from 2006 until today,            10   suspicious order is, under Henry Schein's
    11   you found no suspicious orders reported        11   definition anyhow, correct?
    12   by Henry Schein, Incorporated for Summit       12       A. Yes.
    13   County, Ohio, correct?                         13       Q. Under Henry Schein's
    14            MR. JONES: Object to the              14   definition, did you find any suspicious
    15        form. Vague. Overly broad.                15   orders in Summit County from 2006 to
    16        Also, the statement that you're           16   today?
    17        referencing in Exhibit-3, subject         17       A. From 2009 to today, no.
    18        to our limitations, clarifications        18       Q. The request here says from
    19        and objections.                           19   2006.
    20            MR. MIGLIORI: I'm just                20       A. Right.
    21        asking only about your search,            21       Q. Did you not -- you couldn't
    22        okay? I'm not asking about any of         22   go back --
    23        the other aspects of this                 23       A. We couldn't go back to 2006.
    24        question.                                 24       Q. So the limitation here,
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     1   which -- I'm glad you told me, because         1        Q. Did you produce a list of
     2   that's actually not clear here.                2   those three pended orders to counsel?
     3             You were told to go back to          3        A. Yes.
     4   2006 to find suspicious orders in Summit       4        Q. That list of three pended
     5   County and you went back to 2009 because       5   orders, what were -- in the years that
     6   that's all you could find; is that fair?       6   they were pended, what would have been
     7        A. Fair, yes.                             7   the definition of a pended order to cause
     8        Q. And in going back to 2009,             8   them to be deemed pended? By what
     9   you found no suspicious orders in Summit       9   definition were they pended?
    10   County, based on Schein's definition of       10        A. I don't remember -- I don't
    11   suspicious orders?                            11   recall the time frame of the pend.
    12        A. Correct.                              12        Q. Is it fair to say that since
    13        Q. Is there another definition           13   2009, after the revamp of the suspicious
    14   of suspicious orders that you went to go      14   order monitoring program was implemented,
    15   look back at the same data for?               15   that pended orders had the same
    16        A. No.                                   16   definition?
    17        Q. If a suspicious order -- did          17            MR. JONES: Objection.
    18   you go back and look for -- strike that.      18        Form.
    19             Did you go back and look for        19   BY MR. MIGLIORI:
    20   pended orders?                                20        Q. Isn't that a fair statement?
    21        A. Yes.                                  21        A. Can you clarify that?
    22        Q. And did you find pended               22        Q. Sure.
    23   orders in Summit County?                      23            Since 2009, the definition
    24        A. Yes.                                  24   of pended really hasn't changed at
                                            Page 123                                           Page 125
     1         Q. And you'll see that there             1   Schein, has it?
     2   are no pended orders referenced here.          2        A. No.
     3   I'll ask you to take my representation,        3        Q. All right. So what would
     4   but you're welcome to look.                    4   have made these three Summit County
     5             When asked about suspicious          5   orders pended? What were the different
     6   orders, you didn't respond -- or you           6   things that could have pended those three
     7   didn't find or report pended orders in         7   orders?
     8   your search for documents, did you?            8        A. So it could have been -- it
     9         A. I believe there were -- I             9   could have been for size, frequency or
    10   believe there were three for Summit           10   pattern. It could have been a first-time
    11   County, pended orders.                        11   active ingredient. Or it could be that,
    12         Q. And, again, you were asked           12   you know, there wasn't enough history
    13   to go back to 2006; you could only go         13   available, potentially, to score a
    14   back to 2009 because those documents had      14   customer's particular order.
    15   been purged between 2006 and 2009,            15        Q. And do you know the
    16   correct?                                      16   customers for those, any of those three
    17         A. The data had been purged.            17   pended orders?
    18         Q. So in your search from 2009          18        A. No.
    19   to present, you believe that there were       19        Q. But that's information you
    20   three pended orders in Summit County?         20   provided to counsel?
    21         A. Correct.                             21        A. Yes.
    22         Q. Do you recall the dates of           22        Q. And so by Schein's
    23   those pended orders?                          23   definition, those pended orders had to
    24         A. No.                                  24   have some component within the system to
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     1   trigger a concern, correct?                      1        A. Yes.
     2        A. To trigger a pend.                       2        Q. -- these three pends in
     3        Q. And as of 2009, the                      3   Summit County would have necessarily
     4   triggering of a pend, unless it's a new          4   triggered a due diligence inquiry,
     5   client, is an algorithm, that is, it's a         5   correct?
     6   computer trigger, isn't it?                      6        A. Correct.
     7        A. It's a computer trigger,                 7        Q. And that would have included
     8   yes.                                             8   a letter to the customer, correct,
     9        Q. So it would have had to have             9   requesting information?
    10   been some change or deviation in size,          10        A. A questionnaire, yes.
    11   frequency or pattern at some level to           11        Q. It would have, by 2009, also
    12   cause it to be questioned, correct?             12   included a phone call to the customer,
    13        A. Unless it was a first-time              13   correct?
    14   purchase of a particular ingredient.            14        A. Potentially, yes.
    15        Q. Right. But even that would              15        Q. Which would be done by the
    16   be triggered electronically, correct?           16   verification team, typically?
    17        A. Correct.                                17        A. Yes.
    18        Q. And that's part of the                  18        Q. All of this level of due
    19   algorithm, at least as of 2009?                 19   diligence is done by your verification
    20        A. Yes.                                    20   team, correct?
    21        Q. And then who gets that                  21        A. The preliminary --
    22   trigger? Who is told, we need to look at        22        Q. Yes.
    23   this, this is now pended?                       23        A. -- yes.
    24        A. The system will write the               24        Q. So in the preliminary due
                                              Page 127                                            Page 129
     1   pend into the system, and then it would          1   diligence, we have a questionnaire, we
     2   be reviewed by my team in verifications.         2   have, potentially, a phone call.
     3        Q. All right. And so your team              3            What other things might have
     4   would get it, and then there would be a          4   happened with respect to this -- these
     5   review process at your level, and if             5   three pends in Summit County?
     6   necessary, a review process at the               6        A. Referring to the specific
     7   regulatory level?                                7   time frame of the pend?
     8        A. That's right.                            8        Q. Yeah. What are the
     9        Q. Do you know whether these                9   possibilities of initial review in due
    10   three pends were reviewed and cleared?          10   diligence after 2009?
    11        A. I don't -- I'm not sure.                11            MR. JONES: Objection.
    12        Q. You didn't investigate that?            12        Overly broad as to time.
    13        A. No.                                     13            Go ahead.
    14        Q. Do you know whether                     14            THE WITNESS: So I guess it
    15   regulatory got involved with any of these       15        depends on when the pend took
    16   pends?                                          16        place; so, you know, depending on
    17        A. I'm not sure.                           17        the year. The due diligence
    18        Q. Under your system, at least             18        process has evolved.
    19   as of 2009, a pend would have necessarily       19   BY MR. MIGLIORI:
    20   required a due diligence follow-up,             20        Q. Okay. What was it in 2009?
    21   correct?                                        21        A. It would be a questionnaire
    22        A. Say that one more time. I'm             22   or a phone call, as you stated.
    23   sorry.                                          23        Q. So you send out a
    24        Q. As of 2009 --                           24   questionnaire and that questionnaire
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     1   would come back within a certain amount         1   after Masters, correct?
     2   of time, correct?                               2            MR. JONES: Objection.
     3        A. Correct.                                3            THE WITNESS: No. That was
     4        Q. It's all done by regular                4        changed --
     5   mail, correct?                                  5   BY MR. MIGLIORI:
     6        A. No. We would fax on                     6        Q. Go ahead.
     7   occasion.                                       7        A. That was changed in 2015.
     8        Q. That questionnaire would                8        Q. 2015.
     9   come back. And the verification team            9            What caused that reporting
    10   could take that questionnaire, and we          10   process to change relative to pended
    11   have some we can show, if you need, but        11   orders?
    12   take that questionnaire and a decision         12        A. It was based on guidance
    13   could be made right there at verification      13   that we had received from industry and
    14   that it's okay to clear this for               14   from DEA expectations.
    15   shipment, correct?                             15        Q. Okay. Did you, in 2009,
    16        A. Depending on the                       16   also report pended orders to the state of
    17   circumstances, yes.                            17   Ohio?
    18        Q. And if a follow-up phone               18        A. I don't recall.
    19   call happened, who would make that call?       19        Q. Are you aware of the Ohio
    20        A. It could be somebody from my           20   requirements to report controlled
    21   team in verifications.                         21   substances and suspicious orders?
    22        Q. All right. What other                  22            MR. JONES: Objection. Goes
    23   potential aspects of due diligence, from       23        outside the scope.
    24   the verification team, could happen from       24            MR. MIGLIORI: I don't know
                                             Page 131                                              Page 133
     1   2009 up to today?                               1        that it is. But I'll accept
     2         A. Up to today?                           2        whatever his answer is as to
     3         Q. Yes.                                   3        whether or not he's aware of it.
     4         A. We would get -- we would               4            THE WITNESS: I'm aware of
     5   still request the customer to fill out          5        it now.
     6   the questionnaire.                              6   BY MR. MIGLIORI:
     7            And in today's world, you              7        Q. When did you become aware of
     8   know, we would perform Internet searches        8   the Ohio reporting requirements?
     9   of the customer, check all their licenses       9        A. I don't -- I don't recall.
    10   at the state and federal level, review         10        Q. Do you know if today Schein
    11   product history.                               11   reports to Ohio its pended orders?
    12         Q. Okay. You would check                 12        A. Pended orders?
    13   licenses in 2009, too, correct?                13        Q. Pended orders.
    14         A. Yes.                                  14        A. I'm not sure.
    15         Q. That was -- has been a part           15        Q. Do you know if today Schein
    16   of verification since you got there,           16   reports its suspicious orders to the
    17   correct?                                       17   state of Ohio?
    18         A. Correct.                              18        A. Yes.
    19         Q. All right. And then you               19        Q. And to which part, division,
    20   would report that pend, on a monthly           20   of the Ohio government do you report
    21   basis, to DEA in 2009, correct?                21   those?
    22         A. Correct.                              22        A. I believe it's Board of
    23         Q. And you did that through              23   Pharmacy.
    24   2017, until you changed that process           24        Q. And when, if you know, did
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     1   Schein begin reporting suspicious orders        1            MR. JONES: Objection.
     2   to the Board of Pharmacy?                       2        Asked and answered.
     3        A. I'm not sure.                           3            MR. MIGLIORI: I'm sorry if
     4        Q. Is the definition that you              4        I did.
     5   use for suspicious orders for Ohio the          5   BY MR. MIGLIORI:
     6   same as the definition that you, Henry          6        Q. Do you know if they were
     7   Schein, use for suspicious orders for DEA       7   cancelled?
     8   purposes?                                       8        A. I don't know.
     9        A. Yes.                                    9        Q. And do you know if they were
    10        Q. So the only reporting you              10   related to any criminal convictions of
    11   would do to the Board of Pharmacy to Ohio      11   any doctors in Summit County?
    12   for suspicious orders would be those           12        A. I'm not sure.
    13   orders that have pended, been                  13        Q. Are you familiar with Dr.
    14   investigated in due diligence, and             14   Heim?
    15   cancelled, correct?                            15        A. No.
    16        A. Yes.                                   16        Q. Are you aware of a
    17            MR. JONES: Objection to               17   conviction of a doctor in Summit County
    18        form.                                     18   for controlled substance-related felonies
    19   BY MR. MIGLIORI:                               19   in 2014?
    20        Q. And the database for the               20            MR. JONES: Objection.
    21   Ohio reporting of those suspicious orders      21        Vague.
    22   is located where?                              22            THE WITNESS: I may have
    23        A. I'm sorry?                             23        been, but I don't recall.
    24        Q. Is it the same database for            24   BY MR. MIGLIORI:
                                             Page 135                                             Page 137
     1   reporting Ohio suspicious orders that you       1        Q. And so do you know whether
     2   use for DEA suspicious orders?                  2   or not -- if -- strike that.
     3        A. Internally?                             3            If there were a conviction
     4        Q. Yes.                                    4   in Summit County of a physician relative
     5        A. Yes.                                    5   to, among other things, controlled
     6        Q. So if I wanted a list of all            6   substances sold to him by Schein and due
     7   Ohio suspicious orders, you would look in       7   diligence had been performed on the
     8   the same place that you look for DEA            8   ordering of that doctor, would that due
     9   suspicious orders, correct?                     9   diligence exist in the same place that
    10        A. Correct.                               10   you've already described within the JDE
    11        Q. But as you sit here today,             11   system?
    12   you only reported pended orders to the         12            MR. JONES: Objection.
    13   DEA; you did not, at Schein, report            13        Overly broad. Calls for
    14   pended orders to Ohio's Board of               14        speculation.
    15   Pharmacy, correct?                             15            THE WITNESS: Yes.
    16        A. That's right.                          16   BY MR. MIGLIORI:
    17        Q. Do you know if the three               17        Q. All right. In your -- so
    18   pended orders that you found in Summit         18   just to wrap up Exhibit-3, in your effort
    19   County, from 2009 to present, were also        19   to help counsel find documents responsive
    20   reported to the Ohio Board of Pharmacy?        20   to these document requests, you found,
    21        A. I don't know.                          21   from 2009 to present, no suspicious
    22        Q. Do you know if the three               22   orders that reported to the DEA or to the
    23   pended orders were cancelled in Summit         23   Ohio Board of Pharmacy, correct?
    24   County?                                        24            MR. JONES: Objection.
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     1        Compound. Objection. Vague.                1            MR. MIGLIORI: Let me show
     2   BY MR. MIGLIORI:                                2        you Exhibit-4.
     3        Q. Correct?                                3               - - -
     4        A. Correct.                                4            (Whereupon, Exhibit
     5        Q. And you found three pended              5        Schein-Abreu-4, 21 C.F.R. 1301.74,
     6   orders that you understand were reported        6        was marked for identification.)
     7   to the DEA for three orders in Summit           7              - - -
     8   County, Ohio, correct?                          8            MR. JONES: Actually, I
     9        A. I'm sorry?                              9        withdraw that objection.
    10        Q. You found three pended                 10            MR. MIGLIORI: I wasn't
    11   orders for Summit County, Ohio --              11        really going to give you any
    12        A. Yes.                                   12        credit for it, anyway.
    13        Q. -- in that time frame,                 13            MR. JONES: I'm surprised
    14   correct?                                       14        you're not over there issuing
    15        A. Correct.                               15        rulings.
    16        Q. And do you know whether                16            MR. MIGLIORI: I am, just in
    17   those three pended orders were, in fact,       17        my head.
    18   reported to DEA?                               18   BY MR. MIGLIORI:
    19        A. I'm not sure, because of the           19        Q. Yours has the sticker on it,
    20   time frame.                                    20   sir.
    21        Q. Okay. Is there a time frame            21            I'm not going to ask you to
    22   between 2009 and present when a pended         22   interpret law. This is just simply right
    23   order would not have been reported to the      23   out of the Controlled Substances Act that
    24   DEA?                                           24   we've been talking about, upon which the
                                             Page 139                                             Page 141
     1        A. After 2015, April 2015.                 1   suspicious orders -- and you certainly
     2        Q. In April of 2015, you would             2   have seen this before, correct?
     3   have stopped sending pended orders to the       3        A. Yes.
     4   DEA?                                            4        Q. This is sort of the
     5        A. That's correct.                         5   boilerplate that dictates all -- all
     6        Q. And that guidance, the                  6   things?
     7   industry guidance, what do you recall           7            MR. WICKS: What exhibit is
     8   about that, that dictated that you should       8        this?
     9   no longer send pended orders to DEA?            9            MR. MIGLIORI: This is
    10        A. That DEA was particularly              10        Exhibit-4.
    11   interested in orders that we deemed as         11   BY MR. MIGLIORI:
    12   suspicious and not orders that pended, as      12        Q. So, again, this is effective
    13   an order of interest.                          13   as of 1971.
    14        Q. So I understand the                    14            Were you born yet?
    15   definition, at Schein, up until today,         15        A. No.
    16   the mere fact that an order deviated from      16        Q. The registrant -- you
    17   size, frequency and pattern was not            17   understand in the law that the registrant
    18   enough -- is not enough to deem that           18   means the manufacturer, distributor,
    19   order suspicious, correct?                     19   pharmacy that is in the business of
    20        A. You said up until today?               20   making, distributing and selling
    21        Q. Yes.                                   21   controlled substances, correct?
    22        A. Correct.                               22        A. Yes.
    23            MR. JONES: Objection. Form            23        Q. All right. That is, they
    24        as to time.                               24   have to have a registration with the DEA
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     1   in order to sell and distribute                    1   Suspicious orders include orders of
     2   controlled substances, correct?                    2   unusual size, orders deviating
     3        A. Correct.                                   3   substantially from a normal pattern and
     4        Q. And Henry Schein is a                      4   orders of unusual frequency.
     5   registrant of the DEA, correct?                    5            Were you aware that that was
     6        A. Yes.                                       6   a definition within the statute?
     7        Q. The registrant shall design                7        A. Yes.
     8   and operate a system to disclose to the            8        Q. So once an order deviated in
     9   registrant suspicious orders of                    9   size or pattern or frequency, under the
    10   controlled substances.                            10   Act it was suspicious.
    11            That's the mandate that                  11            Do you see that?
    12   requires companies like yours to develop          12            MR. JONES: Objection.
    13   a suspicious order monitoring program for         13        Form. The statute speaks for
    14   controlled substances, correct?                   14        itself. Also object to the extent
    15        A. Correct.                                  15        that it calls for a legal
    16        Q. The registrant shall inform               16        conclusion.
    17   the field division of the                         17   BY MR. MIGLIORI:
    18   administration -- that is, the DEA -- in          18        Q. First of all, do you see
    19   his area of suspicious orders when                19   that in the statute?
    20   discovered by the registrant.                     20        A. Yes.
    21            Do you see that as part of               21        Q. But that's not the
    22   the requirement?                                  22   definition that Schein works with, with
    23        A. Yes.                                      23   respect to suspicious orders.
    24        Q. So when a suspicious order                24            In the Schein system, what I
                                                Page 143                                             Page 145
     1   is discovered by the company, it shall             1   just described there, what the statute
     2   report that suspicious order to the field          2   just described there, would be called a
     3   division of the DEA.                               3   pended order, not a suspicious order; is
     4             Do you understand that to be             4   that a fair understanding of what you're
     5   the requirement of this act?                       5   saying?
     6        A. Yes.                                       6            MR. JONES: Objection.
     7             MR. JONES: And just so                   7        Form. Compound. Object as to
     8        we're clear, I'm sure this is what            8        time. Vague.
     9        it says, but this is something                9            THE WITNESS: Say that
    10        that you've put together; this is            10        again. I'm sorry.
    11        not an actual copy of the statute?           11   BY MR. MIGLIORI:
    12        Because, obviously, it doesn't               12        Q. Sure.
    13        have the whole CFR provision.                13            If I were to take that last
    14             MR. MIGLIORI: No. If you                14   sentence, starting with "suspicious
    15        really want it, I've got it.                 15   orders," okay, we've read that together,
    16             MR. JONES: No. I --                     16   and you understand that to be part of the
    17             MR. MIGLIORI: But it's just             17   Act, correct?
    18        for illustration purposes.                   18        A. Correct.
    19             MR. JONES: Got it.                      19        Q. If I were to take that
    20             MR. MIGLIORI: And if there              20   sentence, in Schein's system, including
    21        are typos, it's probably mine and            21   you looking back into Summit County to
    22        not the statute.                             22   find suspicious orders and pended orders,
    23   BY MR. MIGLIORI:                                  23   in Schein's system, this wouldn't say
    24        Q. The act then says,                        24   suspicious orders, this would say pended
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     1   orders include orders of unusual size,           1            MR. JONES: Objection.
     2   orders deviating substantially from a            2        Form.
     3   normal pattern and orders of unusual             3            THE WITNESS: We reported
     4   frequency, correct?                              4        them as pended orders.
     5            MR. JONES: Same objections.             5   BY MR. MIGLIORI:
     6            THE WITNESS: Yes. It would              6        Q. And those weren't reported
     7        be considered an order of                   7   when they were discovered, they were
     8        interest.                                   8   reported, in an aggregate, on a monthly
     9   BY MR. MIGLIORI:                                 9   basis, correct?
    10        Q. An order of interest is                 10        A. They were reported monthly,
    11   another way to describe it.                     11   yes.
    12            A pended interest is another           12        Q. Were they reported
    13   way you've described it today, correct?         13   electronically, automatically?
    14        A. Correct.                                14        A. The program created a report
    15        Q. But an order that was only              15   electronically, but they were mailed to
    16   unusual in size, deviated from a normal         16   DEA.
    17   pattern or of unusual frequency, in the         17        Q. So if after a month there
    18   Schein system, by itself, is not                18   were no pended orders, did a report still
    19   suspicious, correct?                            19   go?
    20        A. In the Schein system, based             20        A. Yes.
    21   on, you know, discussions with industry         21        Q. And what did that report
    22   and input from DEA, yes.                        22   say?
    23        Q. All right. So to the extent             23        A. Because the report contained
    24   that the Act requires reporting to DEA,         24   orders from prior months as well.
                                              Page 147                                              Page 149
     1   at the time discovered, of suspicious            1        Q. So as long as an order
     2   orders, Henry Schein has only reported,          2   remained in investigation, it repeatedly
     3   from 2009 to today, pended orders,               3   got reported on a monthly basis?
     4   correct?                                         4        A. Not whether it remained in
     5            MR. JONES: Objection.                   5   investigation, but whether it pended, we
     6        Form.                                       6   would still, historically, go back for a
     7   BY MR. MIGLIORI:                                 7   period of months.
     8        Q. I'm sorry, to 2015.                      8        Q. When does an order no longer
     9        A. Yes.                                     9   pend in the system, from 2009 to 2015?
    10        Q. All right. So if, from 2009             10        A. It will pend -- it will stop
    11   to 2015, the algorithm triggered a              11   pending when it's either cancelled or
    12   deviation in size, pattern or frequency         12   released.
    13   of an order, Henry Schein did not report        13        Q. And by "released" you mean
    14   that as a suspicious order to DEA until         14   shipped?
    15   after 2015, correct?                            15        A. Correct.
    16        A. Can you say that one more               16        Q. It's a little glossy, but I
    17   time? I'm sorry.                                17   want to make sure I know what you're
    18        Q. If, from 2009 to 2015, the              18   speaking for.
    19   system at Henry Schein triggered a              19            This is from the website,
    20   deviation for a customer in a controlled        20   and it's called, Henry Schein at a
    21   substance order of size, pattern and            21   Glance.
    22   frequency, Henry Schein did not report          22               - - -
    23   that as a suspicious order to DEA until         23            (Whereupon, Exhibit
    24   after 2015, correct?                            24        Schein-Abreu-5, HenrySchein.com.
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     1        Printout, was marked for                    1   also use controlled substances.
     2        identification.)                            2            Is there a separate division
     3              - - -                                 3   in those companies for that suspicious
     4            MR. MIGLIORI: It's Exhibit              4   order monitoring?
     5        Number 5.                                   5        A. Yes.
     6   BY MR. MIGLIORI:                                 6        Q. All right. And you have no
     7        Q. When you speak for Henry                 7   role with that whatsoever?
     8   Schein, you are speaking for the entire          8        A. That's correct.
     9   company on these topics, correct?                9        Q. All right. And the doctors
    10            MR. JONES: Object to the               10   and customers Henry Schein, Inc. services
    11        form. He's here as a corporate             11   are primarily dentists and orthodontists,
    12        representative of Henry Schein,            12   right?
    13        Inc.                                       13        A. Correct.
    14   BY MR. MIGLIORI:                                14        Q. What other areas of
    15        Q. Well, that's what -- I'm not            15   medicine?
    16   trying to ask a bad question. I'm trying        16        A. Medical.
    17   to make sure I know why you're here and         17        Q. Medical.
    18   who you're speaking for.                        18            And more -- many of your
    19            You have, within Henry                 19   customers are, in fact, the doctors and
    20   Schein, divisions that sell for animal          20   healthcare facilities themselves,
    21   and veterinary health, correct?                 21   correct?
    22        A. Yes.                                    22        A. They're office-based
    23        Q. Is that within Henry Schein,            23   practitioners, yes.
    24   Inc.?                                           24        Q. Do you do any distribution
                                              Page 151                                            Page 153
     1       A.     No.                                   1   to retail pharmacies, independents or
     2            MR. JONES: Form.                        2   national chains?
     3   BY MR. MIGLIORI:                                 3        A. It is a separate division.
     4        Q. And are the systems in place             4        Q. And is that contained within
     5   for suspicious orders the same systems           5   your suspicious order monitoring program?
     6   for the animal health systems?                   6        A. They use the same systems.
     7            MR. JONES: Object to the                7        Q. Is there a different group
     8        form. Object that this goes                 8   of people that do the regulatory and
     9        outside the scope. He's already             9   verification process of that?
    10        said that these other divisions            10        A. Yes.
    11        are not part of Henry Schein, Inc.         11        Q. And you have no role within
    12            So he's not here as a                  12   that whatsoever?
    13        corporate representative to                13        A. I don't have oversight.
    14        testify as to them or as to their          14        Q. So to the extent you're
    15        corporate structure.                       15   speaking here today, you're only speaking
    16   BY MR. MIGLIORI:                                16   about customers that are practitioners or
    17        Q. I'm asking, within Henry                17   healthcare facilities themselves?
    18   Schein, Inc., are you responsible for           18        A. Yes.
    19   your divisions, in terms of suspicious          19        Q. And if there's a change in
    20   order monitoring?                               20   your system, does it also effectuate a
    21        A. I'm not responsible for the             21   change in the same for dispensaries?
    22   animal health.                                  22        A. Sorry, when you say
    23        Q. So, apparently, it seems,               23   "dispensaries" --
    24   that when taking care of animals, they          24        Q. So you're here to talk about
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     1   policies and standard operating                 1            MR. MIGLIORI: Right.
     2   procedures for your suspicious order            2   BY MR. MIGLIORI:
     3   monitoring program at Henry Schein, Inc.        3         Q. I just want to know, if you
     4            I'm just wondering whether             4   change a system for a pharmacy, will that
     5   the policies and procedures that you're         5   show up in the same documents I'm looking
     6   here to talk about are the same as those        6   at if you change the system for direct
     7   that are used in the relationships with         7   customers at Henry Schein, Inc.?
     8   dispensaries?                                   8         A. So SOPs are maintained
     9            MR. JONES: Objection.                  9   separately.
    10        Form. Vague as to "dispensaries."         10         Q. Okay. Do you have regular
    11   BY MR. MIGLIORI:                               11   meetings to talk about best practices?
    12        Q. CVS. Pick a pharmacy.                  12         A. No.
    13        A. They use the same systems.             13         Q. And who is the person with
    14        Q. If you change your system              14   the most knowledge, to your knowledge, of
    15   for your customer base, is it usually the      15   those relationships, that is, the
    16   case that that changes for the suspicious      16   relationships between Henry Schein and
    17   ordering system for the pharmacies?            17   the pharmacies?
    18        A. The system itself, yes. But            18         A. That would be Sergio Tejeda.
    19   not necessarily practices and policy.          19         Q. So regulatory covers both,
    20        Q. Do, ever, the two regulatory           20   verification doesn't?
    21   groups regularly interact on DEA               21         A. Correct.
    22   requirements and expectations and              22         Q. And that's because direct
    23   guidances?                                     23   customers, you have to verify their
    24            MR. JONES: Objection.                 24   medical practices, licenses and the like,
                                             Page 155                                           Page 157
     1   BY MR. MIGLIORI:                                1   correct?
     2        Q. Is there any interface                  2        A. Yes.
     3   between the dispensary retail side and          3        Q. So if I wanted to know about
     4   the direct customer side?                       4   the overall Henry Schein standard
     5             MR. JONES: Object to the              5   operating procedures for suspicious order
     6        form. Objection. It goes outside           6   monitoring throughout the company, Sergio
     7        the scope.                                 7   and the regulatory team is involved with
     8   BY MR. MIGLIORI:                                8   all of those, correct?
     9        Q. Go ahead.                               9             MR. JONES: Object to the
    10        A. In terms of sharing best               10        form. Vague. Overly broad.
    11   practices.                                     11             THE WITNESS: I don't know
    12        Q. Okay. And are those best               12        if I would say necessarily "all."
    13   practices memorialized somewhere?              13   BY MR. MIGLIORI:
    14        A. In an SOP.                             14        Q. Is there another regulatory
    15        Q. Okay. So if we go through              15   division besides the one that Sergio is
    16   the SOPs that we've been provided, the         16   in?
    17   441 pages, or whatever they are, those         17        A. I don't believe so.
    18   would apply both to direct customers and       18        Q. Okay. As it says here in
    19   to retail; and to the extent they're not       19   Exhibit-5, Schein is a Fortune 500
    20   consistent, it would be in the SOP?            20   company, NASDAQ.
    21             MR. JONES: And, again,               21             The company you work for is
    22        you're talking about those                22   one of the largest suppliers of medical
    23        customers with whom Henry Schein,         23   devices, pharmaceuticals and controlled
    24        Inc. does business?                       24   substances to the dental and orthodontic
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     1   physicians in the United States, aren't         1       as you're trying to tie together
     2   they?                                           2       4,100 field sales consultants and
     3             MR. JONES: Objection.                 3       controlled substances. I mean,
     4        Form. Goes outside the scope.              4       Henry Schein is a big company that
     5   BY MR. MIGLIORI:                                5       sells lots of products that are
     6        Q. Is that true?                           6       not controlled substances. So I
     7             MR. JONES: You can answer             7       object to you misleading what this
     8        if you know.                               8       document says with respect to the
     9             THE WITNESS: I'm not sure.            9       topics in this deposition.
    10   BY MR. MIGLIORI:                               10            MR. MIGLIORI: I'm sure when
    11        Q. Okay. Are you familiar with            11       you go back and read this, you'll
    12   the volume of shipments within your            12       see that three questions ago I
    13   company that you are required to manage        13       mentioned devices, drugs and
    14   and monitor for suspicious orders?             14       controlled substances.
    15        A. Yes.                                   15            MR. JONES: You moved away
    16        Q. On Page 2 of this document,            16       from that, Don.
    17   it refers to serving more than 1 million       17            MR. MIGLIORI: I can't say
    18   customers.                                     18       it in every question. But I'll
    19             And just so you know, this           19       accept your running objection to
    20   was, I think, a 1917 -- I think this has       20       that clarification.
    21   been on the website since 1917, or             21            MR. JONES: Thank you.
    22   1917 -- I mean 2017.                           22            MR. MIGLIORI: But I'll have
    23             Eighty-six years in                  23       to swear you in next time you do
    24   business. You have more than 22,000            24       that, okay.
                                             Page 159                                            Page 161
     1   Schein employees.                               1   BY MR. MIGLIORI:
     2            Does that sound right?                 2        Q. It says here that you have
     3        A. Yes.                                    3   63 distribution centers.
     4        Q. 4,100 field sales                       4            Are those -- are all the
     5   consultants.                                    5   distribution centers within Henry Schein
     6            Do you interact with the               6   centers that distribute controlled
     7   sales force at all for any of the               7   substances?
     8   suspicious order monitoring processes?          8        A. I'm not sure.
     9        A. Yes.                                    9        Q. Do you know -- but the
    10        Q. How?                                   10   suspicious order monitoring programs that
    11        A. Just through collaboration             11   we're talking about relate to all the
    12   with the customer.                             12   distribution centers that maintain and
    13        Q. Are they part of the due               13   supply controlled substances, correct,
    14   diligence process?                             14   nationwide?
    15        A. No.                                    15        A. Nationwide, yes.
    16        Q. Have they ever been part of            16        Q. All right. You talked a
    17   the due diligence process?                     17   couple of times about your team. I just
    18        A. No.                                    18   want to make sure I understand who your
    19            MR. JONES: Let me just be             19   team is.
    20        clear. I mean, you're asking him          20            This is a PowerPoint that I
    21        questions about a document that           21   think you helped to prepare with BriAnne
    22        you haven't established a                 22   Elia. Is that right?
    23        foundation for.                           23        A. Yeah. Elia.
    24            But it's misleading, insofar          24              - - -
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     1            (Whereupon, Exhibit                     1        Q. Do you understand, as you
     2        Schein-Abreu-6, Verification Team           2   sit here today, that you have additional
     3        Overview; July 2015, was marked             3   reporting requirements to Ohio?
     4        for identification.)                        4        A. For?
     5               - - -                                5        Q. For controlled substances,
     6   BY MR. MIGLIORI:                                 6   for the sale.
     7        Q. Elia.                                    7        A. To report transactions?
     8            Who is she?                             8        Q. Yes.
     9        A. She works on my team.                    9        A. Yes.
    10        Q. Do you recall -- it's a                 10        Q. Do you know how long that's
    11   July -- it's Exhibit Number 6. It's a           11   been in existence in Ohio?
    12   July 2015 PowerPoint, verifications team        12        A. No, I'm not sure.
    13   overview.                                       13        Q. And, to your knowledge, has
    14            Do you remember preparing              14   Schein complied with that requirement?
    15   this?                                           15        A. Yes.
    16        A. 2015? I'm sure I did. I                 16        Q. Does Ohio have a suspicious
    17   don't recall specifically.                      17   order monitoring -- a suspicious order
    18        Q. That's you on the front                 18   reporting requirement?
    19   cover, anyway?                                  19        A. I believe so.
    20        A. Yes.                                    20        Q. And for all times that
    21        Q. And it really goes into the             21   you've -- that you -- going back to 1996,
    22   verification component of suspicious            22   or whenever the requirements started, has
    23   orders, right? The second page is the           23   Schein complied with the Ohio suspicious
    24   licensing requirements?                         24   order requirements?
                                              Page 163                                             Page 165
     1        A. Yes.                                     1            MR. JONES: Object to the
     2        Q. And so part of verification              2        form. Scope. Calls for a legal
     3   is that you have to make sure that your          3        conclusion.
     4   doctors and customers, where applicable,         4            THE WITNESS: Yeah, I'm not
     5   maintain state licensure, correct?               5        sure, going back.
     6        A. Correct.                                 6   BY MR. MIGLIORI:
     7        Q. Do you know if Ohio -- it                7        Q. Have you looked for those
     8   says here, Example, Ohio.                        8   reporting -- that reporting data in Ohio?
     9            Are you familiar with the               9        A. No.
    10   additional state requirements of state          10        Q. All right. There's a
    11   licensure in Ohio?                              11   controlled substance state licensure and
    12        A. Yes.                                    12   then a federal DEA licensure.
    13        Q. What are they?                          13            So that's part of your
    14        A. That a customer maintain a              14   verification team?
    15   terminal distributor of dangerous drugs         15        A. Correct.
    16   license, Category III, for controlled           16        Q. You also state here that, on
    17   substances.                                     17   the next page, in your suspicious order
    18        Q. And does that change -- is              18   monitoring due diligence process, Henry
    19   that any -- strike that.                        19   Schein has a Know Your Customer DEA
    20            Are your reporting                     20   overview.
    21   requirements different in Ohio because of       21            What is that?
    22   that requirement?                               22        A. It's just something that we
    23        A. Sorry, I'm not sure I                   23   provide to customers to explain our
    24   understand the question.                        24   process.
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     1        Q. And is it a document?                    1   the due diligence for each and every
     2        A. Yes.                                     2   customer, correct?
     3        Q. Is it, like, a pamphlet? Is              3        A. Could be a paper version as
     4   it a booklet? What does it look like?            4   well.
     5        A. It's just a two-page, or a               5        Q. Okay. It wasn't always the
     6   one-page, front-and-back, document.              6   case that every customer had a due
     7        Q. Did you look at that in                  7   diligence file, correct?
     8   preparation for today?                           8        A. That's correct.
     9        A. No.                                      9        Q. We'll get into that.
    10        Q. But it exists? If I were to             10            And then onboarding is
    11   say, can you send me over the Henry             11   bringing on a new client, right?
    12   Schein Know Your Customer DEA overview as       12        A. Right.
    13   of 2015, that exists in your files,             13        Q. On Page 4 of Exhibit-6,
    14   right?                                          14   there are some additional due diligence
    15        A. Yes.                                    15   requirements for bringing on a new client
    16        Q. Okay. The suspicious order,             16   as of 2015.
    17   due diligence suspicious order                  17            It says, Speaking with the
    18   monitoring, these are different things          18   sales team and attending onboarding
    19   that you look for, for verification,            19   conference calls.
    20   correct?                                        20            So the sales team is part of
    21        A. Yes.                                    21   the onboarding process, right? They
    22        Q. One of them says, License               22   bring in the new client?
    23   background review, disciplinary actions.        23        A. Yes.
    24            You do, at least as of 2015,           24        Q. And then you interact with
                                              Page 167                                              Page 169
     1   look back to see whether or not there            1   the sales team in whether or not that
     2   have been any disciplinary, whether it be        2   client, in fact, can be onboarded after
     3   licensure or, I assume, criminal                 3   some due diligence, correct?
     4   disciplinary actions for your customers,         4        A. Correct.
     5   correct?                                         5        Q. In 2015, the elements of
     6        A. Correct.                                 6   that due diligence for onboarding
     7        Q. And that information would               7   included the questionnaire, correct?
     8   be in the due diligence file that we've          8        A. And licensing.
     9   already talked about, right?                     9        Q. And licensing.
    10        A. Right.                                  10             So they would have to fill
    11        Q. You have an online                      11   out a one-page questionnaire?
    12   controlled substances form.                     12        A. It became two pages.
    13            So you create an                       13        Q. And then that questionnaire
    14   Internet-based interface with the               14   goes in the due diligence file
    15   clients, correct?                               15   immediately?
    16        A. Correct.                                16        A. Yes.
    17        Q. And there's a requirement               17        Q. And then you would have to
    18   that the customer, at least as of 2015,         18   go through a verification of the various
    19   have a complete form, all fields are            19   licenses for that state and federally,
    20   filled in and an E-signature, right?            20   correct?
    21        A. Right.                                  21        A. Correct.
    22        Q. And so for every customer,              22        Q. And then, finally, on this,
    23   in some accounting, for example, today,         23   this is a list, at least in 2015, of the
    24   there would be an online file relative to       24   people within verification. It lists you
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     1   operating procedures of Schein relative
     2   to suspicious order monitoring is
     3   reflected somehow -- to the extent that
     4   it's a change that goes into the books,
     5   is reflected in one of these forms,
     6   correct?
     7         A. Correct.
     8         Q. We'll get into different
     9   things here, but this is an SOM from this
    10   year. It talks about some of the things
    11   that we've already talked about today.
    12             But for this purpose right
    13   now, I just want to bring you to the page
    14   that ends in 98. There's a list of
    15   states that have reporting requirements.
    16   And it appears that this has been added
    17   to the SOP for Henry Schein for Ohio.
    18             Have you reviewed this in
    19   preparation for today?
    20         A. Yes.
    21         Q. So you'll see that the Ohio
    22   requirements are separate and apart from
    23   the DEA requirements.
    24             You agree with that, right?
                                               Page 175                                               Page 177
     1        A. Yes.                                     1            So if the board asks for
     2        Q. And here is the citation,                2   something, you have to respond.
     3   and it's a requirement for wholesalers.          3            Do you recall ever having to
     4            You understand that Schein              4   do that at Schein, that is, provide a
     5   is considered a wholesaler in this               5   report to the board specifically upon
     6   context, correct?                                6   their request?
     7        A. Correct.                                 7        A. Not to my recollection, no.
     8        Q. And that the reporting
     9   requirement is to the Ohio Board of
    10   Pharmacy in Columbus, Ohio.
    11            Do you see that?
    12        A. Yes.




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                                                          1   operating procedures of your company as
                                                          2   being an unauthorized purchase.
                                                          3        A. We have --
                                                          4            MR. JONES: Same objections.
                                                          5            THE WITNESS: We have
                                                          6        restrictions in place.
                                                          7   BY MR. MIGLIORI:
                                                          8        Q. Yes.
                                                          9            And one of the restrictions
                                                         10   is, dentists don't normally prescribe
                                                         11   anti-anxiety medications, correct?
                                                         12            MR. JONES: Objection to
                                                         13        form.
                                                         14            THE WITNESS: Specifically
                                                         15        to that example?
                                                         16   BY MR. MIGLIORI:
                                                         17        Q. Yes.
                                                         18        A. Potentially.
                                                         19        Q. In fact, there is a standard
    20          MR. JONES: Object to the                 20   operating procedure that says that if a
    21       form. Misstates the document.               21   dentist is ordering anti-anxiety and
    22          THE WITNESS: Are we talking              22   controlled substances, like a morphine
    23       with respect to Summit County or            23   equivalence, that that is a red flag,
    24       Ohio as a whole?                            24   correct?
                                              Page 179                                            Page 181
     1   BY MR. MIGLIORI:                                 1       A.    I'm not sure about that.
     2        Q. I'm asking for Ohio.                     2           MR. JONES: Objection.
     3            But if you only did it for              3   BY MR. MIGLIORI:
     4   Summit, you can tell me that.                    4        Q. One of the practices, or one
     5        A. Yes, I did, I searched for               5   of the policies and procedures that
     6   Summit County.                                   6   Schein adopted more recently is that
     7        Q. And did you find any in                  7   doctors can't self-medicate or order
     8   Summit County?                                   8   controlled substances for their own
     9        A. No.                                      9   personal use. Isn't that one of the
    10        Q. And folks that would fall               10   Schein policies?
    11   into the category of not being authorized       11        A. That's one of our policies.
    12   to use drugs would include, for example,        12        Q. Did you look, within the
    13   an orthodontist should not be ordering          13   Ohio reporting databases, for any reports
    14   things like anti-anxiety medication,            14   of doctors that you found, upon due
    15   correct? Is that within the system?             15   diligence, were using opiates or morphine
    16            MR. JONES: Objection to                16   equivalents for self-medicating purposes?
    17        form. Lack of foundation. Calls            17        A. With respect to Summit
    18        for a legal conclusion.                    18   County?
    19            THE WITNESS: Arbitrarily or            19        Q. I'm asking for Ohio, but you
    20        regarding that specific example            20   can limit it to what you looked for.
    21        you gave?                                  21        A. With respect to Summit
    22   BY MR. MIGLIORI:                                22   County, no.
    23        Q. Isn't that -- I'm giving you            23        Q. So with respect to Summit
    24   an example as something in the standard         24   County, you did look for it and you did
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     1   not find any?                                 1   on the bottom? That means we received it
     2        A. Correct.                              2   from your company.
     3        Q. If, in fact, though, you had          3             So you'll agree with me that
     4   a doctor in Summit County that was            4   Henry Schein, Inc., in fact, received and
     5   self-medicating and you became aware of       5   maintained in its files a copy of the
     6   that, that fact would be, first, in the       6   September 27, 2006 letter -- I'll show
     7   due diligence file, correct?                  7   the name -- from Joseph Rannazzisi,
     8        A. Yes.                                  8   deputy assistant administrator, Office of
     9        Q. And by operation of law, you          9   Diversion Control?
    10   would have reported that to Ohio and to      10        A. Yes.
    11   the DEA?                                     11        Q. As the letter states, it's
    12        A. Yes.                                 12   being sent to every commercial entity
    13        Q. And that would have been             13   registered with the Drug Enforcement
    14   reported as a suspicious order, correct?     14   Agency to distribute controlled
    15        A. Correct.                             15   substances.
    16        Q. And you've looked for both           16             That would have included
    17   the DEA and Ohio, and you found none for     17   Schein in 2006, correct?
    18   Summit County?                               18        A. Yes.
    19        A. That's correct.                      19        Q. The purpose of this letter
    20        Q. From 2009 to present?                20   is to reiterate the responsibilities of
    21            MR. JONES: Objection.               21   controlled substance distributors in view
    22            VIDEO TECHNICIAN: The time          22   of the prescription drug abuse problem
    23        is now 11:49 a.m. And we are            23   our nation currently faces.
    24        going off the record.                   24             You will agree with me that,
                                           Page 183                                            Page 185
     1                 - - -                           1   as of 2006, it was understood within the
     2             (Whereupon, a brief recess          2   industry that the country was in a
     3         was taken.)                             3   drug -- a prescription drug abuse
     4                - - -                            4   national crisis --
     5             VIDEO TECHNICIAN: The time          5            MR. JONES: Object to the
     6         is now 11:51 a.m. We are back on        6        form.
     7         the record.                             7   BY MR. MIGLIORI:
     8                 - - -                           8        Q. -- wouldn't you?
     9             (Whereupon, Exhibit                 9        A. Yes.
    10         Schein-Abreu-8,                        10        Q. And that this letter was
    11         HSI-MDL-00231455-458, was marked       11   not, on its face, designed to give new
    12         for identification.)                   12   guidance, but it was to, as he puts it,
    13                - - -                           13   reiterate the responsibilities of
    14   BY MR. MIGLIORI:                             14   controlled substance distributors in view
    15         Q. Let me show you -- we talked        15   of that crisis.
    16   a little bit about the Rannazzisi            16            Do you see that?
    17   letters. Let me show you Exhibit Number      17        A. Yes.
    18   8.                                           18        Q. All right. Rannazzisi says,
    19             This is the Dear Registrant        19   As each of you undoubtedly -- is
    20   letter of September 27th, 2006.              20   undoubtedly aware, the abuse of
    21             Have you reviewed this?            21   controlled prescription drugs is a
    22         A. Yes.                                22   serious and growing health problem in the
    23         Q. And you see that this               23   country. DEA has an obligation to combat
    24   document has actually got an HSI number      24   this problem, as one of the agency's core
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     1   functions is to prevent the diversion of         1        Master Cohen's ruling in
     2   controlled substances into illicit               2        September.
     3   channels. And Congress assigned DEA to           3            MR. MIGLIORI: What part of
     4   carry out this function through the              4        the ruling? Because if I can
     5   enforcement of the Controlled Substances         5        avoid it, I will.
     6   Act and the DEA regulations to implement         6            MR. JONES: Asking him about
     7   that.                                            7        his -- about past, present
     8            So on its face, Schein, you             8        interpretation, agreement or
     9   would agree, was aware that in 2006, at          9        disagreement with statements made
    10   least, the purpose of the Controlled            10        in the Rannazzisi letters.
    11   Substances Act was to prevent diversion         11            I mean, we'll stipulate that
    12   of prescription drugs for illicit use and       12        that's what the letter says. But
    13   abuse, correct?                                 13        as far as you're going to ask him
    14        A. Correct.                                14        questions about what Henry Schein
    15        Q. And, in fact, that                      15        thinks or believes or disagrees
    16   relationship between the Controlled             16        with, then we're going to object
    17   Substances Act and the abuse of                 17        to the scope.
    18   prescription medications actually went          18   BY MR. MIGLIORI:
    19   back to 1971, as we saw, correct?               19        Q. Well, I'm only going to ask
    20         A. When it was initially                  20   you questions to the extent that this
    21   written?                                        21   informs what the purpose of your
    22        Q. Correct.                                22   suspicious order monitoring program is,
    23        A. Yes.                                    23   okay? I'm not asking you to confirm that
    24        Q. It says, in the middle of               24   that's what Rannazzisi thought or what
                                              Page 187                                            Page 189
     1   the next paragraph, Distributors are, of         1   the company thought back in 2006 or
     2   course, one of the key components of the         2   before, okay?
     3   distribution chain. If the closed system         3            It says that, The Controlled
     4   is to function properly, as Congress             4   Substances Act uses a concept of
     5   envisioned, distributors must be vigilant        5   registration as a primary means by which
     6   in deciding whether a prospective                6   manufacturers, distributors, and
     7   customer can be trusted to deliver               7   practitioners are given legal authority
     8   controlled substances only for lawful            8   to handle controlled substances.
     9   purposes.                                        9            So you understand that the
    10            You'll agree with me that              10   registration of all of those entities is
    11   Henry Schein understood that the                11   what allows the DEA to require reporting
    12   distributors play an important role in          12   and detection of suspicious orders,
    13   the prevention of diversion?                    13   right?
    14            MR. JONES: Object to the               14            MR. JONES: Object to the
    15        form. It goes outside the scope.           15        form. Outside the scope.
    16            MR. MIGLIORI: Well, that's             16   BY MR. MIGLIORI:
    17        directly referencing a Rannazzisi          17        Q. Do you understand that? If
    18        letter that's specifically                 18   you're a registrant, that you have to
    19        referenced in the notice. So if            19   comply with the Controlled Substances
    20        you don't -- if you don't have an          20   Act?
    21        opinion on that, you can tell me           21        A. Yes.
    22        that.                                      22            MR. JONES: Same objection.
    23            MR. JONES: It's also                   23   BY MR. MIGLIORI:
    24        outside the scope, per Special             24        Q. All right. In the middle of
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     1   the second page, it says, The DEA                 1            Now, do you understand that
     2   regulations require all distributors to           2   to mean that a suspicious order requires
     3   report suspicious orders of controlled            3   due diligence in order for it to be
     4   substances. Specifically, the                     4   determined to be suspicious?
     5   regulations state the registrant shall            5            MR. JONES: Object to the
     6   design and operate a system to disclose           6        form. Object. Goes specifically
     7   to the registrant suspicious orders of            7        and expressly outside the scope
     8   controlled substances. The registrant             8        that is allowed by the special
     9   shall inform the field division of the            9        master's order.
    10   Office of the Administration in this area        10            You can ask him in his
    11   of suspicious orders when discovered by          11        individual capacity. But this is
    12   the registrant. Suspicious orders                12        going outside the scope for which
    13   include orders of unusual size, orders           13        this witness is here and outside
    14   deviating substantially from normal              14        what the court has allowed.
    15   pattern, and orders of unusual frequency.        15            MR. MIGLIORI: That's fine.
    16            So we read this earlier.                16        I've got your objection.
    17   But you'll agree with me that Henry              17            And if that's what's ruled,
    18   Schein was in receipt of this specific           18        that this is his individual
    19   provision and requirement of the CSA of          19        capacity, I'm okay with that.
    20   Henry Schein relative to controlled              20   BY MR. MIGLIORI:
    21   substances and its customers, correct?           21        Q. But I'm asking you, as your
    22            MR. JONES: We'll stipulate              22   capacity here, in regards to the stated
    23        that Henry Schein received this             23   area of inquiry about the Rannazzisi
    24        Rannazzisi letter on or about when          24   letter, would you agree with me that, at
                                               Page 191                                             Page 193
     1        it was dated.                                1   least as of 2006, Henry Schein was put on
     2             Otherwise, I object --                  2   notice that the reporting requirement of
     3             MR. MIGLIORI: You can                   3   a suspicious order was separate and
     4        answer.                                      4   distinct from the obligation to perform
     5             MR. JONES: Otherwise, I                 5   due diligence?
     6        object to the question as outside            6             MR. JONES: Objection.
     7        the scope. The document speaks               7        Form. Calls for legal conclusion.
     8        for itself.                                  8        Outside the scope. Runs afoul of
     9             MR. MIGLIORI: Okay. And                 9        the court's order.
    10        I'll note that.                             10   BY MR. MIGLIORI:
    11   BY MR. MIGLIORI:                                 11        Q. Sir, you can answer. And
    12        Q. You see that, in fact,                   12   the court will determine whether you
    13   Schein received this excerpt in 2016 in          13   answer it just for you or for the
    14   this Rannazzisi letter, correct?                 14   company.
    15        A. Correct.                                 15        A. Yes.
    16        Q. You'll also see it says, in              16        Q. Okay. So at least according
    17   the next -- two following paragraphs, it         17   to this letter that Schein received in
    18   says, Thus, in addition to reporting all         18   2006, once something deviated from an
    19   suspicious orders, a distributor has a           19   unusual size, pattern or frequency, that
    20   statutory responsibility to exercise due         20   was, by the DEA's perspective, a
    21   diligence to avoid filling suspicious            21   suspicious order that needed to be
    22   orders that might be diverted into               22   reported, and that was separate and
    23   other-than-legitimate medical, scientific        23   distinct from the obligation to then do
    24   and industrial channels.                         24   due diligence to see whether or not that
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     1   order could be shipped?                           1         form. Lack of foundation. Vague.
     2             Would you agree with me that            2         Outside the scope. Calls for a
     3   that's at least what Schein has been put          3         legal conclusion.
     4   on notice of in 2006?                             4   BY MR. MIGLIORI:
     5             MR. JONES: Object to the                5         Q. Go ahead.
     6        form. Object. Compound. Calls                6         A. We reported orders that were
     7        for a legal conclusion. Outside              7   deemed suspicious.
     8        the scope. Calls for speculation.            8         Q. Right. I understand that.
     9        The document speaks for itself.              9   I'm trying to figure out by which
    10   BY MR. MIGLIORI:                                 10   definition.
    11        Q. Go ahead.                                11              The definition in this
    12        A. I'm sorry, can you restate               12   Exhibit-7 that I'm reading from right
    13   the question?                                    13   now, where -- I'm sorry, Exhibit-8, where
    14        Q. Sure.                                    14   a suspicious order needs to be reported
    15             MR. MIGLIORI: And I'll                 15   if it's in deviation of size, pattern or
    16        accept the objection that comes             16   frequency at the time that that deviation
    17        back as well.                               17   is discovered, that's what's said here in
    18   BY MR. MIGLIORI:                                 18   this letter, correct?
    19        Q. You'll agree with me that at             19              MR. JONES: Objection.
    20   least with respect to this letter that           20         Form. Document speaks for itself.
    21   Schein received in 2006, it made it clear        21   BY MR. MIGLIORI:
    22   that a suspicious order was a deviation          22         Q. Go ahead.
    23   of size, frequency and pattern, and that         23         A. Correct.
    24   alone had to be reported; separate and           24         Q. Schein reported it as a
                                               Page 195                                             Page 197
     1   distinct from that, there was an                  1   suspicious order to DEA only after it did
     2   obligation to then do due diligence?              2   due diligence and determined that it was
     3             That's at least what the DEA            3   suspicious, until the Masters decision in
     4   is telling Schein here in 2006, correct?          4   2017, correct?
     5             MR. JONES: Same objections.             5        A. Correct.
     6             THE WITNESS: Yes.                       6            MR. JONES: Asked and
     7   BY MR. MIGLIORI:                                  7        answered. Objection. Asked and
     8        Q. That system, though, was not              8        answered.
     9   put in place at Schein where the                  9   BY MR. MIGLIORI:
    10   reporting occurred before due diligence          10        Q. Only after Masters did
    11   until, I think you said, after the               11   Schein begin to report suspicious orders
    12   Masters decision, correct?                       12   when they deviated from size, pattern and
    13             MR. JONES: Objection.                  13   frequency and then performed due
    14        Vague. Objection as to time.                14   diligence to determine whether or not to
    15             THE WITNESS: So what time              15   ship the order, correct?
    16        periods are you referring to?               16        A. Correct.
    17   BY MR. MIGLIORI:                                 17        Q. The letter goes on to say,
    18        Q. The Schein system didn't                 18   In a similar vein, given the requirement
    19   report that way, that is, suspicious             19   under Section 823(e) that a distributor
    20   orders the way it's described here in the        20   maintain effective controls against
    21   Rannazzisi letter, didn't report that way        21   diversion, a distributor may not simply
    22   to DEA until after the Masters decision          22   rely on the fact that the person placing
    23   in 2017, correct?                                23   the suspicious order is a DEA registrant
    24             MR. JONES: Object to the               24   and turn a blind eye to the suspicious
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     1   circumstances.                                   1        Form. Vague. Overly broad.
     2             So verification in and of              2        Compound.
     3   itself is not due diligence; is that a           3   BY MR. MIGLIORI:
     4   fair statement?                                  4        Q. Is that correct?
     5             MR. JONES: Objection.                  5        A. Correct.
     6        Form. Vague. Overly broad.                  6        Q. All right. And then this
     7        Misstates the document.                     7   same letter in 2006 lists certain
     8   BY MR. MIGLIORI:                                 8   activities that should raise suspicions
     9        Q. Will you agree with that?                9   of a concern, at least, for diversion of
    10        A. License verification?                   10   controlled substances.
    11        Q. Yes.                                    11            Do you see that?
    12        A. Yes.                                    12        A. Yes.
    13        Q. So the fact, merely, that               13        Q. And if you go through some
    14   somebody has a DEA registration, one of         14   of these, ordering excessive quantities
    15   the customers of Schein, or is registered       15   of a limited variety of controlled
    16   with the Ohio Board of Pharmacy, that           16   substances while ordering few, if any,
    17   process, while it's part of your due            17   other drugs; that will be a red flag,
    18   diligence to make sure they, in fact, are       18   correct?
    19   licensed, that is not a sufficient amount       19        A. A potential red flag, yes.
    20   of due diligence at any time from 1996 to       20        Q. And in terms of putting that
    21   present, that's not enough due diligence        21   into the Henry Schein due diligence
    22   at any level, correct?                          22   program, that really started some time in
    23             MR. JONES: Object as to               23   2011 and '12, correct?
    24        form. Overly broad. Vague.                 24            MR. JONES: Objection.
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     1            THE WITNESS: Correct.                   1         Form.
     2   BY MR. MIGLIORI:                                 2             THE WITNESS: So when you
     3        Q. Do you want me to restate                3         say "in part of that program"?
     4   it?                                              4   BY MR. MIGLIORI:
     5        A. No.                                      5         Q. So the initial due diligence
     6            Yes.                                    6   program that we talked about was really
     7        Q. So if we were to start in                7   if an order triggered and became pended
     8   1996, due diligence has always been more         8   in the Henry Schein system, a form -- a
     9   than just verification, according to the         9   one-page form would be mailed out to the
    10   Controlled Substances Act, correct?             10   doctor -- let's start in 2006 -- a
    11        A. Which time are you talking              11   one-page form would be sent out to the
    12   about? The time period from --                  12   doctor, the doctor would send it back
    13        Q. From 1996 on.                           13   filling in the different information
    14        A. Yes.                                    14   requested.
    15        Q. That is, because you had a              15             And that would be a basis
    16   license, you were required to design a          16   for a determination about whether an
    17   system and monitor a system, but the mere       17   order was suspicious; is that true?
    18   fact of a physician or a healthcare             18         A. True.
    19   provider having a license, that wasn't,         19         Q. That system evolved, as you
    20   by itself, sufficient due diligence with        20   said, over time.
    21   respect to investigating what could             21             And the on-site visits and
    22   potentially be a suspicious order,              22   the phone calls and the Internet
    23   correct?                                        23   searches, that really began around 2012,
    24            MR. JONES: Objection.                  24   correct?
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     1        A. That's right.                           1            MR. MIGLIORI: How about,
     2        Q. And in 2012, you would look             2       let me -- just give me one second,
     3   at factors like the -- let's see,               3       because it might cause me to cut
     4   ordering excessive quantities of a              4       out some of these documents.
     5   limited variety of controlled substance         5            Can you give me ten minutes,
     6   in combination with excessive quantity of       6       does that work?
     7   lifestyle drugs.                                7            MR. JONES: Ten minutes
     8            Sort of the analysis of                8       to --
     9   dispensing history and on-site visits,          9            MR. MIGLIORI: Before we
    10   that really was an evolution of the Know       10       break.
    11   Your Customer policies that began in           11            MR. JONES: Yes.
    12   2012, ramping up to 2015, right?               12            MR. MIGLIORI: Thanks.
    13            MR. JONES: Objection.                 13            This is Exhibit Number 9.
    14        Form. Overly broad. Vague.                14              - - -
    15   BY MR. MIGLIORI:                               15            (Whereupon, Exhibit
    16        Q. Is that right?                         16       Schein-Abreu-9,
    17        A. It may have been prior to              17       HSI-MDL-000993112-115, was marked
    18   that. I don't remember the exact year.         18       for identification.)
    19        Q. Well, you know that the                19             - - -
    20   suspicious order monitoring program            20   BY MR. MIGLIORI:
    21   revision that started to look at the due       21       Q. This is the February 7, 2007
    22   diligence component began in 2009.             22   Rannazzisi letter.
    23            Have you heard of the                 23            Again, this was -- if you
    24   company Buzzeo?                                24   look at the bottom of this document, it's
                                             Page 203                                              Page 205
     1        A. Yes.                                    1   got the HSI number on it. So that's
     2        Q. Did you ever work with                  2   produced to us by Henry Schein.
     3   Buzzeo?                                         3            Do you see that?
     4        A. Yes.                                    4        A. Yes.
     5        Q. And Buzzeo was brought in to            5        Q. I will simplify this by just
     6   help redesign the suspicious order              6   simply saying, you'll agree with me that
     7   monitoring program and develop the Know         7   Henry Schein was, in fact, in receipt of
     8   Your Customer component as part of its          8   this particular Rannazzisi letter,
     9   charge, correct?                                9   correct?
    10        A. Yes.                                   10        A. Right.
    11        Q. And that charge, really, was           11        Q. And I'll accept that this
    12   investigated and analyzed over time; but       12   letter speaks for itself in its contents.
    13   it really wasn't until 2010, '11, '12,         13            It does talk about the
    14   that those aspects of Know Your Customer       14   obligations, though, of the distributor
    15   were codified in changes to the standard       15   of controlled substances, correct?
    16   operating procedures, correct?                 16        A. Yes.
    17             MR. JONES: Object to form.           17        Q. It uses the same term here
    18        Overly broad. Object as to time.          18   that the letter is to reiterate the
    19   BY MR. MIGLIORI:                               19   responsibilities, correct?
    20        Q. Is that correct?                       20        A. Yes.
    21        A. Sounds right, yes.                     21        Q. Meaning it's to remind the
    22             MR. JONES: Don, lunch is             22   company of the responsibilities, not to
    23        here, if you're at a transition           23   state new responsibilities.
    24        point.                                    24            Do you understand that?
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     1            MR. JONES: Objection to                 1   respect to distributing controlled
     2       form. The document speaks for                2   substances and reiterating the
     3       itself. Goes outside the scope.              3   responsibility of the distributor,
     4   BY MR. MIGLIORI:                                 4   manufacturer for controlled substances,
     5       Q. You'll agree with me the                  5   correct?
     6   word "reiterate" has that meaning, right?        6        A. Correct.
     7       A. Yes.                                      7        Q. And it talks about the
     8       Q. All right.                                8   obligation to design and operate a
     9            And then your company also              9   suspicious order monitoring program.
    10   produced to us and showed that it was in        10            It says here, though, in the
    11   receipt of the December 27th, 2007 Dear         11   middle of the second paragraph, The
    12   Registrant letter.                              12   regulation clearly indicates that it is
    13               - - -                               13   the sole responsibility of the
    14            (Whereupon, Exhibit                    14   registrant -- you'll agree with me that
    15       Schein-Abreu-10,                            15   in this context that's Henry Schein,
    16       HSI-MDL-00404079-080, was marked            16   Inc., correct?
    17       for identification.)                        17        A. Yes.
    18              - - -                                18        Q. It's the sole responsibility
    19            MR. WICKS: Is that a                   19   of the registrant to design and operate
    20       separate exhibit?                           20   such a system. Accordingly, DEA does not
    21            MR. MIGLIORI: Yes. This is             21   approve or otherwise endorse any specific
    22       Number 10. This one, actually,              22   system for reporting suspicious orders.
    23       not only was produced by Henry              23   Past communications with DEA, whether
    24       Schein by Bates number, but                 24   implicit or explicit, that can be
                                              Page 207                                           Page 209
     1        actually has -- addressed to Henry          1   construed as an approval of a particular
     2        Schein in Jacksonville, Florida.            2   system for reporting suspicious orders
     3   BY MR. MIGLIORI:                                 3   should no longer be taken to mean that
     4        Q. Is this address in                       4   DEA approves a specific system.
     5   Jacksonville, is that a distribution             5           Did you, at Henry Schein,
     6   center?                                          6   appreciate that conversations with DEA
     7        A. Yes.                                     7   were not to be deemed or viewed as
     8            MR. JONES: Just so we're                8   approval of any particular suspicious
     9        clear, I mean, I've got a copy,             9   order monitoring program at Henry Schein?
    10        and it looks like you're working           10           MR. JONES: Objection.
    11        from one, too, that's got some             11       Form. You mean as of the time of
    12        edits and marks on it.                     12       the receipt of this letter?
    13            MR. MIGLIORI: That's how it            13           MR. MIGLIORI: He can
    14        was produced. I did not -- this            14       clarify.
    15        is not a copy that we copied of            15   BY MR. MIGLIORI:
    16        ours.                                      16       Q. I mean period.
    17            MR. JONES: Okay.                       17           But if you have a
    18   BY MR. MIGLIORI:                                18   qualification in terms of when it may or
    19        Q. And if that proves not to be            19   when it may not, you can tell me that.
    20   true, I'm happy to substitute. But              20           MR. JONES: Object to the
    21   that's how I received it, so I assume           21       form. Overly broad. Object as to
    22   that's how we produced it.                      22       time.
    23            And in this letter it,                 23           THE WITNESS: We did have
    24   again, talks about the obligations with         24       several conversations with DEA
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     1        regarding our reporting.                   1   to the local DEA division when
     2   BY MR. MIGLIORI:                                2   discovered -- again, I didn't do that
     3        Q. And did you understand in               3   writing, but you see that here in the
     4   those conversations, at least to the            4   document, correct?
     5   extent that they occurred after 2007,           5         A. Correct.
     6   that those weren't to be construed as           6         Q. -- by the registrant,
     7   approvals of your program?                      7   filling a monthly report of completed
     8             MR. JONES: Objection.                 8   transactions, for example, excessive
     9        Form. Objection as to the                  9   purchase report or high unit purchases,
    10        mischaracterization of Exhibit-10.        10   does not meet the regulatory requirement
    11             THE WITNESS: I understood            11   to report suspicious orders.
    12        it's not approval, per se, but,           12             Were you aware of that
    13        you know, if we were doing                13   guidance from the DEA in 2006?
    14        something that we shouldn't have          14             MR. JONES: Objection. I
    15        been doing, or should be doing            15         think you mean 2007.
    16        something different, we also would        16             MR. MIGLIORI: 2007, I'm
    17        have expected that they informed          17         sorry.
    18        us.                                       18             THE WITNESS: Based on this
    19   BY MR. MIGLIORI:                               19         letter.
    20        Q. But to represent to any                20   BY MR. MIGLIORI:
    21   other entity that your suspicious order        21         Q. And registrants are reminded
    22   monitoring program was approved by the         22   that their responsibility does not end
    23   DEA, you understood that that was not          23   merely with the filing of a suspicious
    24   something DEA would have agreed to?            24   order report.
                                             Page 211                                            Page 213
     1             MR. JONES: Objection.                 1             That is, the filing of the
     2        Form. Objection insofar as it              2   report does not relieve the distributor,
     3        mischaracterizes the document,             3   does not relieve Henry Schein, of its
     4        Exhibit-10.                                4   obligation to prevent diversion, correct?
     5             THE WITNESS: I understand             5        A. Yes.
     6        it's not an official approval,             6             MR. JONES: Object to the
     7        yes.                                       7        form. Outside the scope.
     8   BY MR. MIGLIORI:                                8   BY MR. MIGLIORI:
     9        Q. Okay. And you understand,               9        Q. Registrants must conduct an
    10   and it was true as of 2006, and still          10   independent analysis of suspicious
    11   true today, that the obligation to design      11   orders, prior to completing a sale, to
    12   and operate a system to prevent diversion      12   determine whether the controlled
    13   is the responsibility of the registrant,       13   substances are likely to be diverted from
    14   not the DEA?                                   14   legitimate channels.
    15             MR. JONES: Objection to              15             So at least according to
    16        form. Goes outside the scope.             16   this letter in 2007, the DEA is telling
    17   BY MR. MIGLIORI:                               17   Henry Schein that after reporting a
    18        Q. You understand that, right?            18   suspicious order, the registrant, Henry
    19             MR. JONES: Same objections.          19   Schein, must conduct independent analysis
    20             THE WITNESS: Yes.                    20   of suspicious orders, must perform due
    21   BY MR. MIGLIORI:                               21   diligence.
    22        Q. So if you go a little                  22             That's what this letter
    23   further down, it continues to talk about       23   says, correct?
    24   how suspicious orders have to be reported      24             MR. JONES: Objection.
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     1        Form. Document speaks for itself.           1   DEA at that time it's discovered as a
     2   BY MR. MIGLIORI:                                 2   suspicious order; that's what this
     3        Q. Correct?                                 3   document says, correct?
     4        A. Correct.                                 4             MR. JONES: Objection.
     5        Q. Reporting an order as                    5        Form. The document speaks for
     6   suspicious will not absolve the                  6        itself. You don't need him to
     7   registrant of responsibility if the              7        tell you that you read it right.
     8   registrant knew or should have known that        8        And insofar as you're asking for
     9   the controlled substances were being             9        him to give you a legal
    10   diverted.                                       10        interpretation or if he agrees
    11            So the mere reporting of the           11        with your construction of it,
    12   suspicious order to DEA does not relieve        12        that's outside the scope.
    13   Schein, or any other registrant, of its         13        Objection.
    14   obligation to know, or learn when it            14   BY MR. MIGLIORI:
    15   should know, that a controlled substance        15        Q. Correct?
    16   was being diverted?                             16        A. Yes.
    17            MR. JONES: Objection.                  17        Q. So if it only triggers one
    18   BY MR. MIGLIORI:                                18   of those things, that is, when it says,
    19        Q. That was expressed to Schein            19   for example, if an order deviates
    20   in 2007, correct?                               20   substantially from a normal pattern, that
    21            MR. JONES: Objection to                21   alone requires a report of that order to
    22        form. The document speaks for              22   the DEA as suspicious, correct?
    23        itself. Goes outside the scope.            23             MR. JONES: Same objections.
    24   BY MR. MIGLIORI:                                24        Outside the scope.
                                              Page 215                                              Page 217
     1        Q. Correct?                                 1   BY MR. MIGLIORI:
     2        A. Yes.                                     2        Q. Correct?
     3        Q. The regulation specifically              3        A. Based on what the document
     4   states that suspicious orders include            4   says --
     5   orders of unusual size, orders deviating         5        Q. Yes.
     6   substantially from a normal pattern and          6        A. -- yes.
     7   orders of an unusual frequency. These            7        Q. So the same would be true
     8   criteria are disjunctive and are not             8   with abnormal size, if an order didn't
     9   all-inclusive. For example, if an order          9   deviate from a pattern but it was a
    10   deviates substantially from a normal            10   deviation in size, that alone, according
    11   pattern, the size of the order does not         11   to this letter in December of 2007, would
    12   matter and the order should not -- should       12   necessitate a reporting of that order as
    13   be reported as suspicious.                      13   suspicious to the local DEA field office,
    14            Do you see that?                       14   correct?
    15        A. Yes.                                    15             MR. JONES: Objection.
    16        Q. I kind of screwed up the                16        Form. Calls for a legal
    17   reading of it, so I want to make sure we        17        conclusion. Outside the scope.
    18   understand it.                                  18             THE WITNESS: Based on the
    19            The three issues, unusual              19        letter, yes.
    20   size, unusual pattern, unusual frequency        20   BY MR. MIGLIORI:
    21   are disjunctive, meaning if any one of          21        Q. All right. It goes on to
    22   those factors shows a deviation in an           22   say, Likewise, a registrant need not wait
    23   order, according to Joe Rannazzisi in           23   for a normal pattern to develop over time
    24   2007, that order must be reported to the        24   before determining whether a particular
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     1   order is suspicious. The size of an              1   author, Joe Rannazzisi.
     2   order alone, whether or not it deviates          2             On the second page of this
     3   from a normal pattern, is enough to              3   exhibit, Number 10, the December 2007
     4   trigger the registrant's responsibility          4   letter to Schein, it says, Registrants --
     5   to report the order as suspicious. The           5   or Schein in this case -- that rely on
     6   determination of whether an order is             6   rigid formulas to define whether an order
     7   suspicious depends not only on the               7   is suspicious may be failing to detect
     8   ordering patterns of the particular              8   suspicious orders. For example, a system
     9   customer, but also on the patterns of the        9   that identifies orders as suspicious only
    10   registrant's customer base and the              10   if the total amount of controlled
    11   patterns throughout the relevant segment        11   substances ordered during one month
    12   of the regulated industry.                      12   exceeds the amount ordered for the
    13            So in Schein's system in               13   previous month by a certain percentage or
    14   2007, the thresholds for looking for            14   more is insufficient.
    15   deviations in size, pattern and frequency       15             Do you understand that the
    16   were not based on the individual                16   mere creation of a formula to pick up a
    17   customer, but they were, in fact, based         17   deviation in size and a deviation in
    18   on a relevant segment of that customer's        18   pattern or frequency, by itself, may not
    19   industry, correct?                              19   be sufficient to comply with the DEA's
    20            MR. JONES: Objection.                  20   suspicious ordering -- suspicious order
    21        Vague.                                     21   reporting requirements?
    22   BY MR. MIGLIORI:                                22             MR. JONES: Objection.
    23        Q. Correct?                                23        Form. Misstates the document.
    24            MR. JONES: Objection to the            24        Calls for a legal conclusion.
                                              Page 219                                             Page 221
     1        sidebar.                                    1        Outside the scope, insofar as it's
     2   BY MR. MIGLIORI:                                 2        referencing the letter.
     3        Q. Correct?                                 3   BY MR. MIGLIORI:
     4        A. Correct.                                 4        Q. Do you agree?
     5        Q. And at least in this letter              5        A. Can you restate that
     6   that Henry Schein received in December of        6   question?
     7   2007, it says that the determination of          7        Q. Sure.
     8   whether an order was suspicious depends          8            Simply stated, it's not
     9   not only on the ordering patterns of the         9   enough to just have a formula to identify
    10   particular customer, but also of the            10   suspicious orders, according to this
    11   relevant segment of the industry.               11   letter that Schein received in 2007, the
    12            That is, if it triggered a             12   formula has to have some sensitivity to
    13   change in size, pattern or frequency for        13   other factors that may prove or show
    14   the industry, not just for the customer,        14   deviation in size, frequency and pattern,
    15   according to this letter, that was              15   correct?
    16   something that needed to be reported as         16            MR. JONES: Objection.
    17   suspicious to the DEA, correct?                 17        Form. The document speaks for
    18            MR. JONES: Objection.                  18        itself. Insofar as you're asking
    19        Form. Calls for a legal                    19        the witness for his interpretation
    20        conclusion. Outside the scope.             20        of the letter, it's outside the
    21   BY MR. MIGLIORI:                                21        scope.
    22        Q. Correct?                                22   BY MR. MIGLIORI:
    23        A. Correct, yes.                           23        Q. Do you agree with that?
    24        Q. Again, this is the same                 24        A. Yes.
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     1        Q. All right. And it's also              1   before shipped, correct?
     2   true that a mere threshold number, a          2        A. Potentially, yes.
     3   threshold system, by itself, is not a         3        Q. So a robust suspicious --
     4   complete suspicious order monitoring          4            MR. JONES: Hang on, I think
     5   program? That is, you can have a              5        you got it -- was your answer
     6   suspicious order that does not trigger a      6        essentially, yes or potentially
     7   deviation in size, frequency and pattern,     7        yes?
     8   correct?                                      8            THE WITNESS: Potentially.
     9            MR. JONES: Objection.                9            MR. MIGLIORI: I'll give you
    10        Form. Compound. Calls for               10        plenty of time to redirect him.
    11        speculation. Vague.                     11        That's a little bit over the
    12   BY MR. MIGLIORI:                             12        border. You seem like a nice guy
    13        Q. Correct?                             13        and that's a little bit on the
    14        A. Yes.                                 14        edge. I'll go at it again.
    15        Q. In fact, that's the whole            15   BY MR. MIGLIORI:
    16   concept behind Know Your Customer and due    16        Q. You have, in fact, been
    17   diligence, that an order on its face that    17   involved in orders at Schein where
    18   does not trigger a threshold may be          18   something was deemed pended and, in fact,
    19   suspicious upon due diligence and            19   ultimately deemed suspicious because you
    20   investigation of other factors besides       20   found out that the orders were going to
    21   the size of the order, correct?              21   the doctor's house, correct?
    22            MR. JONES: Objection.               22        A. Yes.
    23        Form. Vague. Calls for                  23        Q. And so that is not a
    24        speculation. Lack of foundation.        24   suspicious order because of a deviation
                                           Page 223                                           Page 225
     1   BY MR. MIGLIORI:                              1   in size, pattern or frequency, that's a
     2        Q. Correct?                              2   suspicious order because you have an
     3        A. Yes.                                  3   obligation to know the customer, correct?
     4        Q. So any suspicious order               4        A. Correct.
     5   monitoring program that solely relies on      5        Q. And so any system that only
     6   a formula to determine whether the order      6   relies on an algorithm to trip a system
     7   deviates from size, pattern or frequency      7   to find a pended or suspicious order is
     8   is, on its face, insufficient to find         8   not a complete system, correct?
     9   suspicious orders; it requires a              9            MR. JONES: Objection.
    10   component part of Know Your Customer and     10        Form. Vague. Objection as to
    11   due diligence, correct?                      11        time.
    12             MR. JONES: Objection.              12   BY MR. MIGLIORI:
    13        Form. Outside the scope. Vague.         13        Q. Correct?
    14   BY MR. MIGLIORI:                             14        A. Correct.
    15        Q. Correct?                             15        Q. And, in fact, in this letter
    16        A. Due diligence is a                   16   in 2007, that's what Joe Rannazzisi is
    17   component, yes.                              17   referencing when he sends this to Schein,
    18        Q. And it's a separate                  18   Inc., that a rigid formula by itself is
    19   component? That is, if, for example, a       19   not enough; you need to do more, you need
    20   dentist is receiving an order that is not    20   to Know Your Customer to make sure that
    21   a deviation from size, pattern and           21   the controlled substances that you're
    22   frequency but to a home address and not a    22   supplying and selling don't end up in the
    23   business office, that is an order that       23   wrong hands, correct?
    24   needs to have further investigation          24            MR. JONES: Again,
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     1      objection. Form. The document               1        know how else I would have gotten
     2      speaks for itself. Outside the              2        it.
     3      scope.                                      3             MR. JONES: That was going
     4   BY MR. MIGLIORI:                               4        to be my next question.
     5      Q. Correct?                                 5             MR. MIGLIORI: But I do
     6      A. Yes.                                     6        notice some of your documents,
     7          MR. MIGLIORI: All right.                7        just for clarification, only have
     8      Why don't we take a break for               8        one page. So I'm wondering if
     9      lunch?                                      9        there was a blank page that had a
    10          VIDEO TECHNICIAN: The time             10        Bates number on top. Some of them
    11      is now 12:31 p.m. We're going off          11        don't have Bates numbers after the
    12      the record.                                12        first page, as they were produced
    13             - - -                               13        to us. So I'll figure that out.
    14          (Whereupon, a luncheon                 14             MR. JONES: Okay. All
    15      recess was taken.)                         15        right. Thank you.
    16            - - -                                16             MR. MIGLIORI: No problem.
    17          VIDEO TECHNICIAN: The time             17   BY MR. MIGLIORI:
    18      is now 1:20 p.m. We are back on            18        Q. So the verification
    19      the record.                                19   department is the department that you now
    20             - - -                               20   run, correct?
    21          (Whereupon, Exhibit                    21        A. Correct.
    22      Schein-Abreu-11,                           22        Q. Obviously, you were not
    23      HSI-MDL-00404222-223, was marked           23   there in 1992, correct?
    24      for identification.)                       24        A. Correct.
                                            Page 227                                            Page 229
     1          - - -                                   1        Q. But it did have a -- you did
     2   BY MR. MIGLIORI:                               2   have some form of suspicious order
                                                        3   monitoring system in place at the company
                                                        4   before you got there, correct?
                                                        5        A. Correct.
                                                        6        Q. And so this memo is from a
                                                        7   Wally White.
                                                        8            Do you know who that is?
     9            In your review of documents           9        A. No.
    10   as a 30(b)(6) witness today, did you          10        Q. And it goes to the
    11   review documents that predated your time      11   verification department, and then the
    12   in the verification department?               12   Schein regulatory committee and C.
    13        A. Yes.                                  13   Laskowski.
    14            MR. JONES: And, Don, I'm             14            Do you know who that is?
    15        sorry, I don't see a Bates number        15        A. I know who C. Laskowski is,
    16        on this. Is this from our                16   yes.
    17        production?                              17        Q. Who is that?
    18            MR. MIGLIORI: Yes. Let's             18        A. She currently is in IT.
    19        see. It's how we received it, so         19        Q. But regulatory is where
    20        we can figure out where.                 20   Sergio and Frank are, correct?
    21            MR. JONES: I mean, is this           21        A. Yes.
    22        from our production or --
    23            MR. MIGLIORI: I mean, I
    24        have no other source, so I don't
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     1       A. Yes.                                          1   correct?
     2       Q. All right. But at that                        2        A. Correct.
     3   point, at least, she wasn't one of the               3        Q. Were you ever involved with
     4   people that you recall working with,                 4   manually changing thresholds once you
     5   correct?                                             5   became a member of the verification team?
     6       A. Not to my recollection.                       6        A. Individual customer
                                                              7   thresholds?
                                                              8        Q. Individual and/or aggregate.
                                                              9        A. Only recently, as I
                                                             10   mentioned earlier.
                                                             11        Q. When did you recently change
                                                             12   a threshold?
                                                             13        A. In 2018.
                                                             14        Q. And why did you do that?
                                                             15        A. We were evaluating false
                                                             16   positive pends.
                                                             17        Q. And false positive pends is
                                                             18   basically the system was spitting out
                                                             19   pended orders that, upon investigation or
                                                             20   reflection, either should not have been
                                                             21   pends or were missing pends that should
                                                             22   have been detected, correct?
                                                             23        A. As a result of -- yes.
                                                             24

                                                  Page 235                                           Page 237
                                                              1


     3        Q. And the thresholds were not
     4   automatically adjusted over time based on
     5   anything; they were manually adjusted
     6   based on new product entry since 2002,
     7   correct?
     8        A. I'm not sure about the
     9   adjustment, the timing of adjustments.
    10        Q. But you'll agree with me
    11   that in 2005, thresholds were manually
    12   adjusted, not automatically adjusted,
    13   correct?
    14        A. Correct.
    15        Q. It wasn't based on an
    16   algorithm, it was based -- or at least an
    17   electronic algorithm, it was based on a
    18   manual input from the discretion of some
    19   human being to go in and change the
    20   system, correct?
    21        A. Yes.
    22        Q. And that was done by the
    23   team that you ultimately are now
    24   responsible for, the verification team,
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                                             Page 238                                            Page 240
     1            Is it true that as of                  1
     2   September 16, 2005, Henry Schein's
     3   suspicious monitoring program only
     4   triggered excessive orders and was not
     5   triggering deviations in frequency and
     6   patterns?
     7        A. Yes.
     8        Q. When an order pends, the
     9   investigation conducted by the
    10   verification team includes the review of
    11   ordering frequency and patterns; however,
    12   this review will only occur if the order
    13   reaches the threshold limit.
    14            So it's fair to say that as
    15   of September of 2005, normal-sized
    16   orders, that is, orders that were not in
    17   excess of prior orders but were different
    18   in frequency and pattern, were not being
    19   detected in the suspicious order
    20   monitoring programs at Henry Schein?
    21            MR. JONES: Objection.
    22        Form. Vague.
    23   BY MR. MIGLIORI:
    24        Q. Correct?
                                             Page 239                                            Page 241
     1       A.   Yes.




                                                         6            Were you a part of any
                                                         7   process to implement regular, formal
                                                         8   periodic reviews of threshold data?
                                                         9            MR. JONES: Objection.
                                                        10        Form. Vague.
                                                        11            THE WITNESS: In this time
                                                        12        period?
                                                        13   BY MR. MIGLIORI:
                                                        14        Q. At any time.
                                                        15            Were you personally involved
                                                        16   in implementing a new system of formal,
                                                        17   regular periodic review of the threshold
                                                        18   data?
                                                        19        A. Yes.
                                                        20        Q. And when did you first
                                                        21   become involved with that?
                                                        22        A. When I began in the position
                                                        23   in 2009.
                                                        24        Q. Okay. So you're not --
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     1   other than what's in this document, you          1
     2   don't have personal knowledge of when
     3   periodic regular reviews of threshold
     4   data began after this September 2005
     5   document, correct?
     6       A. Correct.




                                                         17       Q. Okay. Do you know when that
                                                         18   process became part of the program?
                                                         19       A. I would say in 2009.
                                                         20       Q. And why do you put it in
                                                         21   2009?
                                                         22       A. Because that was when our
                                                         23   enhanced system went live.
                                                         24       Q. And the enhanced system,
                                              Page 243                                             Page 245
                                                          1   we'll talk about that very, very shortly,
                                                          2   but the enhanced system is a result of
                                                          3   the Buzzeo interactive process of
                                                          4   reviewing the existing systems and these
                                                          5   recommendations, correct?
                                                          6            MR. JONES: Objection.
                                                          7        Form. Foundation.
                                                          8   BY MR. MIGLIORI:
                                                          9        Q. If you don't recall now, I
                                                         10   have presentations later to show you.
                                                         11            But Buzzeo was one of the
                                                         12   consultants on the enhanced suspicious
                                                         13   order monitoring program that you just
                                                         14   referenced, correct?
                                                         15        A. Correct.




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     1               - - -                               1        Q. The DEA defines a suspicious
     2            (Whereupon, Exhibit                    2   order as orders of unusual size, orders
     3        Schein-Abreu-15,                           3   deviating substantially from normal
     4        HSI-MDL-00374284-285, was marked           4   pattern, and orders of unusual frequency.
     5        for identification.)                       5            You'll agree with me that
     6              - - -                                6   this document from Henry Schein
     7   BY MR. MIGLIORI:                                7   acknowledges the definition of a
     8        Q. Another Henry Schein                    8   suspicious order that the DEA has,
     9   document produced called, Suspicious            9   correct?
    10   Monitoring System Specifications Draft.        10        A. Correct.
    11   I have from the metadata that this is          11        Q. And that these criteria are
    12   dated January 16th of 2008.                    12   disjunctive and not inclusive, that means
    13            You'll see that the first             13   a trip of any one of those deviations is
    14   paragraph talks about the DEA standard         14   enough for it to become a suspicious
    15   and requirement, correct?                      15   order, correct?
    16        A. Yes.                                   16        A. Yes.
    17        Q. The second one talks about             17        Q. And then it restates, again,
    18   the need to inform the DEA of suspicious       18   that registrants that rely on rigid
    19   orders when discovered by the registrant,      19   formulas to define whether an order is
    20   correct?                                       20   suspicious may be failing to detect them.
    21            MR. JONES: Hang on. I                 21            We've seen that language in
    22        mean, if you're going to ask him          22   other documents, including this one from
    23        to confirm what the document says,        23   Henry Schein, correct?
    24        give him an opportunity to read           24        A. Correct.
                                             Page 267                                             Page 269
     1       it.                                         1            MR. JONES: Now, just to be
     2             Again, I don't think you              2        clear, I mean, I know that this
     3        need him to tell you what the              3        came from our production, but are
     4        document says.                             4        you representing that this was
     5             MR. MIGLIORI: If I don't do           5        something that was prepared by
     6        it, then I don't get the                   6        somebody within Henry Schein?
     7        foundation. So you tell me which           7            MR. MIGLIORI: I think the
     8        objection you'd like us to follow,         8        next question will answer that.
     9        and I'll be happy to follow it.            9            MR. JONES: Okay.
    10             MR. JONES: If you want to            10   BY MR. MIGLIORI:
    11        ask him a question about the              11        Q. The new monitoring system
    12        document, then let him read it,           12   will review orders based on -- and then
    13        then that's perfectly allowable.          13   it gives three categories -- customer's
    14             MR. MIGLIORI: Let me know            14   market segment; medical, dentistry,
    15        when I'm not doing it right.              15   veterinary, specialty. Purchasing
    16             MR. JONES: Well, Don --              16   patterns; low, large patterns. And
    17   BY MR. MIGLIORI:                               17   productive ingredient.
    18        Q. The document says, The                 18            Are those the four areas of
    19   regulation also requires the registrant        19   threshold data that were added to the new
    20   to inform the local DEA of suspicious          20   enhanced program that you spoke of?
    21   orders when discovered.                        21        A. We also had added practice
    22             We've talked about that              22   type as one of the fields.
    23   several times today, correct?                  23        Q. So market segment and
    24        A. Yes.                                   24   practice type?
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     1        A. Uh-huh.                               1        A. No.
     2        Q. Okay. And those would be              2        Q. All right. So in this
     3   part of the enhanced program that             3   presentation, he talks about the company
     4   ultimately got fully implemented in 2009,     4   generally, the suspicious order
     5   correct?                                      5   monitoring program and its challenges in
     6        A. Correct.                              6   the system at Henry Schein, and some of
     7        Q. All right. Exhibit Number             7   the other -- new accounts setup, standard
     8   16.                                           8   operating procedures, some of the other
     9               - - -                             9   things that we've already talked about a
    10            (Whereupon, Exhibit                 10   lot today, correct?
    11        Schein-Abreu-16, HSI-MDL-00040712,      11        A. Yes.
    12        was marked for identification.)         12        Q. He states that, Henry Schein
    13              - - -                             13   is the largest distributor of healthcare
    14   BY MR. MIGLIORI:                             14   products and services to office-based
    15        Q. This is a document, through          15   practitioners in the combined North
    16   metadata, that's dated November 2nd of       16   America and European markets.
    17   2009.                                        17            Were you aware of that?
    18            So at this point, you would         18        A. Yes.
    19   now -- you would now have been in the        19        Q. Customers include dental
    20   verification department for a month or       20   practices and laboratories, physician
    21   so, correct?                                 21   practices and animal health clinics, as
    22        A. Yes.                                 22   well as government and other
    23        Q. This is a November 2nd, 2009         23   institutions.
    24   PowerPoint presentation of -- I refer to     24            And, In 23 countries over $6
                                           Page 271                                             Page 273
     1   it as Dendrite.                               1   billion in sales.
     2            How do you pronounce the             2            Were you familiar with that?
     3   full name, do you know?                       3        A. Yes.
     4        A. Cegedim.                              4        Q. They recite the, yet again,
     5        Q. Cegedim Dendrite.                     5   the DEA regulations, this time from the
     6            Compliance solutions powered         6   December 2010 letter from the DEA that we
     7   by Buzzeo. So this is the Buzzeo company      7   already talked about, correct?
     8   that we've been referring to over the         8        A. Uh-huh, yes.
     9   past two years, that is, from 2007            9        Q. On Page 4.
    10   through this date, November of 2009,         10            It talks about the unclear
    11   correct?                                     11   requirements with lack of guidance as to
    12        A. Correct.                             12   Know Your Customer.
    13        Q. They have the Seventh Annual         13            You'll agree with me that
    14   Controlled Substance Conference, current     14   this enhanced program had a substantial
    15   DEA challenges from a distributor's          15   focus on trying to define and implement
    16   perspective, and presenting with Buzzeo      16   best practices for the Know Your Customer
    17   is Mike DiBello.                             17   requirement, correct?
    18            And I think you told me             18        A. Yes.
    19   earlier that he was the director, at the     19        Q. Know Your Customer
    20   time, of regulatory affairs for your         20   requirements have always existed, but at
    21   company, Henry Schein, correct?              21   this time, in 2009, what was deemed to be
    22        A. Correct.                             22   sufficient or compliant was something
    23        Q. And so have you seen this            23   that everybody, all the distributors in
    24   before, by the way?                          24   your industry, had been working on,
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     1   correct?                                         1   substances.
     2        A. Correct.                                 2            So did this enhanced system
     3        Q. By this time, if you look at             3   add a component of when a doctor cannot
     4   Page 7, your suspicious order monitoring         4   order controlled substance based on the
     5   program was computer Internet-based,             5   practice area?
     6   correct?                                         6        A. There were restrictions put
     7        A. Computer. Not Internet.                  7   in place, yes.
     8        Q. Okay. When you started, was              8        Q. That was part of this
     9   this a screen, on Page 7, that you would         9   enhanced program that was launched at the
    10   be able to access for purposes of looking       10   end of 2009, correct?
    11   into a particular order or customer?            11        A. I'm not sure of the date on
    12        A. Yes.                                    12   that part of it.
    13        Q. What was this system called             13
    14   that I'm looking at here?                       14
    15        A. It's part of JDE.                       15
    16        Q. Okay. So you would click on             16
    17   a -- was there a particular icon you            17
    18   click on for the suspicious order               18
    19   monitoring system?                              19
    20        A. It's an option, a menu                  20
    21   option within the system.                       21
    22        Q. Within the JDE system?                  22
    23        A. Yes.                                    23
    24        Q. All right. And so when you              24

                                              Page 275                                             Page 277
     1   trained, you trained on how to use and           1
     2   access this information, correct?                2
     3        A. Correct.                                 3
     4        Q. And then when you talked                 4
     5   about the standard operating procedures          5            Was that a new process added
     6   and the enhanced system, in 2009, what --        6   to the standard operating procedures for
     7   according to Page 10 of this                     7   new clients?
     8   presentation, what was enhanced and              8        A. Around the same time period.
     9   changed in the policy included outlines          9        Q. Yes?
    10   to specifications of a new S1 system and        10        A. Around the same time, yes.
    11   the three components that make up the
    12   entire system.
    13            So the new system had new
    14   components? Do you know what those three
    15   components are?
    16            MR. JONES: Objection.
    17        Form.
    18   BY MR. MIGLIORI:
    19        Q. I'm just asking if you know.
    20   If you don't, you don't.
    21        A. Not three, no.                          21          And that's consistent with
    22        Q. Added out-of-practice                   22   your understanding, correct?
    23   section outlining practices that can and        23       A. Yes.
    24   cannot purchase specific controlled             24       Q. The restrictions set up to
   Golkow Litigation Services                                                 Page 70 (274 - 277)
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     1   prevent accounts from ordering products           1        Q. In June of 2009, the
     2   not normally used in their process.               2   customer questionnaire implemented for
     3            Those restrictions were                  3   due diligence purposes for new onboarded
     4   established or set up in October of 2007;         4   customers had been developed, correct?
     5   does that sound right?                            5        A. Correct.
     6        A. It says November 2007.                    6        Q. Prior to that, there was no
     7        Q. I'm sorry, November. You're               7   customer questionnaire for new onboarded
     8   correct.                                          8   clients, correct?
     9        A. Yep.                                      9        A. There wasn't a specific
    10        Q. Is that about when you                   10   questionnaire. We did seek other
    11   recall those restrictions being set up?          11   means --
    12        A. I don't recall. I wasn't                 12        Q. Right.
    13   there at the time.                               13        A. -- to obtain information.
    14        Q. Okay. In December of 2007,               14        Q. But it wasn't a standardized
    15   that's when Schein received one of those         15   questionnaire, correct?
    16   DEA Rannazzisi letters that we spoke of          16        A. Correct.
    17   earlier, correct?                                17        Q. In July of 2009, the
    18        A. Yes.                                     18   suspicious order monitoring SOP was
    19        Q. In April of 2008, the                    19   revised and finalized, that is, all of
    20   Product Normalization Project was                20   the changes to the standard operating
    21   finished.                                        21   procedures for SOM as it related to this
    22            Do you know what that was?              22   enhanced program had been revised and
    23        A. No, I'm not sure what the                23   approved and finalized, correct?
    24   name -- what that means.                         24        A. Yes.
                                               Page 279                                             Page 281
     1        Q. Do you know what the Gantt                1        Q. And then all of those
     2   chart was in April of 2008?                       2   changes over that two-year period were
     3        A. No.                                       3   implemented, that is, put into effect,
     4        Q. In March of 2009, the                     4   beginning in October of 2009, right when
     5   suspicious order monitoring statistical           5   you got to verifications, correct?
     6   approach specs were finalized and                 6        A. Correct.
     7   submitted.                                        7        Q. Do you remember, in your
     8            Is that your recollection,               8   training, that you were actually there at
     9   that, in September of 2009, the                   9   a time when this was just launching?
    10   statistical threshold setting                    10        A. Yes.
    11   specifications were finalized?                   11        Q. Were you, in fact, hired
    12        A. You're talking about in                  12   into verification at this point because
    13   March, right?                                    13   of this program?
    14        Q. In March of 2009.                        14        A. That, I don't know.
    15        A. March of 2009.                           15        Q. Okay. Do you remember why
    16            It was prior to me coming on            16   you wanted to move into verifications
    17   board.                                           17   after being in database?
    18        Q. So that would be consistent              18        A. It was offered to me.
    19   with your understanding?                         19        Q. And do you recall who hired
    20        A. It would be consistent with              20   you or recruited you into that
    21   my understanding, yes.                           21   department?
    22        Q. Because you came on board                22        A. Yes.
    23   about seven months later?                        23        Q. Who was that?
    24        A. Yes.                                     24        A. It was my manager and
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     1                                                     1        Q. Do you know what a MedPro
     2            Did a compliance agreement               2   inquiry is?
     3   form get developed as a result of the             3        A. MedPro is a third-party
     4   recommendations from Buzzeo?                      4   licensed provider that we use.
     5            MR. JONES: Objection to the              5        Q. Is that a way of verifying
     6       sidebar. Objection. Form.                     6   licenses?
     7            THE WITNESS: We developed                7        A. Yes.
     8       and implemented the customer                  8        Q. And according to this
     9       questionnaire.                                9   recommendation, it appears that Schein
    10   BY MR. MIGLIORI:                                 10   used MedPro in states that required
    11       Q. Is that what the compliance               11   background checks but not in other
    12   agreement is? Is that another name for           12   states.
    13   it?                                              13            Was that true, to your
    14            MR. JONES: Objection.                   14   experience, when you started in the
    15       Form. Lack of foundation. Calls              15   verification department?
    16       for speculation.                             16            MR. JONES: Objection.
    17            THE WITNESS: I'm not sure               17        Form. Lack of foundation. Calls
    18       if it's synonymous.                          18        for speculation.
    19   BY MR. MIGLIORI:                                 19            THE WITNESS: Yeah, I'm
    20       Q. That's all I'm asking.                    20        not -- I'm not sure on that one.
    21       A. Yeah.                                     21   BY MR. MIGLIORI:
    22       Q. Have you ever heard that                  22        Q. Fair enough.
    23   term, "compliance agreement" form?               23            It also says that, Henry
    24       A. No.                                       24   Schein, Inc., has conducted some on-site
                                               Page 287                                             Page 289
     1        Q. But would you agree that the              1   investigations for prospective customers.
     2   questionnaire that you developed, in              2   However, the criteria for the level of
     3   fact, dealt with, quote, Customer's               3   due diligence has not been documented in
     4   previous history of using controlled              4   any standard operating procedure or
     5   substances, office practice rules and             5   memorandum.
     6   general practice expectations?                    6            Were you involved, at any
     7        A. Yes.                                      7   point, in developing an SOP or memorandum
     8        Q. All right. So were you                    8   for what level of due diligence is
     9   involved in developing that                       9   required for onboarding a new customer?
    10   questionnaire?                                   10            MR. JONES: Object to the
    11        A. No.                                      11        sidebar. Objection to form.
    12        Q. Did you, in fact, implement              12            THE WITNESS: In relation to
    13   such a questionnaire after the launch of         13        a site visit?
    14   the enhanced SOM?                                14   BY MR. MIGLIORI:
    15        A. Yes.                                     15        Q. In relation -- in
    16            MR. JONES: Objection.                   16   relationship to due diligence for new
    17        Form. Objection. Vague.                     17   customers.
    18            Just pause, please.                     18            Did you develop any written
    19   BY MR. MIGLIORI:                                 19   documented SOP or memorandum for
    20        Q. Do you know when it started              20   onboarding new customers?
    21   that you started to use that                     21        A. During this time period --
    22   questionnaire?                                   22        Q. At any time.
    23        A. It was right around the time             23        A. -- or at any time?
    24   when I joined.                                   24            At any time, yes.
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     1        Q. When?                                    1   and the regulatory department appear to
     2        A. I think it was 2012.                     2   be poorly defined and reliant, to some
     3        Q. Okay. So three years after               3   extent, upon the judgment of individual
     4   this, or so?                                     4   employees regarding what types of
     5        A. Yes.                                     5   situations should be referred to
     6             MR. JONES: Object to the               6   management for approval or forwarded to
     7        form.                                       7   regulatory for investigation.
     8   BY MR. MIGLIORI:                                 8            Do you recall Buzzeo making
     9        Q. Another observation of                   9   any kind of observation like that when
    10   Buzzeo is that lower-level staff is             10   you were first hired on to the
    11   actively involved in clearing pended            11   verification department in 2009?
    12   orders. Pended orders should be cleared         12            MR. JONES: Objection.
    13   by a management official.                       13        Vague.
    14             When you started in the               14            THE WITNESS: No.
    15   verification department, were pended            15   BY MR. MIGLIORI:
    16   orders being cleared by non-management?         16        Q. Do you have any reason to
    17             MR. JONES: Objection --               17   dispute that Buzzeo made that observation
    18        object to the sidebar. Objection.          18   to Henry Schein in November of 2009?
    19        Form. Objection.                           19            MR. JONES: Objection.
    20        Mischaracterizes the document.             20        Form. Mischaracterizes the
    21   BY MR. MIGLIORI:                                21        document. Misleading.
    22        Q. Go ahead.                               22            THE WITNESS: To the extent
    23        A. Sorry, could you restate                23        that it's in this memo or
    24   that one?                                       24        document, yes.
                                              Page 291                                            Page 293
     1        Q. Were staff in the                        1   BY MR. MIGLIORI:
     2   verification department, or in                   2       Q. Yes, you have a reason to
     3   regulatory, actively involved in clearing        3   dispute it; or, yes, it appears from the
     4   pended orders when you got to the                4   document that that was a recommendation?
     5   verification department in 2009?                 5           MR. JONES: Objection.
     6        A. It was a collaboration of                6       Form.
     7   multiple people within all the different         7   BY MR. MIGLIORI:
     8   teams.                                           8       Q. Go ahead.
     9        Q. Do you recall a                          9       A. It appears from the
    10   recommendation by Buzzeo, at any point,         10   document, yes, that it was a
    11   saying that pended orders should be             11   recommendation.
    12   cleared by management, not by staff?            12       Q. Okay.
    13        A. No.                                     13              - - -
    14        Q. Does Henry Schein still                 14           (Whereupon, Exhibit
    15   allow staff to clear pended orders?             15       Schein-Abreu-18, HSI-MDL-00072607,
    16        A. All customer due diligence              16       was marked for identification.)
    17   reviews are reviewed by a member of the         17              - - -
    18   management team.                                18   BY MR. MIGLIORI:
    19        Q. The last comment is that,               19       Q. I'll show you Exhibit-18,
    20   Henry Schein has clearly invested a great       20   please.
    21   deal of time and energy in developing an        21           Exhibit-18 was produced by
    22   adequate S1 system. However, the                22   Henry Schein. It is, again, by metadata
    23   responsibilities of the customer service        23   only, because it's not dated otherwise,
    24   department, the verifications department        24   November 27th, 2013. And it's called,
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     1   The Individual Opportunity/Issue                  1       Q. In fact, it was true going
     2   presented by Tina Steffanie-Oak.                  2   back to the enactment of the statute for
     3           In 2013, who was Tina                     3   controlled substances in 1971, correct?
     4   Steffanie-Oak in Henry Schein?                    4       A. Yes.
     5       A. She was a former supervisor
     6   or manager for regulatory.
     7       Q. So she was in the compliance
     8   department?
     9       A. Regulatory, yes.

                                                          11            First of all, in 2013, had
                                                          12   you been to any DEA conferences?
                                                          13        A. By that point, yeah, I
                                                          14   believe so. Yes.
                                                          15        Q. Do you think you ever met or
                                                          16   came across James Arnold?
                                                          17        A. I had seen him at
                                                          18   conferences, yes.
                                                          19        Q. These are quotes, now,
                                                          20   attributed to him by Tina Steffanie-Oak.
    21           In 2013, was it true that                21            Do what you're supposed to
    22   Henry Schein only had due diligence --           22   do and we won't have a problem.
    23   Know Your Customer due diligence for 40          23            Do you recall DEA ever
    24   percent of its customers?                        24   making that statement or representation
                                               Page 295                                              Page 297
     1       A. I'm not sure of the exact                  1   to Henry Schein?
     2   number.                                           2         A. No.
     3       Q. Do you have any reason to                  3         Q. Tina Steffanie-Oak then says
     4   dispute that that was an observation of           4   that the DEA is quoted as saying, All you
     5   Tina Steffanie-Oak in the regulatory              5   need to do is to identify and report.
     6   department?                                       6   It's that simple.
     7       A. No.                                        7             Did you ever hear that from
                                                           8   anybody at the DEA?
                                                           9         A. Not personally, no.
                                                          10         Q. Legitimate medical need is
                                                          11   key.
                                                          12             Have you heard that
                                                          13   statement made about suspicious order
                                                          14   monitoring?
                                                          15         A. No.
                                                          16         Q. Would you agree with the
                                                          17   statement that legitimate medical need is
                                                          18   key to a good, robust, best practices
    19         Q. That was true in 2013 and               19   suspicious order monitoring program?
    20   it's true today, correct?                        20         A. Yes.
    21         A. Correct.                                21         Q. Volume will tell you a lot
    22         Q. It's also true in 2006,                 22   about the customer.
    23   correct?                                         23             Have you ever heard that
    24         A. Correct.                                24   statement from anyone from the DEA?
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     1        A. Just that volume may be                 1   according to the DEA, include that the
     2   indicative of a suspicious order.               2   customer had a valid DEA registration.
     3        Q. And you would agree that                3             You agree that it was known
     4   volume may, in fact, be indicative of a         4   then, and it's known today, that mere
     5   suspicious order, correct?                      5   registration is not enough to clear a
     6        A. Yes.                                    6   suspicious order, correct?
     7        Q. You should know what a                  7        A. Correct.
     8   suspicious, more than the DEA would know        8        Q. She then said, We are only a
     9   because you see all of the numbers and          9   link -- one link in the supply chain.
    10   deal with the customers every day.             10             That is, the DEA said to the
    11            Have you ever heard that              11   distributors, the fact that you're only
    12   from the DEA?                                  12   one link in the supply chain is not a
    13        A. No.                                    13   defense to failure to report suspicious
    14        Q. Would you agree with me that           14   orders.
    15   the suppliers of controlled substances         15             Is that a true statement?
    16   know the numbers of their orders and           16             MR. JONES: Object to the
    17   transactions and deal with their               17        form. Did you read it right, or
    18   customers more than the DEA?                   18        is that an accurate statement?
    19            MR. JONES: Objection.                 19             MR. MIGLIORI: I can say it
    20        Form.                                     20        a little differently.
    21            THE WITNESS: We report all            21             MR. JONES: Object to the
    22        of our controlled substances              22        form to the extent it calls for a
    23        transactions to DEA. So I would           23        legal conclusion.
    24        think they would know as much as          24   BY MR. MIGLIORI:
                                             Page 299                                             Page 301
     1        we do.                                     1        Q. I think your counsel wants
     2   BY MR. MIGLIORI:                                2   me to get you to agree that's what it
     3        Q. On the transactions?                    3   says.
     4        A. On the transactions.                    4            Can we agree it says that --
     5        Q. What about with respect to              5   she reported it's unacceptable, for
     6   knowing the customer?                           6   failure to report a suspicious order, to
     7        A. The customer themselves, I              7   say that we are only a link, one link in
     8   would agree, yes, that we probably know         8   the supply chain?
     9   more.                                           9            MR. JONES: Object to the
    10        Q. And the suspicious order               10        form.
    11   monitoring program, in order to be robust      11   BY MR. MIGLIORI:
    12   and lawful, needs to have a strong Know        12        Q. Is that what it says?
    13   Your Customer component, correct?              13        A. Yes.
    14            MR. JONES: Objection.                 14        Q. You'll agree, as the person
    15        Form. Vague. Calls for a legal            15   with knowledge of Henry Schein's
    16        conclusion.                               16   suspicious order monitoring policies and
    17   BY MR. MIGLIORI:                               17   procedures, that that is not a viable
    18        Q. Correct?                               18   defense to reporting or failing to report
    19        A. Yes.                                   19   a suspicious order, that you're just one
    20        Q. And then Tina Steffanie-Oak            20   of the actors in the supply chain,
    21   said that the DEA represented to the           21   correct?
    22   industry that was present at this              22            MR. JONES: Objection.
    23   conference that, Unacceptable excuses for      23        Form. Objection to the extent it
    24   failure to report a suspicious order,          24        calls for a legal conclusion.
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     1   BY MR. MIGLIORI:                                  1   for what its customers do with the
     2        Q. You agree with that, right?               2   drugs --
     3        A. Sorry, can you restate that?              3            MR. JONES: Object to the
     4        Q. Yes.                                      4       form.
     5            You'll agree that, as a                  5   BY MR. MIGLIORI:
     6   person with the knowledge of Henry                6       Q. -- correct?
     7   Schein's policies and procedures on               7            MR. JONES: Object to the
     8   suspicious order monitoring, that it is           8       form. Calls for a legal
     9   not a defense, for failure to report a            9       conclusion. Outside the scope.
    10   suspicious order, that Schein is only one        10            THE WITNESS: I think to an
    11   link in the supply chain --                      11       extent, yes.
    12            MR. JONES: Same objection.              12   BY MR. MIGLIORI:
    13   BY MR. MIGLIORI:                                 13       Q. All right. Well, by itself,
    14        Q. -- correct?                              14   once the drugs leave -- once controlled
    15            MR. JONES: Sorry.                       15   substances leave Henry Schein, the
    16            THE WITNESS: Yes.                       16   obligation of Schein to make sure that an
    17   BY MR. MIGLIORI:                                 17   order, if suspicious, be reported,
    18        Q. It's not a defense to                    18   doesn't absolve Schein of future
    19   failure to report a suspicious order that        19   responsibility, correct?
    20   you can't look at every customer's order,        20            MR. JONES: Objection.
    21   correct?                                         21       Form. Calls for legal conclusion.
    22            MR. JONES: Object to the                22       Outside the scope.
    23        form. Calls for a legal                     23   BY MR. MIGLIORI:
    24        conclusion.                                 24       Q. Is that correct?
                                               Page 303                                             Page 305
     1            THE WITNESS: Yes.                        1       A. Yes.
     2   BY MR. MIGLIORI:                                  2       Q. And it's not a defense for
     3        Q. Yes, it's correct?                        3   Schein to say, in failing to report a
     4        A. Yes.                                      4   suspicious order, that it's not a doctor
     5        Q. It's not a defense to                     5   or pharmacist, correct?
     6   failure to report a suspicious order that         6           MR. JONES: Objection.
     7   Schein is not responsible for what a              7       Form. Outside the scope. Calls
     8   customer does with the drugs.                     8       for legal conclusion.
     9            You agree with that                      9   BY MR. MIGLIORI:
    10   statement, correct?                              10       Q. Is that correct?
    11            MR. JONES: Objection.                   11       A. Yes.
    12        Form. Calls for a legal                     12           MR. JONES: Don, if you're
    13        conclusion.                                 13       getting ready to move to another
    14   BY MR. MIGLIORI:                                 14       exhibit, can we take a break?
    15        Q. Do you agree with that?                  15           MR. MIGLIORI: Yeah. Let me
    16        A. Can you restate it? I'm                  16       just make sure I'm done with this
    17   sorry.                                           17       one, and then I'll be happy to.
    18        Q. Yes.                                     18       Just a second.
    19            You would agree with Tina               19           Let me just finish this
    20   Steffanie-Oak -- strike that.                    20       document, and then we'll break.
    21            You'll agree that it is not             21           MR. JONES: Sure.
    22   a defense for Henry Schein, in failing to        22           MR. MIGLIORI: Thank you.
    23   report a suspicious order, that Schein           23   BY MR. MIGLIORI:
    24   would represent that it's not responsible        24


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                                                           1   said, some time in -- the end of 2009
                                                           2   with this enhanced SOM program, correct?
                                                           3        A. As part of it, yes.
                                                           4        Q. The DEA cannot guarantee
                                                           5   that past failure to maintain effective
                                                           6   controls against diversion will not
                                                           7   result in action against a distributor.
                                                           8            Strike it. I don't need to
                                                           9   ask you about that.




    17            You are aware that the
    18   failure of the DEA registrant to maintain
    19   effective controls against diversion can         19           Were you part of an effort
    20   result in the registration being revoked         20   around this time frame of 2013, November
    21   by the DEA, aren't you?                          21   of 2013, to develop a plan to get due
    22            MR. JONES: Objection.                   22   diligence information on all Henry Schein
    23        Form. Outside the scope. Calls              23   customers?
    24        for speculation.                            24        A. Yes.
                                               Page 307                                            Page 309
     1   BY MR. MIGLIORI:                                  1        Q. And what role did you play,
     2        Q. Correct?                                  2   beginning in November of 2013, to develop
     3        A. Yes.                                      3   and execute a plan to get due diligence
     4        Q. In fact, that's the whole                 4   on all of Henry Schein's customers?
     5   point of a suspicious order monitoring            5        A. So we helped with flagging
     6   program, to effectuate effective controls         6   the system to ensure that customer orders
     7   against diversion, correct?                       7   were pended to request due diligence.
     8            MR. JONES: Objection.                    8        Q. So, effectively, if 60
     9        Form. Calls for a legal                      9   percent of the customers had no due
    10        conclusion.                                 10   diligence at all, did this program pend
    11            THE WITNESS: Yes.                       11   all of that 60 percent until the due
    12   BY MR. MIGLIORI:                                 12   diligence could be collected?
    13        Q. What's that?                             13        A. It was done in a series of
    14        A. Yes.                                     14   steps.
    15        Q. Any distributor who is                   15        Q. And when you pended a
    16   selling drugs that are being dispensed           16   customer that did not have any due
    17   outside the course of professional               17   diligence in the file, I'm talking about
    18   practice must stop immediately.                  18   the 60 percent group right now, did those
    19            That is true in 2013,                   19   pended customers get reported to DEA as
    20   correct?                                         20   pended?
    21        A. Yes.                                     21        A. In 2013?
    22        Q. And that policy was                      22        Q. And thereafter.
    23   implemented by Schein in its suspicious          23        A. They would have up until
    24   order monitoring program, I think you            24   April of 2015, yes.
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     1        Q. So this program of pending                 1   requirements for all customers, correct?
     2   the customer and then obtaining due                2        A. Correct.
     3   diligence, how long did it take to                 3        Q. Did you -- for the 40
     4   execute that plan?                                 4   percent that had varying degrees of due
     5        A. It took a number of years.                 5   diligence, was there a program put in
     6        Q. Was it completed by April of               6   place to get all of those files more
     7   '15, or did it continue after that as              7   consistent or complete?
     8   well?                                              8            MR. JONES: Object to form.
     9        A. It continued after that.                   9        Vague.
    10        Q. And is it still going on                  10            THE WITNESS: As customers
    11   today? Are you still catching up on the           11        were flagged by our monitoring
    12   due diligence project referred to in this         12        system, we would update the
    13   exhibit?                                          13        customer due diligence, yes.
    14        A. No.                                       14   BY MR. MIGLIORI:
    15        Q. Do you recall when it may                 15        Q. But there wasn't a program
    16   have been final, that is, when you                16   that started some time after this
    17   finally caught up?                                17   November 2013 presentation that
    18        A. I believe it was some time                18   systematically went through this 40
    19   last year, in 2017.                               19   percent of customer files to upgrade
    20        Q. So it's fair to say that                  20   their Know Your Customer due diligence
    21   Henry Schein first had complete due               21   files, correct?
    22   diligence files on all of its customers           22        A. It was based on our
    23   some time in 2017?                                23   monitoring system.
    24        A. Yes.                                      24        Q. Only if it got tripped by a
                                                Page 311                                             Page 313
     1        Q. Was the process different                  1   threshold?
     2   for the 40 percent of the customers that           2        A. By anything in the SOMS
     3   had varying levels of due diligence in             3   system, yes.
     4   their files? Was there a different plan            4        Q. So if nothing tripped, none
     5   for those?                                         5   of those files were reviewed for updated
     6        A. When you say "was the                      6   Know Your Customer review?
     7   process different," what do you mean?              7        A. They may have been revisited
     8        Q. So in -- earlier in this                   8   over time. But the immediate was the
     9   presentation she points out that 40                9   pend, yes.
    10   percent of the then-existing customers in
    11   November of 2013, 40 percent has varying
    12   degrees of due diligence. Files are not
    13   consistent.
    14             Do you see that?                        14            Were more people added to
    15        A. Yes.                                      15   the process when you started this project
    16        Q. And you have no reason to                 16   of getting complete due diligence Know
    17   refute that, right?                               17   Your Customer files for your customers?
    18        A. No.                                       18        A. Yes.
    19        Q. You then talked about how                 19        Q. Do you know how many people
    20   you worked on a program for the 60                20   were added?
    21   percent that had no due diligence.                21        A. From -- I'm not sure about
    22             You worked on a program that            22   from the regulatory team.
    23   went from the end of 2013 through 2017 to         23            But, yeah, my team grew
    24   get up to date on Know Your Customer              24   significantly in verifications.
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     1        Q. So from November of 2013 to            1   customers, new and existing, so that
     2   2017, how big did your verification            2   those due diligence files at Schein would
     3   department grow?                               3   be complete, correct?
     4        A. We added, I would say, at              4        A. Correct.
     5   least ten people.                              5        Q. I want to show you what's
     6        Q. And you don't know how many            6   been marked as Exhibit Number 19.
     7   regulatory added?                              7            This is a memorandum and
     8        A. I'm not sure. It was a                 8   opinion -- memorandum opinion and order
     9   couple. I'm not sure of the exact              9   relative to a Schein customer named Brian
    10   number.                                       10   D. Heim, MD.
    11        Q. And the purpose of adding             11            Are you familiar with Dr.
    12   all those folks was to get up to date on      12   Heim?
    13   the Know Your Customer due diligence          13        A. No.
    14   project, correct?                             14        Q. All right. This is an
    15        A. Correct.                              15   opinion of a court. It actually happens
    16            MR. MIGLIORI: All right.             16   to be the same court that this case is
    17        Why don't we take a break here?          17   pending in, in Ohio. I want to direct
    18            VIDEO TECHNICIAN: The time           18   your attention to Page 4.
    19        is now 2:46 p.m. We're going off         19            On Page 4, there are, under
    20        the record.                              20   Section B, what are referenced as
    21               - - -                             21   undisputed facts. It's referring to the
    22            (Whereupon, a brief recess           22   defendant, Dr. Heim, registered under the
    23        was taken.)                              23   Act, that is, a DEA registrant, as a
    24              - - -                              24   medical practitioner and was authorized
                                            Page 315                                            Page 317
     1            VIDEO TECHNICIAN: The time            1   to handle controlled substances,
     2        is now 3:09 p.m. We are back on           2   Schedules II, III, IV and V. His
     3        the record.                               3   registered location was 3562 Ridge Park
     4                - - -                             4   Drive, Suite A, Akron, Ohio.
     5            (Whereupon, Exhibit                   5            Do you recall whether Dr.
     6        Schein-Abreu-19, Memorandum               6   Heim may have been one of the three
     7        Opinion and Order; USA v Heim, was        7   pended customers that you found in
     8        marked for identification.)               8   looking at Summit County?
     9               - - -                              9        A. I don't recall.
    10   BY MR. MIGLIORI:                              10        Q. I'm going to represent to
    11        Q. We were talking before the            11   you that Akron, Ohio is in Summit County,
    12   break about due diligence and Know Your       12   okay.
    13   Customer requirements.                        13            And I will show you later
    14            Do you recall that?                  14   here, but I represent to you that this is
    15        A. Yes.                                  15   one of the Schein clients.
    16        Q. And due diligence and Know            16            In 1998, Heim entered guilty
    17   Your Customer requirements are not just       17   pleas to 24 felony counts of theft of
    18   for the onboarding of new clients, that's     18   drugs and 21 felony counts of illegal
    19   an ongoing responsibility with respect to     19   processing of drug documents. His
    20   all clients, correct?                         20   medical license was suspended and he was
    21        A. Correct.                              21   given treatment in lieu of conviction.
    22        Q. And the project that you              22            On June 6, 2012, Heim was
    23   undertook from 2013 to 2017 was to update     23   arraigned in Summit County Court of
    24   all due diligence files for all types of      24   Common Pleas on seven counts of
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     1   aggravated trafficking in drugs and one         1   verification department expanded to
     2   count of tampering with evidence. The           2   develop the Know Your Customer database
     3   drug charges were eventually dropped in         3   knowledge of your clients. So that's
     4   return for defendant's guilty plea to one       4   within your department, correct, that you
     5   count of obstruction of justice. He also        5   conduct due diligence of your customers,
     6   agreed to surrender his medical license         6   correct?
     7   and his DEA registration as part of his         7            MR. JONES: Object to the
     8   plea. As a result, the defendant is no          8        form.
     9   longer permitted to dispense or prescribe       9   BY MR. MIGLIORI:
    10   Schedule II through IV drugs.                  10        Q. Correct?
    11            On July 5, 2012, Brinks               11        A. Yes.
    12   checked with the DEA Automation of             12        Q. And certainly criminal
    13   Reports and Consolidated Order System,         13   background relative to drug trafficking
    14   ARCOS, which is a DEA database used to         14   felonies would be a relevant factor in
    15   capture the activity of controlled             15   your due diligence analysis, correct?
    16   substances from a point of manufacture         16        A. Yes.
    17   and/or distribution to the point of sale       17        Q. And that would include,
    18   to the retail level registrant. This           18   going back to Page 4, the 1998 entering
    19   check of ARCOS revealed that the               19   of guilty pleas for 24 felony counts of
    20   defendant was purchasing extraordinarily       20   theft in drugs, that would be something
    21   large amounts of hydrocodone APAP              21   that you would want to know in a robust
    22   tablets, hydrocodone and acetaminophen,        22   due diligence program to know your
    23   from the pharmaceutical wholesaler Henry       23   customer at Henry Schein, correct?
    24   Schein, Inc.                                   24            MR. JONES: Object to the
                                             Page 319                                           Page 321
     1            Now, based on these                    1        form. Vague.
     2   undisputed facts in this finding -- and         2   BY MR. MIGLIORI:
     3   Schein cooperated with this, just so            3        Q. You would want to know about
     4   we're clear on that, based on these             4   drug trafficking guilty pleas, wouldn't
     5   findings, Schein would have, when it            5   you, in due diligence?
     6   learned of the -- certainly of the              6        A. Yes.
     7   indictment on seven counts of aggravated        7        Q. And the fact that there were
     8   trafficking in drugs and one count of           8   in 1998, and that the doctor lost his
     9   tampering with evidence, upon learning          9   license, temporarily, to practice
    10   that, that would be cause enough to not        10   medicine as a result of that is something
    11   just pend but to discontinue or cancel         11   that is a relevant piece of information
    12   the relationship with this doctor,             12   for the Henry Schein Know Your Customer
    13   correct?                                       13   due diligence analysis, correct?
    14            MR. JONES: Object to the              14             MR. JONES: Object. Object
    15        form. Object to the sidebar.              15        to the question. Did you say
    16        Outside the scope. Calls for              16        1998?
    17        speculation.                              17             MR. MIGLIORI: I'm talking,
    18            THE WITNESS: I'm not sure             18        first, about the 1998
    19        on that one.                              19        convictions -- pleas, guilty
    20   BY MR. MIGLIORI:                               20        pleas.
    21        Q. If you -- and so I'm going             21   BY MR. MIGLIORI:
    22   back to your Know Your Customer due            22        Q. Correct?
    23   diligence operations.                          23        A. Yes.
    24            You told me that the                  24        Q. And so if this doctor came
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     1   back to practice after 1998 and started         1
     2   to prescribe drugs and started to buy           2
     3   drugs, as is represented here from Henry        3
     4   Schein, if you look at the footnote on          4
     5   Page 6, it says, On July 12th Henry             5
     6   Schein, Inc. provided a summary of              6
     7   defendant's purchases of controlled             7
     8   substances between January of 2011 and          8
     9   July of 2012. And it's attached as              9
    10   Exhibit B. And I'll show that to you in        10        A. Yes.
    11   a minute.                                      11        Q. Is this the -- is this a new
    12             But for Henry Schein to              12   customer questionnaire, or is this a
    13   start supplying controlled substances to       13   different kind of questionnaire?
    14   this doctor as of January 1st, 2011, it        14        A. This was the -- yeah, the
    15   would have conducted new customer due          15   standard questionnaire.
    16   diligence on that customer, correct?           16        Q. For a new client or for a
    17         A. Yes.                                  17   suspicious order, or for both?
    18         Q. And that information in 2011          18        A. For both.
    19   should still be in the system, because         19        Q. All right. So if you
    20   it's after the 2009 purge, correct?            20   brought on a new client, you would send
    21         A. I would think so, yes.                21   this form out, and that would be part of
    22         Q. Okay. So let me show you              22   your new client due diligence in 2011;
    23   Exhibit Number 20.                             23   but it would also be the same
    24                - - -                             24   questionnaire you would send out if you
                                             Page 323                                             Page 325
     1          (Whereupon, Exhibit                      1   had an order that you had pended,
     2      Schein-Abreu-20,                             2   correct?
     3      HSI-MDL-00001198-210, was marked             3        A. Correct.
     4      for identification.)                         4        Q. All right. And so we can go
     5             - - -                                 5   through it.
     6          MR. MIGLIORI: And for my                 6            But you wrote to him at that
     7      kind brother at the end of the               7   address. And the questionnaire just
     8      table. Exhibit-20 has a Bates                8   asks, Are you a large group or solo
     9      number of HSIMDL1198.                        9   practice? He said, Solo practice.
    10          MR. ASFENDIS: Appreciate                10   What's your specialty? He wrote, Family
    11      it.                                         11   medicine.
    12          MR. MIGLIORI: You don't                 12            Correct?
    13      trust me, you want to see it.               13        A. Yes.
    14   BY MR. MIGLIORI:                               14        Q. Is the practice owned by a
    15                                                  15   licensed practitioner? He checked off
    16                                                  16   yes. The address is an office address,
    17                                                  17   not a home address.
    18                                                  18            That's an important Know
    19                                                  19   Your Customer distinction, correct?
    20                                                  20        A. Yes.
    21                                                  21        Q. Because as of this time, it
    22                                                  22   was not the standard operating procedure
    23                                                  23   to send controlled substances to a
    24                                                  24   doctor's home address, correct?
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     1        A. No, we still could send                      1   in August of 2007; first issue date.
     2   controlled substances to a home address.             2            Do you see that?
     3        Q. Is there any point at which                  3        A. Yes.
     4   that stopped?                                        4        Q. So based on the
     5        A. No. We have plenty of                        5   indictment -- or the opinion and order of
     6   doctors who have home offices.                       6   the court, the loss of license would have
     7        Q. Okay. It gives phone                         7   ended around August of 2007.
     8   numbers, hours of operation, whether he              8            Am I reading this type of
     9   accepts insurances.                                  9   document correctly?
                                                             10        A. I'm not --
                                                             11            MR. JONES: Objection.
                                                             12        Vague.
                                                             13   BY MR. MIGLIORI:
                                                             14        Q. You can tell me --
                                                             15        A. Yeah, I'm not sure.
                                                             16        Q. All right. If you turn to
    17            So these answers are, on                   17   the page that's 1206 in your due
    18   their face, responsive, right? They're              18   diligence file, it asks for, as an answer
    19   not deficient, from a verification due              19   to a question, information about
    20   diligence standpoint, correct?                      20   testosterone. It's Question Number 17.
    21            MR. JONES: Objection.                      21   And it's signed by the doctor.
    22        Form. Vague.                                   22            Is this document a different
    23   BY MR. MIGLIORI:                                    23   questionnaire? It starts on Page 1205.
    24        Q. You're here to talk about                   24   This one is dated August 23rd, 2012.
                                                  Page 327                                              Page 329
     1   your company's suspicious order                      1   Same doctor, same address. Similar
     2   monitoring program.                                  2   questions on the front page, but it seems
     3            This form is part of that                   3   to be a little bit more extensive.
     4   program, correct?                                    4            Is this a different type of
     5        A. Yes.                                         5   follow-up question? It's one year later.
     6        Q. This form is sent out for                    6        A. It's just a -- it's just a
     7   both the new customer and for concerns               7   revised version.
     8   about suspicious orders, correct?                    8        Q. Okay. If you're sending
     9        A. Correct.                                     9   this out, though, you can't tell, by
    10        Q. Can you tell, by looking at                 10   looking at it, whether you're sending it
    11   the document, whether this was sent out             11   out because of a suspicious order issue
    12   as a new customer request or as a                   12   or just an update?
    13   suspicious order request?                           13        A. That's right.
    14        A. No.                                         14        Q. Let's go to Page 1204. It
    15        Q. All right. If you go                        15   says, Supplemental data narrative
    16   forward, there's another license -- on              16   customers.
    17   Page 1207, there's another license                  17            This form that we're looking
    18   verification from Ohio.                             18   at here, is this a -- can you tell from
    19            Again, that's done by your                 19   looking at it where this information
    20   department, correct?                                20   comes from? Is this from the PDE system?
    21        A. Yeah, it looks that way.                    21        A. JDE.
    22   Yes.                                                22        Q. JDE. I'll never get it
    23        Q. And it looks like his                       23   right.
    24   license was reissued, based on this page,           24            The JDE system?
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     1   W/MP.                                           1   not sure now.
     2            What is that? Does that                2        Q. What kind of information
     3   mean anything to you?                           3   would you get from DEA?
     4        A. It's MP was abbreviated for             4        A. It was a list of active
     5   MedPro.                                         5   registrations.
     6        Q. So that means that the                  6        Q. Okay. So that's just
     7   license was verified in June of 2011,           7   verifying that he's actively registered
     8   correct?                                        8   with DEA?
     9        A. Yes.                                    9        A. Uh-huh, yes.
    10        Q. So if the license was                  10        Q. Yes?
    11   verified any time prior to that, it            11        A. Yes.
    12   should appear here, correct?                   12        Q. That's not a report of any
    13            MR. JONES: Objection to               13   Know Your Customer elements, past
    14        form.                                     14   convictions, all that kind of stuff;
    15   BY MR. MIGLIORI:                               15   that's purely a license verification?
    16        Q. I didn't produce this                  16        A. Yes.
    17   document. I'm just trying to understand        17        Q. All right. August 17th,
    18   it.                                            18   2011, Received HS letter, approved.
    19            I don't know if there's a             19            So is that the initial
    20   page in your system where all of these         20   onboarding client letter?
    21   things are indexed or catalogued, like         21        A. Yeah. HS letter was kind of
    22   this page.                                     22   team jargon for the questionnaire.
    23            But according to this page,           23        Q. Okay. On October of 2011,
    24   the license seems to have been verified        24   Within scope, HS letter on file.
                                             Page 335                                              Page 337
     1   on June 3rd, 2011 from MedPro.                  1            So is that a pend that is
     2            Is that a reasonable                   2   overridden because it's within the scope
     3   assumption from this page?                      3   of his practice as reflected in his HS
     4        A. Yes.                                    4   letter?
     5        Q. It seems that on June 3rd of            5        A. So it was likely a pended
     6   2011, it says, WIV.                             6   order that they consulted the
     7            What kind of license would             7   questionnaire on.
     8   that be, if a license?                          8        Q. Okay. So an order in
     9        A. That would have been the                9   October of 2011 gets pended, somebody in
    10   TDDD.                                          10   verification goes into the system here to
    11        Q. Which is what?                         11   look at the HS letter and makes a
    12        A. The terminal distributor of            12   decision to approve or not approve the
    13   dangerous drugs license.                       13   order; is that how it works?
    14        Q. Okay. We saw that document.            14        A. That's right.
    15   Okay.                                          15        Q. And can you tell, from
    16            On June 10th of 2011, it              16   looking at this, who would have approved
    17   says, TP web.                                  17   that? Are those initials on the side, TH
    18            What does that mean?                  18   Harrington?
    19        A. So we used to receive DEA              19        A. Yes. That's the user ID of
    20   information via a tape reel.                   20   the person.
    21        Q. So you got some information            21        Q. Who is that person that --
    22   from tape.                                     22   I'm sorry, for the -- for the within
    23            Is that stored somewhere?             23   scope was P. Hall.
    24        A. We used to back it up. I'm             24            Do you know who that is?
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     1         A. Patti Hall.                             1        A. Yes.
     2         Q. Is Patti Hall in                        2        Q. What does that entry mean?
     3   verifications or in regulatory?                  3   Does that mean that there was another
     4         A. In -- she was in                        4   pended order, or does that mean that
     5   verifications.                                   5   there was something else that caused you
     6         Q. So if I understand this                 6   to look for the HS letter?
     7   correctly, there was an order in October         7        A. That was a scan of the
     8   of 2011. It was pended. And Patti Hall           8   actual document.
     9   would have gone to this due diligence            9        Q. Okay. So based on just that
    10   file, read the HS letter on file, and           10   information, anyway, there are no --
    11   then made a decision about whether to           11   there seems to be an indication of two
    12   supply, whether to ship?                        12   pended orders and no cancelled orders,
    13         A. Yes.                                   13   correct?
    14         Q. And can you tell here                  14        A. Based on these notes, I
    15   whether or not that was shipped?                15   would say yes.
    16         A. No.                                    16        Q. All right. I want to take
    17         Q. Would it say here, rejected?           17   you back to Exhibit Number 19, because I
    18   Would there be a letter if it were              18   want to go through the timing again with
    19   cancelled?                                      19   both of these documents.
    20         A. No.                                    20            On June 6th, 2012 --
    21         Q. Would a suspicious order get           21        A. Sorry, which page are you
    22   put into the due diligence file?                22   on?
    23         A. No.                                    23        Q. This is Page 5 of the
    24            It looks like -- it looks              24   opinion.
                                              Page 339                                           Page 341
     1   like it was released, based on the note.         1        A. Okay.
     2         Q. "Released" meaning that the             2        Q. On June 6th of 2012, Dr.
     3   order was sent to the doctor?                    3   Heim was arraigned in Summit County Court
     4         A. Yes.                                    4   of Common Pleas on seven counts of
     5         Q. In January of 2012, it says,            5   aggravated trafficking of drugs and one
     6   IVS, and then a number.                          6   count of tampering with evidence.
     7             Is that another verification           7             Is that arraignment
     8   of the license?                                  8   something that would appear in this due
     9         A. Yes, for the TDDD.                      9   diligence file if it were known to the
    10         Q. And then there's another --            10   company at the time?
    11   I'm sorry, March 2011, '12, Within scope,       11        A. Would a copy of the
    12   letter HS.                                      12   arraignment?
    13             It seems like Patti Hall              13        Q. Or concern about the client,
    14   again had a pended order that was               14   that is, the due diligence performed to
    15   researched. The letter was in the file,         15   know this client, would that have somehow
    16   the HS letter was in the file. And if           16   appeared in the due diligence file if it
    17   it's similar to the prior entry for her,        17   were known to the company?
    18   it looks like that was released to the          18             And I'm not intimating that
    19   client as well, correct?                        19   it was known to the company.
    20         A. Yes.                                   20        A. If we had a copy of the
    21         Q. And then on August 30th of             21   license that we had pulled and it
    22   2012, it just says, HS on file. And it          22   reflected it, then it would probably be
    23   refers to you, Shaun Abreu.                     23   in the file.
    24             Do you see that?                      24        Q. All right. There is an
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     1   exhibit to this order that I referenced          1   it corresponds.
     2   that Schein provided to the United States        2        Q. Okay. So if we look at the
     3   government as Exhibit B to what it filed         3   dates that Patti Hall, in Exhibit-20,
     4   as a motion for summary judgment. I'm            4   that Patti Hall cleared a pended order,
     5   going to mark it as Exhibit-21.                  5   the first one is October 24th, 2011,
     6                - - -                               6   correct?
     7             (Whereupon, Exhibit                    7        A. Yes.
     8        Schein-Abreu-21, HSI Shipped Order          8        Q. If we go to October 24th,
     9        by DEA - Run Date 7/11/12, was              9   2011, there is an order that says,
    10        marked for identification.)                10   Quantity of 3.
    11               - - -                               11             Do you see that?
    12   BY MR. MIGLIORI:                                12        A. For testosterone, yes.
    13        Q. These are the orders that               13        Q. And hydrocodone, a quantity
    14   Schein sent to Dr. Heim over the course         14   of 1.
    15   of its relationship with Dr. Heim.              15             Do you see that?
    16             Now, Exhibit-21 is a                  16        A. Yes.
    17   printout from Schein that the government        17        Q. And that was an order that
    18   used in its prosecution of Dr. Heim.            18   was cleared by Patti Hall, even though it
    19             Is this in a form that is             19   was tagged by the computer as pended?
    20   known to you, that is, in a Henry Schein        20        A. Yes.
    21   format?                                         21        Q. What is the deviation that
    22        A. Yes.                                    22   would have been tagged by the computer in
    23        Q. What would you call this                23   looking at that order?
    24   printout?                                       24        A. I couldn't say, without
                                              Page 343                                            Page 345
     1        A. We actually -- we refer to               1   seeing it.
     2   it by the report number on the top left,         2        Q. So the two substances being
     3   the ORDB81 report.                               3   ordered are testosterone and hydrocodone,
     4        Q. And so if you want to know               4   correct?
     5   an individual doctor's ordering history,         5        A. Yes.
     6   this is something that you would look to?        6        Q. What is the line that says,
     7        A. For controlled substances,               7   LNE?
     8   yes.                                             8        A. Oh, the column on the top
     9        Q. All right. And in reading                9   right, you mean?
    10   this, can you tell me the dates, based on       10        Q. Correct.
    11   this, that you supplied controlled              11        A. That's the line number on
    12   substances to Dr. Heim, that is, the            12   the order.
    13   range of dates? You don't have to give          13        Q. So when it says, 6 and 7,
    14   me each one.                                    14   what does that mean?
    15        A. The first order was June                15        A. So if you have an order that
    16   10th, 2011.                                     16   contains ten different products, it's the
    17        Q. Okay. And then?                         17   sequence in which the lines were keyed
    18        A. Through the last order of               18   for the order.
    19   July 10th, 2012.                                19        Q. Is there anything about the
    20        Q. Okay. So is there any way               20   line order and that sequence that is part
    21   to look at these orders and tell me which       21   of the algorithm, in 2011, for suspicious
    22   two of these orders were pended? Is             22   orders or pended orders?
    23   there any way to read this information?         23        A. I don't believe so, no.
    24        A. Only based on the date, if              24        Q. So for hydrocodone, it's
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     1   500BT.                                           1       form.
     2             That's the size, or the                2            MR. MIGLIORI: I'm just
     3   strength?                                        3       trying to understand the document.
     4        A. That's the size.                         4            MR. JONES: Yes, I know you
     5        Q. The size.                                5       are.
     6             So what does that mean? 500            6   BY MR. MIGLIORI:
     7   what?                                            7       Q. There is an order dated
     8        A. That's 500 dosage units, or              8   February 29th, 2012, correct?
     9   pills, in a bottle.                              9       A. Yes.
    10        Q. Is that a dosage units or               10       Q. It is for -- it was ordered
    11   pills, or is that the same thing?               11   on 2/29/12. It was released on 3/27/12,
    12        A. Same thing.                             12   correct, almost a month later?
    13        Q. All right. The strength, it             13       A. No, I don't see that.
    14   says 10 to 500.                                 14       Q. Do you see the release date
    15             What is that?                         15   right next to it? You can look at my
    16        A. That's the strength.                    16   finger.
    17        Q. What does the 10 represent,             17            MR. JONES: You're looking
    18   and what does the 500 represent?                18        at a different page.
    19        A. The 10 represents milligrams            19            THE WITNESS: I don't see
    20   of hydrocodone, and the 500 represents          20       3/27 anywhere.
    21   milligrams of acetaminophen.                    21   BY MR. MIGLIORI:
    22        Q. Okay. And according to                  22       Q. Look at the screen, I can
    23   this, it was one order of 500 doses of          23   show it to you.
    24   hydrocodone, correct?                           24            MR. JONES: Here, on the
                                              Page 347                                             Page 349
     1        A. Yes.                                     1         second page.
     2        Q. All right. And so that                   2             THE WITNESS: Oh, you're on
     3   appears -- does that appear to be the one        3         the next page. Okay.
     4   that was cleared?                                4             Yes. Okay. Yes, I see it.
     5        A. The one on 10/24?                        5   BY MR. MIGLIORI:
     6        Q. The one on 10/24 that we                 6         Q. It is the customer number,
     7   just went through --                             7   it's the DEA registration number, and
     8        A. Yes.                                     8   then the quantity now is two orders of
     9        Q. -- that was cleared by Patti             9   500 pills of 10 milligrams of hydrocodone
    10   Hall, okay.                                     10   and 500 milligrams of acetaminophen,
    11            The second one she cleared             11   correct?
    12   was on March 1st, 2012, correct?                12         A. Yes.
    13            I don't see --                         13         Q. And it says that order took
    14        A. That, I was going to say,               14   a month to release, as opposed to the
    15   that's the date of the notation. I'm not        15   order above it that took one day to
    16   sure of the date of the order.                  16   release, right? I'm reading this
    17        Q. So could it be this order               17   correctly, aren't I?
    18   two days earlier on February 29th, 2012?        18         A. It shows the release date of
    19   Because it has a release date here of           19   3/27.
    20   3/27, so would that mean that it pended         20         Q. If you look at all the other
    21   for a month?                                    21   orders and release dates, they are either
    22        A. 3/27?                                   22   the same day or the next day?
    23        Q. Do you see the --                       23         A. Uh-huh.
    24            MR. JONES: Object to the               24         Q. This is the only one that's
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     1   a month apart.                                  1        A. Yes.
     2           So does that in any way                 2        Q. So it showed up as a -- what
     3   inform you about whether or not this            3   you called a pended order, right?
     4   would have been the pended order that got       4        A. Uh-huh.
     5   reviewed?                                       5        Q. Because it was a deviation
     6        A. It's difficult to say,                  6   of size, frequency or strength or
     7   because the order on the Page 1 says            7   pattern, correct?
     8   2/29/12, released 3/1/12, which                 8        A. Well, to clarify, there was
     9   corresponds to the date of the note.            9   hydrocodone and depotestosterone that
    10        Q. So this doctor ordered, on             10   were placed on that order.
    11   the same day, hydrocodone, two quantities      11        Q. Right.
    12   of 500, which were released in a day.          12        A. So I'm not sure which of the
    13   And on the same day ordered another two        13   items caused that order to pend.
    14   orders of hydrocodone and that was             14        Q. Okay. And shouldn't that be
    15   released a month later, correct?               15   reflected in the due diligence file?
    16           So based on these records,             16        A. I don't think that it is.
    17   in one day this doctor ordered four            17        Q. So how does Patti Hall know
    18   orders of 500 hydrocodone pills, correct?      18   what to look for if it's not in the due
    19        A. No, I don't think so.                  19   diligence file that pends?
    20           So he -- so on the -- at the           20        A. In the system it would show
    21   bottom of Page 1 --                            21   what was -- what pended.
    22        Q. Let's go through it                    22        Q. So if this is what I have
    23   together. Yes.                                 23   for a due diligence file, it's not
    24        A. -- it shows the order                  24   complete, then?
                                             Page 351                                             Page 353
     1   quantity is two.                                1            MR. JONES: Object to the
     2         Q. All right.                             2        form. Misstates the testimony.
     3         A. But if you look all the                3   BY MR. MIGLIORI:
     4   way --                                          4        Q. Well, the information of why
     5         Q. Let's make sure we're                  5   it pends exists in the system, correct?
     6   looking at the same line.                       6        A. Correct.
     7             If you look at the screen,            7        Q. And it wouldn't be purged in
     8   it's the last entry on the page.                8   2011, it would still be there today,
     9         A. Yes.                                   9   correct?
    10         Q. On 2/29/12, Dr. Heim ordered          10        A. Correct.
    11   two quantities of 500 pills of                 11        Q. And you'll agree with me, at
    12   hydrocodone -- 10 milligrams hydrocodone,      12   least in Exhibit-21 that we looked
    13   500 milligrams acetaminophen, correct?         13   through -- or 20 that we looked through
    14         A. Correct.                              14   together, there was nothing in this
    15         Q. And that says that it was             15   exhibit that I have that shows why it was
    16   released on 3/1/2012?                          16   pended, whether it was for testosterone
    17         A. Yes.                                  17   or for hydrocodone or both, correct?
    18             But if you look to the               18        A. Correct.
    19   right -- I'm sorry, if you go back, on         19        Q. But if you do look at
    20   the last column, it says ship.                 20   Exhibit-21 and you see that they ordered
    21         Q. Right.                                21   two on the bottom of the first page, Dr.
    22         A. It says one.                          22   Heim ordered two 500-pill orders of
    23         Q. So he ordered two and they            23   hydrocodone, but you only shipped one.
    24   shipped one?                                   24            Does that tell you that that
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     1   was, at least, part of the pended order?         1   shipped one, correct?
     2            MR. JONES: Object to the                2        A. That's right.
     3        form.                                       3        Q. And on that same day of
     4   BY MR. MIGLIORI:                                 4   March 1st, if we go back to Exhibit-20,
     5        Q. If that weren't a pended                 5   that same day, March 1st, 2012, Patti
     6   order, wouldn't you have shipped two             6   Hall made a finding that, whatever it was
     7   bottles instead of one?                          7   that was of concern and pended, was
     8        A. Not necessarily.                         8   within the scope of the letter; that is,
     9        Q. Why would you have only                  9   her clearing a shipment happened on March
    10   shipped half the order?                         10   1st, the same day that that order was
    11        A. It could have been                      11   shipped?
    12   inventory.                                      12        A. Yes.
    13        Q. Okay. Well, is there any                13        Q. All right. So the
    14   way it says here whether it was                 14   testosterone went as ordered, four
    15   inventory?                                      15   bottles were ordered, four bottles were
    16        A. No. It's not reflected on               16   sent; as opposed to the hydrocodone, two
    17   the report.                                     17   bottles were ordered on that day and only
    18        Q. We know it would have been              18   one was shipped, correct?
    19   around the time of a pended order, based        19        A. Correct.
    20   on the front page, correct?                     20        Q. Then on that same day, in
    21        A. Yes.                                    21   your same system, Dr. Heim has another
    22        Q. And if we look at the                   22   order with a different number. You'll
    23   testosterone that you point out on the          23   agree with me that this is a different
    24   second page, he ordered four vials of           24   number, right, a different -- totally
                                              Page 355                                              Page 357
     1   testosterone and he got four bottles of          1   different order? It has a different
     2   testosterone, correct?                           2   invoice number, correct?
     3        A. That's right.                            3        A. Are you talking about the
     4        Q. Isn't it fair to assume,                 4   3551823?
     5   from that document, that the concern had         5        Q. Yes. There's a 3551823.1
     6   to do with the hydrocodone, which only           6   and a 3551823.2.
     7   half was shipped, as compared to the             7        A. Right. So that's the same
     8   testosterone, where all of it was                8   order with two different invoices.
     9   shipped?                                         9        Q. Why would it have two
    10        A. No, not necessarily.                    10   different invoices?
    11        Q. All right. So you can't                 11        A. Because the whole order
    12   tell me, looking at the files that I've         12   didn't ship initially.
    13   been given and that I'm showing you,            13        Q. All right. So then the
    14   what, of that order, was pended and what        14   second bottle that he ordered did ship,
    15   was cleared and released, correct?              15   according to this documentation, on
    16            MR. JONES: Object to the               16   3/27/12?
    17        form.                                      17        A. Correct.
    18            THE WITNESS: Correct.                  18        Q. All right. So now we know
    19   BY MR. MIGLIORI:                                19   that Patti Hall had a pended order, we
    20        Q. But you can confirm for me,             20   don't know -- you can't tell me which
    21   looking at this, that on February 29th of       21   one, but everything in the original order
    22   2012, Dr. Heim ordered two bottles of           22   gets shipped within a day except for one
    23   hydrocodone and the next day your               23   order of hydrocodone.
    24   company, based on this report, only             24            And a month later, that
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     1   second bottle of hydrocodone gets shipped       1        Q. Is that correct?
     2   to Dr. Heim, correct?                           2        A. You want me to add it up?
     3        A. Yes.                                    3        Q. I can show you the
     4        Q. And based on all of those               4   government's math if it helps you.
     5   facts, you can't tell me that the reason        5            MR. JONES: I'm not sure if
     6   for the pend was the investigation into         6        the math is right, so object to
     7   the hydrocodone?                                7        form.
     8        A. That's right.                           8            MR. MIGLIORI: Since you did
     9        Q. All right. So you ship the              9        that, I'm going to take the time
    10   second bottle to Dr. Heim.                     10        to do it.
    11            And you'll agree with me              11            That Exhibit-20 that I gave
    12   that if you are just looking at                12        you is an addendum to this. I'm
    13   hydrocodone -- strike that.                    13        not going to mark it, unless you
    14            It's so hard for me to read           14        want me to. I only have one copy.
    15   this thing. If you're looking at               15   BY MR. MIGLIORI:
    16   hydrocodone, he, less than a month before      16        Q. This is the motion -- I'll
    17   that, ordered two bottles in February of       17   show it to you. It's in front of Judge
    18   2012, just three weeks earlier, and those      18   Polster, who is the judge in this case,
    19   shipped to -- those two bottles shipped        19   in the Northern District of Ohio.
    20   to him on the same day that he ordered         20            And that motion from the
    21   them, correct?                                 21   United States government against Dr. Heim
    22        A. Correct.                               22   refers to a table that Henry Schein
    23        Q. So you've got a frequency of           23   helped the government put together of all
    24   less than a month where he's now ordered       24   orders.
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     1   four bottles, correct?                          1            And this list actually comes
     2        A. Yes.                                    2   from -- this list actually, I think,
     3        Q. And you still can't tell me             3   comes from you. Let me verify this.
     4   that that's what caused the pend?               4            MR. JONES: I'm sorry, Don,
     5        A. Correct.                                5       what number are you representing
     6        Q. And nowhere in this due                 6       is the total number on this
     7   diligence file that you show me does it         7       exhibit?
     8   cause -- can you tell me any more               8            MR. MIGLIORI: That's what
     9   information about what caused the pend,         9       I'm going -- I'm going to verify.
    10   correct?                                       10       Just one second, please.
    11        A. Correct.                               11            I wasn't planning to pull
    12        Q. But we do know that somehow            12       this out, so I need to quickly
    13   in this short -- strike that.                  13       make sure I get the source right.
    14            We do know that from June of          14            MR. JONES: I think you're
    15   2011 through July of 2012, in thirteen         15       close, Don. With my math, it's
    16   months, 11,500 doses of hydrocodone were       16       coming up with the same little
    17   sent to Dr. Heim by Schein?                    17       glitch that we were talking about,
    18            MR. JONES: Object to the              18       where it's double counted where
    19        form.                                     19       that order was split.
    20   BY MR. MIGLIORI:                               20            MR. MIGLIORI: I promise
    21        Q. Correct?                               21       you, I'm not making it up. But if
    22            MR. JONES: Lack of                    22       it double counts the one 500 and
    23        foundation.                               23       it's only 11,000, I'm okay with
    24   BY MR. MIGLIORI:                               24       that.
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     1            MR. JONES: I think it's                 1   been accounting for pattern and
     2        somewhere around there. If I'm              2   frequency.
     3        reading it right -- I mean, I'd             3        Q. Okay. So twice over this
     4        like the witness to look at it.             4   13-month period the system, suspicious
     5        But just so we have a                       5   order monitoring system at Schein, caused
     6        clarification on the record that            6   the ordering practice of Dr. Heim to
     7        might not be reflected in whatever          7   trigger for deviation in size, pattern
     8        submission you're looking for.              8   and/or frequency, correct?
     9            MR. MIGLIORI: Well, I'd                 9        A. Correct.
    10        like to do it off your own records         10        Q. Manually, an employee at
    11        because you're used to it.                 11   Schein named Patti Hall overrode both of
    12   BY MR. MIGLIORI:                                12   those pended orders, correct?
    13        Q. But if you add up all the               13        A. Correct.
    14   500s of hydrocodone --                          14        Q. That is, everything ordered
    15            MR. JONES: On the ships?               15   in that 13-month period of time by Dr.
    16   BY MR. MIGLIORI:                                16   Schein was, in fact, delivered to him,
    17        Q. -- on the ships, you're                 17   correct?
    18   talking about one, two, three, four,            18            MR. JONES: I'm sorry, you
    19   five, six, seven, eight, nine, ten, 11,         19        keep saying, as of late, Dr.
    20   12, 13, 14, 15, 16, 17, 18, 19, 20, 21?         20        Schein.
    21        A. I'm coming to 21 also.                  21            MR. MIGLIORI: Dr. Heim.
    22        Q. Twenty-one --                           22        They're too close.
    23        A. Which would be 11,500.                  23   BY MR. MIGLIORI:
    24        Q. All right. So I was right.              24        Q. Everything ordered by Dr.
                                              Page 363                                            Page 365
     1   Accidentally.                                    1   Heim in that period of time was shipped,
     2            MR. JONES: I was wrong.                 2   correct?
     3   BY MR. MIGLIORI:                                 3        A. I'm not certain of that.
     4        Q. 11,500 pills were shipped to             4        Q. Based on this document --
     5   Dr. Heim in a 13-month period, based on          5        A. Well, this is a purchase
     6   your records, correct?                           6   record.
     7        A. Correct.                                 7        Q. Right. There's an order
     8        Q. Of that 11,500 pills                     8   column and there's a ship column.
     9   shipped, somewhere in there, two orders,         9            And those, at least, match
    10   which also had testosterone, all orders         10   up, correct?
    11   at the same time, two orders were flagged       11        A. Uh-huh.
    12   by the computer system as pended orders,        12        Q. Yes?
    13   correct?                                        13        A. Yes.
    14        A. Yes.                                    14        Q. So during the same period of
    15        Q. Which means that something              15   time, as I showed you in Exhibit-19, the
    16   in the algorithm, in the order, told the        16   U.S. government, the DEA, looked at the
    17   computer that there was a deviation of          17   ARCOS database and noticed an excessively
    18   some sort.                                      18   high order of hydrocodone.
    19            And based on the other                 19            I'll refer you back to
    20   documents we've seen as of this point,          20   Exhibit-19, Page 5, on July 5th, 2012.
    21   the deviation would have been in size,          21   We can agree this is within the time
    22   because it wasn't yet calculating for           22   frame, right?
    23   pattern or frequency, correct?                  23            MR. JONES: Object to the
    24        A. At this time, we would have             24        form.
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     1   BY MR. MIGLIORI:                                  1   hydrocodone being shipped to Dr. Heim of
     2        Q. Brinks, the DEA agent,                    2   Akron, Ohio?
     3   checked the DEA Automation of Reports and         3            MR. JONES: Objection.
     4   Consolidated Order System, ARCOS, which           4       Asked and answered. Objection.
     5   is a DEA database used to capture the             5       Form. Outside the scope.
     6   activity of controlled substances from            6            THE WITNESS: I don't see
     7   the point of manufacture and/or                   7       anything in the documentation.
     8   distribution to the point of sale to the          8   BY MR. MIGLIORI:
     9   retail level registrant.                          9       Q. So it's fair to say that the
    10            Here, that would be Dr.                 10   United States government, by looking at
    11   Heim.                                            11   ARCOS, could identify this pattern of
    12            This check of ARCOS revealed            12   extraordinarily high supply of
    13   that the defendant, Dr. Heim, was                13   hydrocodone to Dr. Heim, but, at least
    14   purchasing extraordinarily large amounts         14   based on what we have in front of us from
    15   of hydrocodone tablets, hydrocodone and          15   Dr. Heim's due diligence file at Schein,
    16   acetaminophen, from the pharmaceutical           16   there is no indication of a similar
    17   wholesaler Henry Schein, Inc.                    17   detection within the Schein -- Henry
    18            In July of 2012, did you, at            18   Schein suspicious order monitoring
    19   Schein, make any such observation as             19   program, correct?
    20   reflected in any of the documents that           20            MR. JONES: Objection.
    21   I've shown you, that this was an                 21       Form. Calls for speculation.
    22   excessively or an extraordinarily large          22       Outside the scope.
    23   amount of hydrocodone being purchased            23   BY MR. MIGLIORI:
    24   from wholesaler Henry Schein?                    24       Q. Correct?
                                               Page 367                                           Page 369
     1            MR. JONES: Objection.                    1        A. Yes.
     2        Form.                                        2        Q. And this program, by this
     3            THE WITNESS: I don't know.               3   time, is the enhanced program, correct?
     4   BY MR. MIGLIORI:                                  4        A. I'm sorry, repeat that one.
     5        Q. Based on anything you've                  5        Q. The program that would have
     6   seen here, did Henry Schein in any way            6   been in place by June of 2011 through
     7   catch that Dr. Heim was getting an                7   August of 2012 would have been Henry
     8   extraordinarily large amount of                   8   Schein's enhanced program, correct?
     9   hydrocodone?                                      9        A. Enhanced system.
    10            MR. JONES: Object to the                10        Q. Enhanced suspicious order
    11        form.                                       11   monitoring system?
    12            THE WITNESS: I don't know.              12        A. Correct.
    13   BY MR. MIGLIORI:                                 13        Q. And to the extent that any
    14        Q. You don't know?                          14   such information exists within the Henry
    15            Do you see anything that                15   Schein suspicious order monitoring system
    16   tells you that they did?                         16   that identifies an extraordinarily large
    17        A. I don't see anything in the              17   amount of supply going to Dr. Heim, that
    18   documentation.                                   18   information would rest in the JDE system
    19        Q. Do you see anything in the               19   and would still exist today, correct?
    20   due diligence file that I just showed you        20        A. Correct.
    21   that, other than the two pends by Patti          21        Q. To close this story, Dr.
    22   Hall that were released, that showed that        22   Heim was sentenced to five years --
    23   Henry Schein, in fact, identified an             23   sentenced to five years in federal prison
    24   extraordinarily large amount of                  24   for drug-related offenses.
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     1             If Dr. Heim never made                1   this order and investigate whether Dr.
     2   another order, would he ever pop up in          2   Heim should get oxy -- hydrocodone?
     3   the system as being suspend or cancelled        3        A. The only time trigger would
     4   as a client?                                    4   be the license.
     5             MR. JONES: Object to form.            5        Q. So if the license were not
     6         Vague. Outside the scope. Calls           6   verified -- how frequently does the
     7         for speculation.                          7   license have to be verified within the
     8             THE WITNESS: Sorry, can you           8   Henry Schein system, the SOM?
     9         restate?                                  9        A. It's not part of our SOM
    10   BY MR. MIGLIORI:                               10   process.
    11         Q. Sure.                                 11        Q. So if this is current, if
    12             I don't see anything else,           12   this is, if this is the due diligence
    13   other than what I have here in the due         13   file as of today, there is nothing saying
    14   diligence file for Dr. Heim, about -- I        14   that the relationship with Dr. Heim has
    15   don't see anything about an indictment.        15   been terminated?
    16   I don't see anything about a conviction.       16             If what we're looking at
    17   I don't see anything about a sentencing.       17   today in Exhibit-20 in front of you right
    18             All I have on here is a last         18   now is all that you have, there is
    19   entry that -- from you on August 30th,         19   nothing to indicate your client --
    20   2012 that is, Henry Schein letter is on        20   customer relationship with him has been
    21   file.                                          21   terminated, correct?
    22             That's all that I have.              22             MR. JONES: Object to form.
    23             If he never placed another           23        Calls for speculation. Outside
    24   order with Henry Schein, is it possible        24        the scope.
                                             Page 371                                              Page 373
     1   that his account is still open with             1   BY MR. MIGLIORI:
     2   Schein?                                         2        Q. Is that correct?
     3            MR. JONES: Object to the               3        A. It mentioned in the document
     4        form. Outside the scope. Calls             4   that if Dr. Heim were to order, that we
     5        for speculation.                           5   contact DEA.
     6            THE WITNESS: Yeah, I don't             6        Q. Great. Let's go to that.
     7        know. I mean, he wouldn't have             7            You're talking about Page
     8        his licenses, I presume.                   8   1199, Dr. Heim, August 30th of 2012, as
     9   BY MR. MIGLIORI:                                9   of this point, he's been indicted for
    10        Q. Right. So let's say Dr.                10   drug-related offenses, correct, based on
    11   Heim put in an order four years later          11   that document?
    12   after his last order.                          12        A. Yes.
    13            In the suspicious order               13        Q. It is now clear that he --
    14   monitoring program at Henry Schein, is         14   strike that.
    15   there a trigger that says, we haven't          15            So at this point, you're
    16   heard from him in a couple of years, we        16   already cooperating with DEA on the
    17   need to pend this order?                       17   investigation by providing them with the
    18        A. If it was input, yes.                  18   amount of supplied controlled substances
    19        Q. What do you mean "if it was            19   you shipped to him over those 13 months,
    20   input"?                                        20   correct?
    21        A. Somebody has to flag the               21        A. I'm not sure when we
    22   system.                                        22   produced it.
    23        Q. Does the system say, it's              23        Q. And this entry here, do you
    24   been 12 months, it's been 24 months, pend      24   know who makes this entry? Can you tell
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     1   by looking at it?                               1         Q. And yet, according to this
     2        A. No.                                     2   file, if Dr. Brian Heim, on August 24th,
     3        Q. This entry says, as of                  3   2012, while being prosecuted by the
     4   August 30th, 2012, Dr. Brian Heim, who          4   United States government, if he wanted to
     5   has pled guilty to 24 felony counts of          5   order testosterone, on its face it would
     6   drug trafficking in 1998 and has just           6   not have been pended, right?
     7   been indicted in Summit County in Ohio,         7         A. I don't know.
     8   where this court sits, on drug                  8             MR. MIGLIORI: Why don't we
     9   trafficking charges, that he's been             9         take a break here?
    10   approved within the Schein system to           10             VIDEO TECHNICIAN: The time
    11   purchase testosterone and you'll continue      11         is now 4:15 p.m. We're going off
    12   to notify DEA if he orders it.                 12         the record.
    13            That's the status of your             13                - - -
    14   relationship with this customer as of          14             (Whereupon, a brief recess
    15   August 30th, 2012?                             15         was taken.)
    16        A. Right. Which indicates to              16               - - -
    17   me that, your question earlier, if Dr.         17             VIDEO TECHNICIAN: The time
    18   Heim had placed another order, would we        18         is now 4:35 p.m. We are back on
    19   have contacted him for updated due             19         the record.
    20   diligence; based on that note, the answer      20                - - -
    21   would be yes.                                  21             (Whereupon, Exhibit
    22        Q. So would you have sent out             22         Schein-Abreu-22,
    23   another letter to him?                         23         HSI-MDL-00019701-704, was marked
    24        A. It would have been another             24         for identification.)
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     1   questionnaire we would have sent.               1            - - -
     2        Q. So you would have relied on             2   BY MR. MIGLIORI:
     3   his responses to a questionnaire.               3       Q. Mr. Abreu, this is Exhibit
     4            If we go back to the                   4   Number 22.
     5   questionnaire, one of them is, in fact,         5          We're in the home stretch, I
     6   dated August of 2012.                           6   promise.
     7            You did send him a                     7          MR. MIGLIORI: Counsel, it's
     8   questionnaire in August, right?                 8       HSIMDL1970 -- I'm sorry, 19701.
     9        A. Uh-huh.                                 9   BY MR. MIGLIORI:
    10        Q. Is there anywhere in this
    11   questionnaire where it says to Schein,
    12   oh, by the way, I've been indicted on
    13   drug trafficking charges for medications
    14   that you supplied to me?
    15        A. No.
    16        Q. Is there anywhere in this
    17   due diligence file that suggests that
    18   somebody picked up the phone to call him
    19   and talk to him about this questionnaire?
    20        A. No.
    21        Q. Does this questionnaire even           21            As you're looking through
    22   ask if you have a felony drug-related          22   this, have you seen this before?
    23   history?                                       23        A. No.
    24        A. No.                                    24        Q. I'm only going to start on
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     1   call.
     2        Q. To whom?
     3        A. To regulatory.
     4        Q. And what would be your
     5   concern, that regulatory wasn't
     6   cooperating?
     7        A. That there be collaboration.
     8        Q. Would you talk to Donna                8           Is Huddles a program at
     9   Raymondito and tell her that, next time        9   Schein?
    10   you have to wait until you actually get       10        A. Yes. It's kind of like a
    11   collaboration?                                11   quick meeting.
    12        A. Yes.                                  12        Q. Is it -- but it's an
    13        Q. You can put that to the               13   in-person meeting or web cam or
    14   side. I'll show you Exhibit Number 23.        14   something?
    15                - - -                            15        A. Yes. Most of the time in
    16            (Whereupon, Exhibit                  16   person.
    17        Schein-Abreu-23, HSI-MDL-00002760,       17        Q. It's not a particular
    18        was marked for identification.)          18   platform or Internet-based or anything
    19               - - -                             19   like that? It's just sort of jargon?
    20   BY MR. MIGLIORI:                              20        A. Jargon for a quick meeting,
    21        Q. Exhibit-23 is Bates number            21   yes.
    22   HSIMDL2760. This is dated December of         22        Q. Got you.
    23   2009. The issue is scheduling a team
    24   meeting.
                                            Page 391                                             Page 393
     1            At this point, you are now
     2   part of verification, correct?
     3        A. Yes.
     4        Q. The organizer is Donna
     5   Raymondito, now Tomacello -- she's trying
     6   to collect as many Italian syllables as
     7   she can. Only I can say that in this
     8   room.
     9            You're at this meeting,
    10   right? Required attendees, Shaun Abreu.
    11   Maggie Wilding and Judy Labarbera?
    12        A. Labarbera.
    13        Q. Do you recall this meeting?
    14        A. No.                                   14           In 2009, do you recall
    15        Q. It appears that Donna                 15   instances where sales reps were actually
    16   Raymondito Tomacello is asking for a          16   educating the customers about their
    17   meeting. And it says, I would like to         17   orders in order to avoid a suspicious
    18   schedule a team meeting on Friday for         18   order monitoring pend?
    19   both New York and Reno to cover our           19        A. No, not to my knowledge.
    20   missed meeting for November.                  20        Q. You would agree with me that
    21            So would this be a meeting           21   it would not be good practice to give
    22   of the New York and Reno verification         22   dispensing history or information to your
    23   departments?                                  23   customers for the purposes of avoiding a
    24        A. It appears that way, yes.             24   suspicious order monitoring inquiry,
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     1   correct?                                        1   file from the Know Your Customer
     2        A. Correct.                                2   proactive process.
     3        Q. And that's because the                  3            Is that the process that
     4   purpose of the suspicious order                 4   we're talking about to fill the due
     5   monitoring program is to prevent                5   diligence files of the 60 percent of the
     6   diversion, not to get around the                6   customers that didn't have due diligence?
     7   requirements of the DEA in order to             7   Is that what's referred to as the
     8   prevent diversion, correct?                     8   proactive --
     9        A. Correct.                                9         A. It may have been part of
    10        Q. Have you ever seen instances           10   that process, or just a customer that we
    11   of your sales rep giving customers             11   reached out to proactively.
    12   information on their ordering history in       12         Q. You'll agree with me that --
    13   order to help them get around a                13   strike that.
    14   suspicious order inquiry?                      14            This doctor was
    15            MR. JONES: Objection.                 15   self-medicating, but he did 31,000 in
    16        Form. Vague.                              16   sales for 2011. I had him send us
    17   BY MR. MIGLIORI:                               17   justification stating that he will no
    18        Q. Have you ever seen examples            18   longer order the product to self-medicate
    19   of that?                                       19   and that all future controlled substance
    20        A. Not to my recollection.                20   orders will be for patients' use. Are
    21        Q. Okay. Do you recall that               21   you okay with reinstating? See attached
    22   meeting and whether or not that issue was      22   file.
    23   ultimately discussed at your meeting?          23            Do you recall this
    24        A. I don't recall the meeting,            24   particular doctor, Timothy Kowalski?
                                             Page 395                                             Page 397
     1   no.                                             1        A. No.
     2       Q. All right. I'll show you                 2        Q. Do you recall any doctors
     3   Exhibit-24. You know what, I'll spare           3   that you had interaction with that you've
     4   you that.                                       4   learned, in your proactive Know Your
     5           Here is Exhibit-24.                     5   Customer process, were self-medicating?
     6              - - -                                6        A. Not specifically by name,
     7           (Whereupon, Exhibit                     7   no.
     8       Schein-Abreu-24, HSI-MDL-00002760,          8        Q. And is it -- was it, in
     9       was marked for identification.)             9   2012, acceptable to clear a doctor for
    10             - - -                                10   controlled substance orders based on his
    11   BY MR. MIGLIORI:                               11   promise not to take anymore drugs
    12       Q. It is Bates number                      12   himself?
    13   HSIMDL20069. It's an e-mail chain that         13        A. Sorry, restate the question.
    14   involves Shaun Abreu and Craig Schiavo         14        Q. Is this a normal process
    15   and Bill Brandt.                               15   within Henry Schein, at least in 2012,
    16           The e-mail on the bottom is            16   that a letter from a doctor who is
    17   dated January 31st, 2012. It's from you        17   self-medicating with controlled
    18   to Craig Schiavo and Bill Brandt.              18   substances promising not to do it anymore
    19           Craig, at this point, is in            19   would be enough to reinstate him?
    20   what department?                               20        A. Not that -- not that alone,
    21       A. Regulatory.                             21   no. It depends on the circumstances.
    22       Q. Regulatory.                             22        Q. What is the relevance of the
    23           You write, January 30th,               23   fact that he did 31,000 in sales in 2011?
    24   2012, Hi, Craig, please see the attached       24        A. Well, you have -- there are
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     1   doctors who self-prescribe or                    1   controlled substances from your company,
     2   self-medicate that don't have an active          2   correct?
     3   practice.                                        3        A. Possibly.
     4        Q. So the fact that he had an               4        Q. Is him writing a letter to
     5   active practice and generated $31,000 in         5   the company, in your view, a robust due
     6   sales made him less likely to                    6   diligence, Know Your Customer process,
     7   self-medicate?                                   7   for avoiding the potential diversion of
     8        A. Not less likely. But, I                  8   those drugs by this doctor?
     9   guess, the risk for future                       9            MR. JONES: Object to the
    10   self-medication would be lower.                 10        form.
    11        Q. Based on what?                          11            THE WITNESS: It's difficult
    12        A. What?                                   12        to say.
    13        Q. Based on what?                          13   BY MR. MIGLIORI:
    14        A. Based on the active practice            14        Q. It is difficult to say,
    15   and him putting -- the doctor putting it        15   right?
    16   in writing.                                     16        A. No, I'm saying, it's
    17        Q. You acknowledge that even in            17   difficult to answer you, depending --
    18   the Controlled Substances Act, by               18   because you don't know what due diligence
    19   definition, a Schedule II drug, a               19   was conducted, based on this e-mail.
    20   controlled substance Schedule II drug,          20        Q. Based on this e-mail it says
    21   is, by definition, at high risk for             21   you asked him to write you a letter.
    22   abuse?                                          22            Is that enough?
    23        A. Yes.                                    23        A. I'm not saying that that's
    24        Q. You would acknowledge that              24   all that was -- that was done.
                                              Page 399                                            Page 401
     1   doctors who self-medicate and use their          1        Q. Well, assuming that this
     2   DEA registration number to get controlled        2   e-mail is enough -- is what was done, is
     3   substances in order to self-medicate are         3   that enough?
     4   at a higher risk of abuse?                       4             MR. JONES: Object to the
     5            MR. JONES: Object to the                5        form.
     6        form. Outside the scope. Calls              6   BY MR. MIGLIORI:
     7        for speculation.                            7        Q. That is, in your own words,
     8   BY MR. MIGLIORI:                                 8   you say, I had him send us justification
     9        Q. You would agree with that,               9   stating that he will no longer order the
    10   right?                                          10   product to self-medicate and that all
    11        A. Potentially. I'm not sure.              11   future controlled substance orders will
    12        Q. Schedule II drugs are -- can            12   be for patient use.
    13   be highly addictive and are, by                 13             As manager of the
    14   definition, much more highly likely to be       14   verification department at Henry Schein,
    15   abused by the person taking them,               15   Inc., is that a sufficient basis to say
    16   correct?                                        16   that this doctor is not at risk of
    17        A. By schedule?                            17   diverting controlled substances?
    18        Q. By definition in the                    18             MR. JONES: Object to the
    19   schedule, yes.                                  19        form.
    20        A. Yes.                                    20             THE WITNESS: Yeah, I can't
    21        Q. So a doctor that's taking               21        say. It says, See attached file.
    22   morphine equivalents has a -- at least a        22        So I'm not sure what was produced.
    23   risk of saying whatever he or she needs         23   BY MR. MIGLIORI:
    24   to say in order to continue to receive          24        Q. That's fine.
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     1             I'm asking the question that           1   1st, 2012. Hi, Craig, we never reported
     2   is, if this is all that you asked for,           2   to DEA. It was part of the proactive
     3   which is what you wrote, that you had him        3   process. I can simply reinstate the
     4   send justification that he will no longer        4   customer.
     5   do it and he will only use controlled            5            If you would agree with me
     6   substances for his patients, if that's           6   that a customer that shows up as a pend
     7   all that happened -- and I'm not saying          7   or a suspicious order not by algorithm,
     8   that is -- if that's all that happened,          8   but by Know Your Customer criteria, that
     9   would you agree with me that that's not          9   once it is determined that there is a
    10   enough due diligence to clear a doctor          10   concern that this could be a suspicious
    11   from the potential risk of him or her           11   order, that the obligation of Henry
    12   diverting the controlled substance?             12   Schein is to report the pend or
    13             MR. JONES: Object to the              13   suspicious order, as you defined it, in
    14         form. Asked and answered.                 14   2012?
    15   BY MR. MIGLIORI:                                15            MR. JONES: Object to the
    16         Q. Go ahead.                              16        form.
    17         A. I think it depends on the              17            THE WITNESS: If there was a
    18   circumstances.                                  18        pend, we would have reported it.
    19         Q. So there is a circumstance             19   BY MR. MIGLIORI:
    20   where a letter promising not to do it           20        Q. And you would agree with me
    21   again is sufficient, in the Henry Schein        21   that the Know Your Customer process,
    22   suspicious order monitoring system?             22   proactive process at Schein, by itself,
    23   There is a circumstance where that would        23   can produce a pend, correct?
    24   be fine?                                        24        A. I'm sorry, can you restate
                                              Page 403                                              Page 405
     1        A. There may be.                            1   that?
     2        Q. And it would be okay that                2        Q.    Sure.
     3   just if the doctor wrote and said, I             3             By definition, this is a
     4   promise, I won't do it again?                    4   pend, right?
     5        A. There may be. It depends on              5             MR. JONES: Objection.
     6   the circumstances.                               6   BY MR. MIGLIORI:
     7        Q. Is that true today, too? Is              7        Q. You received a bit of
     8   that true today, too, not just in 2012?          8   information from a doctor about
     9        A. That a letter --                         9   self-medicating.
    10             MR. JONES: Object to the              10             That, by definition, in
    11        form.                                      11   2012, is a pend, correct, requiring
    12   BY MR. MIGLIORI:                                12   further due diligence? Correct?
    13        Q. That a letter would be                  13             MR. JONES: Object to the
    14   enough; that a letter would be consistent       14        form.
    15   with the standard operating procedures of       15             THE WITNESS: I don't know
    16   Henry Schein, Inc. for the suspicious           16        if there was an order.
    17   order monitoring system in place today?         17   BY MR. MIGLIORI:
    18        A. Generally, no.                          18        Q. That's not my question.
    19        Q. All right. Craig wrote back             19   Forget the letter. Forget the date.
    20   to you and said, Shaun, I'm okay with           20             Today, if you find out that
    21   reinstating. Do you think we should send        21   a doctor is self-medicating, that
    22   this to DEA as a follow-up to our               22   requires further due diligence, correct?
    23   reporting letter?                               23        A. Correct.
    24             You wrote back on February            24        Q. You'd call that a pend in
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     1   the Henry Schein system, correct?                1        trying to get the last one.
     2            MR. JONES: Object to the                2   BY MR. MIGLIORI:
     3        form. Misstates prior testimony.            3        Q. Correct?
     4            THE WITNESS: Not                        4            MR. JONES: Same objection.
     5        necessarily, no.                            5   BY MR. MIGLIORI:
     6   BY MR. MIGLIORI:                                 6        Q. Correct?
     7        Q. You'd call it -- it's                    7        A. I'm not sure I understand
     8   something that requires further due              8   the question.
     9   diligence, right?                                9        Q. A doctor that's
    10        A. Yes.                                    10   self-medicating is a red flag, correct?
    11        Q. So that further due                     11            MR. JONES: Object to the
    12   diligence necessarily, in the Henry             12        form.
    13   Schein system, prevents you from shipping       13            THE WITNESS: Potentially,
    14   until you resolve the issue, correct?           14        yes.
    15        A. Yes.                                    15   BY MR. MIGLIORI:
    16        Q. All right. So when you                  16        Q. Is there any instance where
    17   learn in 2012 that a doctor is                  17   a doctor who is self-medicating with a
    18   self-medicating, you do the due                 18   controlled substance is not a red flag?
    19   diligence, as you report in this e-mail,        19        A. If it was prescribed.
    20   to make sure that this isn't going to be        20        Q. By himself, or herself?
    21   a diverted supply of controlled                 21        A. No, by the doctor.
    22   substance, correct?                             22        Q. If a doctor is
    23            MR. JONES: Object to the               23   self-medicating, as is described right
    24        form. Asked and answered.                  24   here -- which means prescribed to
                                              Page 407                                             Page 409
     1   BY MR. MIGLIORI:                                 1   himself, correct?
     2        Q. Correct?                                 2        A. Correct.
     3            MR. JONES: Outside the                  3        Q. -- that is a pend red flag
     4        scope.                                      4   in the Henry Schein system today,
     5   BY MR. MIGLIORI:                                 5   correct?
     6        Q. Correct?                                 6        A. So I think maybe you're
     7        A. Yes.                                     7   confusing the pend. So it's not a pend,
     8        Q. And so by that definition,               8   because there's no order.
     9   this should have been reported at least,         9        Q. All right.
    10   in the Henry Schein system, as a pend,          10            Does the file, like we saw
    11   correct?                                        11   in the last exhibit where it says zero
    12            MR. JONES: Objection.                  12   pend on all orders, does something happen
    13        Form. Asked and answered.                  13   in the system, when you have a proactive
    14   BY MR. MIGLIORI:                                14   Know Your Customer bit of information
    15        Q. Correct?                                15   like this, does something happen in your
    16        A. If there was a pend, it                 16   system that tells people, don't do
    17   would have been reported.                       17   anything until we do our due diligence?
    18        Q. Knowing that a doctor was               18        A. Yeah, we may flag the
    19   self-medicating produces at least a pend        19   account. Yes.
    20   in the Schein monitoring system, correct?       20        Q. Flag the account, that's the
    21            MR. JONES: Objection.                  21   term we'll use.
    22        Asked and answered three times.            22            You'll agree with me that a
    23            MR. MIGLIORI: No, it's                 23   doctor who self-medicates in 2012 will
    24        three different ways. I'm just             24   cause you, once you learn of it, to flag
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     1   the account, correct?                          1
     2        A. Correct.                                                                            .
     3        Q. And that flagging of the               3            Have you seen this document
     4   account prevents any shipment to that          4   before?
     5   doctor until that flag is resolved,            5        A. I don't believe so, no.
     6   correct?                                       6        Q. And it's signed by Sergio
     7        A. Correct.                               7   Tejeda, the director of regulatory
     8        Q. And whether you call it a              8   operations and compliance.
     9   flag, or anything else, that information       9            We've been talking about him
    10   is reportable to the DEA, correct?            10   all day, correct?
    11            MR. JONES: Object to the             11        A. Yes.
    12        form.
    13   BY MR. MIGLIORI:
    14        Q. Even Craig asked you, do we
    15   report this to the DEA?
    16        A. As a -- he asked if we
    17   should send a follow-up to the DEA saying
    18   that we cleared it --
    19        Q. Right.
    20        A. -- was the question.
    21        Q. Do you have to report that
    22   you're reinstating a doctor -- when you
    23   use the word "reinstating," it suggests
    24   to me that the doctor had been suspended      24          First off, do you know what
                                            Page 411                                             Page 413
     1   or pended or something.                        1   the six distribution centers are that are
     2             Am I wrong to assume that?           2   licensed to sell prescription drugs in
     3        A. No, it would have been -- it           3   Ohio? Do you know which ones they are?
     4   would have been placed on hold.                4        A. Yeah. We have six in the
     5        Q. All right. Do you place --             5   U.S.
     6   do you tell the DEA when you have to           6        Q. Do you know where they are
     7   place a doctor on hold?                        7   located? Can you give me the names by
     8        A. Not necessarily.                       8   city?
     9        Q. All right. And it appears              9        A. Yes.
    10   from that document that you're looking at     10        Q. What are they?
    11   that, in this instance, you didn't notify     11        A. So it would be Indianapolis;
    12   the DEA, correct?                             12   Jacksonville; Grapevine, Texas; Reno,
    13        A. Correct.                              13   Nevada; and Denver, Pennsylvania; and
    14        Q. Exhibit-25.                           14   Bastion, Virginia.
    15                - - -                            15        Q. And all six of those
    16             (Whereupon, Exhibit                 16   distribution centers are subject to the
    17        Schein-Abreu-25,                         17   suspicious order monitoring systems that
    18        HSI-MDL-00397293-294, was marked         18   we've been talking about all day,
    19        for identification.)                     19   correct?
    20               - - -                             20        A. Yes.
    21   BY MR. MIGLIORI:                              21        Q. That is, whatever we've been
                                                       22   talking about applies to all the
                                                       23   distribution centers that supply to the
                                                       24   state of Ohio, correct?
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     1        A. Yes.                                    1           Do you recall that you had
     2        Q. Is there any basis for why              2   only been, at Schein, reporting to the
     3   one distribution center versus another          3   Ohio Board of Pharmacy, as of that date,
     4   would be shipping into the state?               4   Tramadol and carisoprodol?
     5        A. It would just be                        5        A. No.
     6   availability of product.                        6        Q. Would it be fair to say that
     7        Q. Supply?                                 7   based on this -- strike that.
     8        A. Yes.                                    8           Do you recall this letter?
     9        Q. Okay. Mr. Tejeda goes on to             9        A. No.
    10   say, The purpose of this letter is to          10        Q. Do you recall this instance?
    11   notify the Ohio Board of Pharmacy of an        11        A. No.
    12   issue that was recently discovered while       12        Q. Were you in any way, to your
    13   conducting a routine internal review of        13   knowledge, made aware of this
    14   our operations. During the course of our       14   underreporting to the state of Ohio?
    15   internal review, we realized that Henry        15        A. I may have been, but I don't
    16   Schein, Incorporated, has been                 16   recall.
    17   underreporting sales of controlled             17        Q. And based on this, the only
    18   substances to the Ohio Board of Pharmacy       18   controlled substances being reported to
    19   as required by the state's prescription        19   Ohio were those two morphine equivalents,
    20   monitoring program, PMP. The reports           20   Tramadol and carisoprodol, correct?
    21   included sales of products that contained      21        A. That's what the letter says,
    22   Tramadol and carisoprodol, but did not         22   yes.
    23   include the sale of other controlled           23        Q. That leaves out every other
    24   substances. We believe the                     24   Schedule II drug, like hydrocodone, that
                                             Page 415                                            Page 417
     1   underreporting error was due to                 1   we discussed earlier, correct?
     2   misinterpretation and/or miscommunication       2         A. Correct.
     3   of the state requirement that happened          3         Q. So even at this stage, in
     4   during the implementation of our computer       4   November of 2012, all 11,500 pills
     5   automated reporting system.                     5   supplied to Dr. Heim were not reported to
     6            Do you recall -- now, in               6   the Ohio Board of Pharmacy, correct?
     7   November of 2012, you were, in fact, part       7         A. Yes.
     8   of the verification team and the SOM            8              MR. JONES: Objection.
     9   program, correct?                               9         Form. Beyond the scope. Calls
    10        A. Correct.                               10         for speculation.
    11        Q. At this point, the enhanced            11   BY MR. MIGLIORI:
    12   SOM program is in place and implemented,       12         Q. I'll get to the connection
    13   correct?                                       13   to it.
    14        A. The one from 2009 you're               14              You would agree that the
    15   referring to?                                  15   11,500 doses of hydrocodone to Dr. Heim
    16        Q. The one that Buzzeo helped             16   were not reported to the Ohio Board of
    17   to design and then launched through            17   Pharmacy as of November 2012, correct?
    18   October of 2011, correct?                      18              MR. JONES: Same objections.
    19        A. I mean, it's been enhanced,            19              THE WITNESS: Based on the
    20   you know, up until present day.                20         letter, I would say yes.
    21        Q. But it's post Buzzeo                   21   BY MR. MIGLIORI:
    22   review --                                      22         Q. Okay. And that would be in
    23        A. Yes.                                   23   violation of the Ohio requirements for
    24        Q. -- correct? All right.                 24   reporting transactions, correct?
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     1             MR. JONES: Objection.                 1   information which was mistakenly omitted
     2        Calls for speculation. Form.               2   for the previous two years. See
     3        Outside the scope.                         3   enclosures.
     4             THE WITNESS: I'm not sure             4            Have you ever seen that list
     5        if it's a violation.                       5   that was provided to the Ohio Board of
     6   BY MR. MIGLIORI:                                6   Pharmacy with this letter, November of
     7        Q. I showed you the Ohio                   7   2012?
     8   regulations as your own company                 8        A. No.
     9   incorporated them into the standard             9        Q. Do you know if that list
    10   operating procedures.                          10   contains any of the shipments of Schedule
    11             Do you recall that earlier           11   II drugs into Summit County, Ohio?
    12   today?                                         12        A. I've never seen the list.
    13        A. Yes.                                   13        Q. So you wouldn't know whether
    14        Q. And you'll agree that the              14   or not it also contained shipments into
    15   Ohio Board of Pharmacy is -- requires          15   Cuyahoga County, correct?
    16   that you report transactional data to          16        A. I've never seen it.
    17   Ohio just like you do to the DEA,              17        Q. You haven't seen it.
    18   correct?                                       18            HSI would like to ensure the
    19             MR. JONES: Object to the             19   Ohio Board of Pharmacy that our
    20        form. Calls for a legal                   20   electronic reporting process has been
    21        conclusion. Outside the scope.            21   modified so that future reports,
    22             THE WITNESS: Right.                  22   including the current reporting period,
    23   BY MR. MIGLIORI:                               23   will include all required information.
    24        Q. So to the extent that the              24            Would you agree with me that
                                             Page 419                                             Page 421
     1   letter is correct, that was being sent by       1   all required information, under the Act
     2   Sergio Tejeda to the Ohio Board of              2   in Ohio, would include all shipments into
     3   Pharmacy, those pills that we talked            3   Ohio of Schedule II drugs?
     4   about today to Dr. Heim would not be part       4            MR. JONES: Object to the
     5   of any of the reporting done to the Ohio        5        form. Outside the scope. Calls
     6   Board of Pharmacy as of November 2012,          6        for a legal conclusion.
     7   based on this letter, correct?                  7   BY MR. MIGLIORI:
     8             MR. JONES: Objection.                 8        Q. Would you agree with that?
     9        Calls for speculation. Form.               9        A. Can you restate?
    10        Outside the scope.                        10        Q. Yes.
    11   BY MR. MIGLIORI:                               11            Would you agree with me that
    12        Q. Correct?                               12   this process that's been modified in the
    13        A. Yes.                                   13   electronic reporting system would now
    14        Q. To date, Henry Schein, Inc.,           14   include, in order to be current and
    15   has consistently filed the reports on a        15   compliant with Ohio law, would include
    16   timely basis as required by the PMP. And       16   all controlled substances?
    17   prior to the discovery of this issue, HSI      17            MR. JONES: Same objections.
    18   was not aware that the reports were            18            THE WITNESS: If that's what
    19   incomplete. Please be reassured that           19        the law called for.
    20   there was never any intent to avoid or         20   BY MR. MIGLIORI:
    21   circumvent the company's obligation under      21        Q. The suspicious order
    22   Ohio state law, and as a fact of good          22   monitoring program that you're here to
    23   faith, Henry Schein, Incorporated is           23   talk about includes state obligations to
    24   providing all controlled substance sales       24   report as well, right? We just saw that
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      1:17-md-02804-DAP Doc #:–1974-2
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     1   in the policies and procedures.                  1            - - -
     2            MR. JONES: Object to form.              2         (Whereupon, Exhibit
     3        Overly broad as to time.                    3      Schein-Abreu-26, HSI-MDL-00039634,
     4   BY MR. MIGLIORI:                                 4      was marked for identification.)
     5        Q. Correct?                                 5           - - -
     6        A. Yes.                                     6   BY MR. MIGLIORI:
     7        Q. All right. And we saw that
     8   Ohio -- and Mr. Tejeda states it right
     9   here, under Ohio state law, it is
    10   required to report to the board in Ohio
    11   all controlled substances distributed and
    12   sold in the state of Ohio, correct?
    13        A. Yes.
    14        Q. Failure to report, prior to
    15   November of 2012, the transactions of all
    16   controlled substances in the state of
    17   Ohio would be a failure to comply with
    18   that provision, correct?
    19            MR. JONES: Object to the
    20        form. Outside the scope. Calls
    21        for legal conclusion.
    22   BY MR. MIGLIORI:
    23        Q. Correct?
    24        A. I'm not sure of the legal
                                              Page 423                                              Page 425
     1   implication.
     2       Q. If you don't report and
     3   you're required to report, you would
     4   agree it's not compliant, correct?
     5            MR. JONES: Object to the                5           Now, Beverly Butcher is in
     6       form. Outside the scope. Overly              6   regulatory, correct?
     7       broad as to time. Vague as to                7       A. Correct.
     8       time. Outside -- calls for a                 8       Q. That's part of Sergio's
     9       legal conclusion.                            9   department, correct?
    10   BY MR. MIGLIORI:                                10       A. Yes.
    11       Q. Correct?                                 11       Q. She did a site visit on Dr.
    12       A. Sorry?                                   12   Spendle, and the report restricting him
    13       Q. If you're obligated to                   13   from the purchase of controlled
    14   report, you don't do it, that's not             14   substances was put on the M drive.
    15   compliant, correct?                             15           Is that part of the JDE
    16       A. You're not fulfilling the                16   system?
    17   requests.                                       17       A. No, that's a separate --
    18            MR. JONES: Same objection.             18       Q. What is that?
    19   BY MR. MIGLIORI:                                19       A. It's a local network drive.
    20       Q. Which means you're not                   20       Q. Why would the report be
    21   compliant with the request, right?              21   placed on the M drive versus the JDE
    22       A. Yes.                                     22   system?
    23            MR. MIGLIORI: Exhibit-26.              23       A. Eventually it will get
    24       Two more documents and we're done.          24   placed in both.
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     1        Q. Which is the official                    1   or I should say Tina writes in this
     2   repository?                                      2   e-mail to Kathleen, on February 27th,
     3        A. You can argue they both are,             3   2015, that she just found out from
     4   but JDE captures everything.                     4   Shaun -- that would be you in
     5        Q. When you go -- when the DOJ              5   verifications, correct?
     6   or DEA comes to you and says, we need            6        A. Yes.
     7   information, do you go to the M drive or         7        Q. -- that verifications
     8   do you go to the JDE, or do you go to            8   accidentally released his hydrocodone
     9   both?                                            9   order on February 23rd. Please do not
    10        A. Usually both.                           10   send a suspicious order letter to the
    11        Q. So if I needed due diligence            11   DEA. Thanks.
    12   on Dr. Heim, might there be something on        12            Now, I want to understand
    13   the M drive that's not contained in that        13   the process of the verifications
    14   JDE due diligence file?                         14   department releasing hydrocodone in a
    15        A. Potentially.                            15   pended order.
    16        Q. Did you look at the M drive             16            How is it that verifications
    17   in preparing or assisting in the                17   is involved with releasing a hydrocodone
    18   production of documents in this case, as        18   order in the Henry Schein system in 2015?
    19   we discussed earlier today?                     19        A. You're asking if we were
    20        A. Not me personally. But                  20   able to release it?
    21   somebody did check it, yes.                     21        Q. How is it that that happens?
    22        Q. At your direction?                      22   Is that part of the normal process, that
    23        A. Yes.                                    23   verifications would release a hydrocodone
    24        Q. So the doctor gets put on               24   order?
                                              Page 427                                              Page 429
     1   restriction for the purpose of controlled        1        A. Yes.
     2   substances. Steffanie-Oak writes to              2        Q. Is that the normal release
     3   Kathleen Reid -- who is Kathleen Reid at         3   process?
     4   this point?                                      4        A. Based on existing due
     5        A. She's a member of                        5   diligence, yes.
     6   regulatory.                                      6        Q. So let's say the order
     7        Q. So Tina Steffanie-Oak writes             7   didn't get pended or flagged in any way.
     8   to Kathleen and says, I just found out           8            The doctor makes an order,
     9   from Shaun that verifications                    9   would verifications be involved in the
    10   accidentally released his hydrocodone           10   order at all?
    11   order on February 23rd. Please do not           11        A. If the order wasn't flagged?
    12   send a suspicious order letter to the           12        Q. Right.
    13   DEA. Thanks.                                    13        A. So it didn't pend?
    14            Does verifications release             14        Q. Right. The order doesn't
    15   hydrocodone that is pended as a practice?       15   pend.
    16        A. That is --                              16            Would verifications have any
    17            MR. JONES: Objection.                  17   role whatsoever, in a normal order that's
    18        Form.                                      18   not pended or flagged, in releasing the
    19               - - -                               19   order to the customer?
    20            (Whereupon, a discussion off           20        A. Not unless --
    21        the record occurred.)                      21            MR. JONES: Objection.
    22              - - -                                22        Form.
    23   BY MR. MIGLIORI:                                23            THE WITNESS: Not unless it
    24        Q. You write in this e-mail --             24        was for a license.
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     1   BY MR. MIGLIORI:                                  1   reported -- strike that.
     2        Q. Okay. But that's still a                  2            On February 27th, 2005, in
     3   flag, that is, it would be flagged for a          3   response to the statement that this
     4   license, correct?                                 4   doctor has been restricted from the
     5        A. Correct.                                  5   purchase of controlled substances,
     6        Q. So in order for                           6   Steffanie Tina Oak writes that this
     7   verifications, as represented in this             7   doctor has a current open order and will
     8   e-mail, to be in a position to even               8   need to be reported to the DEA.
     9   release the hydrocodone, somehow this             9            That's what Tina said on
    10   order was pended or flagged for                  10   that date, correct?
    11   verifications, correct?                          11        A. Yes.
    12        A. That's what it appears, yes.             12        Q. You have no reason to
    13        Q. And based on this e-mail,                13   dispute that a doctor who is visited on
    14   according to Tina, somebody in the               14   site and it's determined needs to be
    15   verifications department released the            15   restricted from the purchase of
    16   pend, released the flag, allowed the             16   controlled substances would be reported
    17   order to get filled; is that accurate?           17   to the DEA, correct?
    18        A. Yes.                                     18            MR. JONES: Objection.
    19        Q. And as we discussed earlier,             19   BY MR. MIGLIORI:
    20   in e-mail, this is actually a doctor who         20        Q. That is part of the
    21   ordered who has been restricted from the         21   suspicious order monitoring system at
    22   purchase of controlled substances,               22   Schein in 2015, correct?
    23   correct?                                         23            MR. JONES: Objection to
    24        A. As a result of the site                  24        form.
                                               Page 431                                              Page 433
     1   visit.                                            1            THE WITNESS: Yes.
     2        Q.   As a result of a site visit.            2   BY MR. MIGLIORI:
     3            So you have a site visit and             3        Q. You have to let the DEA know
     4   you make a decision to restrict his               4   when a doctor can't get drugs, correct,
     5   purchase of controlled substances, at             5   controlled substances?
     6   Henry Schein, correct?                            6        A. Yes.
     7        A. If -- after the site visit.               7        Q. In response to that, though,
     8        Q. The site visit would only be              8   Tina Steffanie-Oak responds again and
     9   triggered by some kind of flag or pend,           9   says, I just found out from Shaun that
    10   correct?                                         10   verifications -- your department --
    11        A. Maybe, not necessarily. It               11   accidentally released the hydrocodone
    12   could have been -- it could have been            12   order four days earlier, on February
    13   triggered as a result of our due                 13   23rd, correct?
    14   diligence review.                                14        A. Yes.
    15        Q. All right. In any event, in              15        Q. And Tina is instructing
    16   February, February 27th, a site review is        16   Kathleen Reid in regulatory, please do
    17   done and they decide, yes, in fact, we           17   not send a suspicious order letter to the
    18   need to restrict this doctor's use of            18   DEA.
    19   controlled substances, correct?                  19            Do you see that?
    20        A. Yes.                                     20        A. Yes.
    21        Q. That same day, Tina                      21        Q. Do you recall this
    22   Steffanie-Oak says that there is a               22   happening?
    23   current open order, and Schein will need         23        A. No.
    24   to reopen -- I'm sorry, will need to be          24        Q. That is not lawful, correct?
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      1:17-md-02804-DAP Doc #:–1974-2
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                                           Page 434                                          Page 436
     1           MR. JONES: Object to the
     2       form. Calls for a legal
     3       conclusion. Outside the scope.
     4   BY MR. MIGLIORI:
     5       Q. That's not lawful, is it?
     6           MR. JONES: Same objections.
     7           THE WITNESS: No.
     8   BY MR. MIGLIORI:
     9       Q. Do you know if that was
    10   reported to the DEA or not?
    11       A. No, I'm not sure.
    12       Q. Exhibit-27.
    13              - - -
    14           (Whereupon, Exhibit
    15       Schein-Abreu-27,
    16       HSI-MDL-00156897-899, was marked
    17       for identification.)
    18             - - -
    19   BY MR. MIGLIORI:
    20       Q. This is Bates Number
    21   HSI156897.
    22           Have you ever dealt with
    23   William Crawford at DOJ?
    24       A. Not to my recollection.
                                           Page 435                                          Page 437
     1        Q. Doug Crawford, which is
     2   William Doug Crawford, is from the DEA,
     3   in the tactical diversion squad from          3         Q. Do you know that when you
     4   Columbus, Ohio.                               4   look back in the Ohio -- I'm sorry, when
                                                       5   you look back in the Henry Schein system
                                                       6   for pends or for suspicious orders, do
                                                       7   you know whether or not Dr. Mason was one
                                                       8   of the three pends that you identified?
                                                       9         A. No, I'm not sure.
                                                      10         Q. This was in 2016.
                                                      11             So this would be information
                                                      12   that's in the Henry Schein system, that
                                                      13   is, this would not be purged information,
                                                      14   correct?
                                                      15         A. Correct.
                                                      16         Q. And so if there were a due
                                                      17   diligence file -- strike that.
                                                      18             By 2016, you were well into
                                                      19   your proactive program of completing due
                                                      20   diligence files for all of your
                                                      21   customers, correct?
                                                      22         A. I would say yes.
                                                      23         Q. And in that proactive
                                                      24   process of due diligence, did you go and
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     1   look at doctors' reporting history to the       1        A. Yes.
     2   Ohio Board of Pharmacy where, in a state        2        Q. You would agree with me that
     3   like Ohio, reporting was a requirement?         3   as part of your Know Your Customer
     4            Is that part of the due                4   requirements, nationally and in Ohio,
     5   diligence proactive process at Henry            5   knowing whether or not a physician is
     6   Schein?                                         6   self-medicating is part of your
     7            MR. JONES: Object to the               7   obligation at Schein, correct?
     8        form.                                      8        A. Yes.
     9            THE WITNESS: We don't have             9        Q. And if on the magnitude of
    10        access to that information.               10   10,000 hydrocodone pills had been sold to
    11   BY MR. MIGLIORI:                               11   him by your company between 2012 and 2016
    12        Q. Well, you certainly have the           12   and he used them for his own personal
    13   ability to write to the Ohio Board of          13   use, that would be, in no uncertain
    14   Pharmacy to make sure they have a              14   terms, a diversion of those pills,
    15   license? You had been doing that all           15   correct?
    16   along, correct?                                16            MR. JONES: Objection.
    17        A. We've been verifying it on             17        Form. Lack of foundation.
    18   the web.                                       18        Mischaracterizes Exhibit-27.
    19        Q. Okay. And could you have --            19   BY MR. MIGLIORI:
    20   or did you ever go to the Ohio Board of        20        Q. Correct?
    21   Pharmacy to find out directly from them        21        A. Well, we don't --
    22   of any reporting history that any doctor       22            MR. JONES: Are you
    23   would have in the state of Ohio?               23        representing that all 10,000
    24        A. I don't believe so. I'm not            24        hydrocodone referenced in
                                             Page 439                                            Page 441
     1   sure they would provide it.                     1        Exhibit-27 came from Henry Schein?
     2        Q. And if you at Schein                    2            MR. MIGLIORI: I'm
     3   determined that Dr. Mason had an unusual        3        representing that that's what is
     4   ordering pattern or anything was                4        said by the doctor. I have no
     5   suspicious in the 10,000 hydrocodones he        5        idea if it's true.
     6   ordered between 2012 and 2016, you would        6   BY MR. MIGLIORI:
     7   have a file on that, right?                     7        Q. I'm asking you, if that's
     8            MR. JONES: Object to the               8   true, if what's written in this e-mail is
     9        form.                                      9   true, you would agree with me,
    10            THE WITNESS: I don't know             10   unequivocally, that the pills sold by
    11        that we sold him 10,000 units of          11   Henry Schein to this doctor for his own
    12        hydrocodone.                              12   personal use is, by definition,
    13   BY MR. MIGLIORI:                               13   diversion?
    14        Q. Well, it said that a few               14            MR. JONES: Objection.
    15   days later, The state pharmacy board went      15        Form. Misstates the document.
    16   to inspect his records, at which time Dr.      16   BY MR. MIGLIORI:
    17   Mason admitted to them that he lied to me      17        Q. Correct?
    18   and had no dispensing records because he       18            MR. JONES: Outside the
    19   was addicted to hydrocodone and had been       19        scope.
    20   ordering hydrocodone from your company         20            THE WITNESS: I don't see
    21   for his personal use.                          21        that it says that Henry Schein
    22            You would agree with me that          22        sold him 10,000 pills of
    23   that is an unlawful use, by Dr. Mason, of      23        hydrocodone.
    24   hydrocodone, correct?                          24   BY MR. MIGLIORI:
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      1:17-md-02804-DAP Doc #:–1974-2
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     1        Q. My last question didn't say             1             MR. MIGLIORI: On the
     2   that either. Your counsel raised that           2        bottom -- what's the number, HSI?
     3   objection, and I accept it, okay.               3             THE WITNESS: 208.
     4            Let me focus on the new                4             MR. MIGLIORI: 208?
     5   question, okay.                                 5             THE WITNESS: Yes.
     6            The new question is, if Dr.            6   BY MR. MIGLIORI:
     7   Mason purchased hydrocodone pills from          7        Q. It's a standard operating
     8   Schein between -- any time up until             8   procedure dated March of 2018 for
     9   January 25th of 2016, and those pills           9   suspicious order monitoring systems.
    10   weren't used for patients but were used        10             Have you seen that?
    11   for his own personal use, by definition,       11        A. Yes.
    12   those pills sold and supplied to him by        12        Q. My only question to you
    13   Henry Schein were diverted, correct?           13   about it is, does that reflect the
    14            MR. JONES: Objection.                 14   current -- most current changes to Henry
    15        Form. Lack of foundation. Calls           15   Schein's suspicious order monitoring
    16        for speculation.                          16   system as published in the standard
    17   BY MR. MIGLIORI:                               17   operating procedures? Have there been
    18        Q. Correct?                               18   revisions since that date?
    19        A. Yes.                                   19        A. Since this date, I don't
    20        Q. And the whole point of the             20   believe so.
    21   suspicious order monitoring program and        21        Q. Okay.
    22   the Know Your Customer due diligence           22             MR. MIGLIORI: That's all I
    23   requirements is to prevent diversion;          23        have. I appreciate your time. If
    24   that's the stated purpose in the Act,          24        it proves that there is a
                                             Page 443                                             Page 445
     1   correct?                                        1       subsequent one -- I don't have one
     2        A. Correct.                                2       that is subsequent to that, but if
     3        Q. I promise you this is the               3       it proves --
     4   last one, because I want to make sure I         4            MR. JONES: It's just that
     5   understand where we are today. Number           5       you went over an earlier SOP, a
     6   28.                                             6       different title, but it's more
     7               - - -                               7       recently dated.
     8            (Whereupon, Exhibit                    8            MR. MIGLIORI: Oh, it is?
     9        Schein-Abreu-28,                           9       Maybe that's why I didn't have it.
    10        HSI-MDL-000009208-218, was marked         10       Because I already used it.
    11        for identification.)                      11            What's that date?
    12              - - -                               12            MR. JONES: May 31st, 2018.
    13   BY MR. MIGLIORI:                               13            THE WITNESS: It's the same
    14        Q. And you know what, there's             14       document?
    15   only one copy of it. So I'm going to --        15            MR. JONES: It's not the
    16   I am going to give it to you. You can          16       same document.
    17   read it. Your counsel can look at it. I        17            MR. MIGLIORI: But it's a
    18   don't even need to see it.                     18       revision to the SOP.
    19            My question to you is, it's           19            MR. JONES: They're
    20   dated -- if you can read that, for my          20       different SOPs, though.
    21   counsel on the table, if you can read the      21            MR. MIGLIORI: What's the
    22   Bates number, I would appreciate it.           22       exhibit number on that, please,
    23            MR. WICKS: Describe what it           23       the one that I did earlier? Do
    24        is.                                       24       you know?
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     1            MR. JONES: This is the one              1        Q. The outside consultants that
     2        that I didn't write down the                2   consult on this, do they consult on
     3        exhibit number on.                          3   setting the maintenance of the
     4            THE WITNESS: Maybe I have               4   algorithms?
     5        it.                                         5        A. Yes.
     6            MR. WICKS: 7, I think.                  6        Q. And which outside
     7            MR. MIGLIORI: 7.                        7   consultants are currently doing that?
     8            MR. JONES: Yes. That makes              8        A. The most recent was Buzzeo.
     9        sense, because that's the one I             9        Q. And is the data associated
    10        was missing.                               10   with those thresholds housed inside Henry
    11   BY MR. MIGLIORI:                                11   Schein?
    12        Q. So my question is this,                 12        A. Yes.
    13   simply, Mr. Abreu, if you look at               13        Q. And are you involved,
    14   Exhibit-7 and this last exhibit I gave          14   day-to-day, with the revision or
    15   you, Exhibit-28, to your knowledge, as          15   refinement of those thresholds?
    16   you sit here today, do those reflect the        16        A. Yes.
    17   last revisions to Henry Schein's standard       17        Q. In what capacity? How do
    18   operating procedures for suspicious order       18   you participate in that?
    19   monitoring systems, to the best of your         19        A. Just periodic reviews of
    20   knowledge?                                      20   thresholds.
    21        A. What was the other one?                 21        Q. And is that now based on
    22        Q. Exhibit 7 and 28. One is                22   individual customer purchasing history?
    23   dated May of 2018 --                            23        A. Yes.
    24        A. I don't know. I don't see               24        Q. Okay. And I'm sorry if you
                                              Page 447                                            Page 449
     1   it. Hold on.                                     1   said this before.
     2         Q. And one is March of 2018.               2             But when did that begin that
     3   It will probably be closer to the bottom,        3   you transitioned over to individual
     4   if it's Number 7.                                4   customer purchasing history to set
     5         A. Controlled substance                    5   thresholds?
     6   monitoring reporting.                            6        A. It was some time in 2017.
     7             Okay. I would say the                  7             MR. MIGLIORI: Okay. That's
     8   answer is, yes, it is the most current.          8        all I have. And I really
     9         Q. So, currently, the system is            9        appreciate your time.
    10   entirely -- strike that.                        10             MR. JONES: I've got a few
    11             Is there any outside vendor           11        questions.
    12   that is currently operating the                 12             Can we get Exhibit-17?
    13   algorithms for suspicious order                 13               - - -
    14   monitoring at Henry Schein?                     14              EXAMINATION
    15         A. Operating?                             15               - - -
    16             MR. JONES: Objection.                 16   BY MR. JONES:
    17         Form.                                     17        Q. Do you have Exhibit-17 in
    18   BY MR. MIGLIORI:                                18   front of you? Do you remember going over
    19         Q. Is the platform for the                19   that with plaintiffs' counsel?
    20   current suspicious order monitoring             20        A. Yes.
    21   program at Henry Schein managed entirely        21        Q. Do you see where it says
    22   in-house?                                       22   "draft" at the top?
    23         A. Yes, with outside                      23        A. Yes.
    24   consultants.                                    24        Q. Do you know if there was
    Golkow Litigation Services                                             Page 113 (446 - 449)
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      1:17-md-02804-DAP Doc #:–1974-2
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                                                                               Review
                                             Page 450                                            Page 452
     1   ever a version circulated that was final?       1        A. They were sent monthly.
     2        A. Not to my knowledge.                    2        Q. And did the DEA ever
     3        Q. Do you know whether or not              3   complain about receiving those reports on
     4   Henry Schein was given an opportunity to        4   a monthly basis?
     5   review or comment on Exhibit-17, the            5        A. No.
     6   draft?                                          6        Q. Did anybody tell you that
     7        A. No, I don't.                            7   no, we want those orders, the ones that
     8        Q. Do you know if any changes              8   are -- deviated substantially from normal
     9   were made to Exhibit-17 between being a         9   pattern or of unusual size or unusual
    10   draft and being final?                         10   frequency, did anyone tell you, from DEA,
    11        A. No.                                    11   that we want those in realtime?
    12        Q. Insofar as Henry Schein had            12        A. No.
    13   opioid orders that were of unusual size        13            MR. MIGLIORI: Objection.
    14   or deviated substantially from a normal        14   BY MR. JONES:
    15   pattern or an unusual frequency, did           15        Q. You sent those reports of
    16   those get reported to the DEA?                 16   those orders regardless of whether or not
    17        A. Yes.                                   17   you or anyone else labeled them
    18        Q. For what period of time?               18   suspicious, pended, or orders of
    19        A. From early or mid 1990s                19   interest?
    20   until April 2015.                              20        A. Correct.
    21        Q. And in April 2015, that                21        Q. And did you also include
    22   stopped?                                       22   cancelled orders as well?
    23        A. Yes.                                   23        A. Yes.
    24        Q. Why?                                   24        Q. And how were those sent?
                                             Page 451                                            Page 453
     1        A. Because we received guidance            1       A. They were sent monthly as
     2   from -- industry received guidance and          2   well.
     3   based on feedback from DEA, they didn't         3       Q. Is it fair to say that every
     4   want those pended order reports.                4   month DEA had all of the information that
     5            They wanted orders that we             5   Henry Schein had for all of its pended
     6   deemed as truly suspicious as a result of       6   orders or cancelled orders?
     7   our Know Your Customer investigations.          7            MR. MIGLIORI: Objection to
     8        Q. And so after you halted                 8       form.
     9   sending those monthly reports, did anyone       9            THE WITNESS: Yes.
    10   from DEA complain?                             10   BY MR. JONES:
    11        A. No.                                    11       Q. And, again, I'm talking
    12        Q. Anybody object to you all              12   about that time period from the mid 1990s
    13   stopping sending those reports?                13   up until 2015.
    14        A. No.                                    14       A. Yes.
    15        Q. Express any sort of concerns           15       Q. Prior to when the Masters
    16   whatsoever to you or Henry Schein?             16   decision came out in the summer of 2017,
    17            MR. MIGLIORI: Objection to            17   when Henry Schein would investigate a
    18        form.                                     18   pended order, if it determined that the
    19            THE WITNESS: No.                      19   order was, in fact, suspicious, what
    20   BY MR. JONES:                                  20   would Henry Schein do?
    21        Q. Now, those orders -- or                21       A. We would report the order to
    22   those reports that you sent from -- or         22   DEA.
    23   Henry Schein sent from the mid 1990s up        23       Q. When?
    24   until 2015, were those sent in realtime?       24       A. Immediately.
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                                                                               Review
                                             Page 454                                             Page 456
     1        Q. And upon determining that               1   yes.
     2   the order was, in fact, suspicious, what        2        Q. That is, they should have
     3   would you all do with that order?               3   been pended, but under the system they
     4        A. We would cancel it.                     4   were not captured at Henry Schein, until
     5              MR. JONES: Thank you. Pass           5   2009, correct?
     6        the witness.                               6            MR. JONES: Objection.
     7                - - -                              7   BY MR. MIGLIORI:
     8               EXAMINATION                         8        Q. If they were deviations of
     9                - - -                              9   pattern or frequency, correct?
    10   BY MR. MIGLIORI:                               10            MR. JONES: Objection.
    11        Q. Two questions.                         11        Form.
    12              You were asked whether or           12   BY MR. MIGLIORI:
    13   not the DEA had all the information for        13        Q. Correct?
    14   pended orders between the 1990s and 2015.      14        A. Correct.
    15              Do you remember answering           15        Q. So they only got part of the
    16   that question right now?                       16   story for pended orders from the '90s to
    17        A. Yes.                                   17   2009, correct?
    18        Q. Through that entire time,              18        A. They got the orders based on
    19   isn't it true that the system only             19   thresholds.
    20   produced pended orders when it tripped         20        Q. On size only, correct?
    21   the size threshold in the system,              21        A. On size only.
    22   correct?                                       22        Q. Only part of what would now
    23              MR. JONES: Objection.               23   be considered a pended order, correct?
    24        Form.                                     24        A. Correct.
                                             Page 455                                             Page 457
     1            THE WITNESS: It depends on             1              MR. MIGLIORI: That's all I
     2        the year.                                  2          have.
     3   BY MR. MIGLIORI:                                3              VIDEO TECHNICIAN: The time
     4        Q. Through 2011.                           4          is now 5:52 p.m. This concludes
     5        A. Through -- so from the '90s             5          today's deposition. We're going
     6   up until 2009?                                  6          off the record.
     7        Q. 2009.                                   7                 - - -
     8        A. It would be based on size.              8              (Whereupon, the deposition
     9        Q. So orders that today would              9          concluded at 5:52 p.m.)
    10   be considered pended because of                10                 - - -
    11   deviations in frequency and pattern            11
    12   weren't deemed pended prior to 2009,           12
    13   correct?                                       13
    14        A. That's correct.                        14
    15        Q. And they weren't reported to           15
    16   the DEA, correct?                              16
    17        A. They weren't pended.                   17
    18        Q. Right. But, by definition,             18
    19   under the statute, which requires              19
    20   identifying deviations in frequency and        20
    21   pattern, not just size, they would have        21
    22   been pended, correct?                          22
    23        A. If that was -- yes, if that            23
    24   was the -- if the orders were pended,          24


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                                                                               Review
                                              Page 458                                                   Page 460
     1            CERTIFICATE                             1          ------
     2                                                               ERRATA
     3                                                    2          ------
     4           I HEREBY CERTIFY that the                3   PAGE LINE CHANGE
     5   witness was duly sworn by me and that the        4   ____ ____ ____________________________
     6   deposition is a true record of the               5   ____ ____ ____________________________
     7   testimony given by the witness.                  6   ____ ____ ____________________________
     8                                                    7   ____ ____ ____________________________
     9
                                                          8   ____ ____ ____________________________
    10
                                                          9   ____ ____ ____________________________
             Amanda Maslynsky-Miller                     10   ____ ____ ____________________________
    11       Certified Realtime Reporter                 11   ____ ____ ____________________________
             Dated: December 15, 2018                    12   ____ ____ ____________________________
    12
    13
                                                         13   ____ ____ ____________________________
    14
                                                         14   ____ ____ ____________________________
    15
                                                         15   ____ ____ ____________________________
    16
                                                         16   ____ ____ ____________________________
    17             (The foregoing certification
                                                         17   ____ ____ ____________________________
    18   of this transcript does not apply to any
                                                         18   ____ ____ ____________________________
    19   reproduction of the same by any means,
                                                         19   ____ ____ ____________________________
    20   unless under the direct control and/or          20   ____ ____ ____________________________
    21   supervision of the certifying reporter.)        21   ____ ____ ____________________________
    22                                                   22   ____ ____ ____________________________
    23                                                   23   ____ ____ ____________________________
    24                                                   24   ____ ____ ____________________________
                                              Page 459                                                   Page 461
     1       INSTRUCTIONS TO WITNESS                      1       ACKNOWLEDGMENT OF DEPONENT
                                                          2
     2
                                                                      I,_____________________, do
     3            Please read your deposition             3   hereby certify that I have read the
     4   over carefully and make any necessary                foregoing pages, 1 - 457, and that the
                                                          4   same is a correct transcription of the
     5   corrections. You should state the reason             answers given by me to the questions
     6   in the appropriate space on the errata           5   therein propounded, except for the
                                                              corrections or changes in form or
     7   sheet for any corrections that are made.         6   substance, if any, noted in the attached
     8            After doing so, please sign                 Errata Sheet.
                                                          7
     9   the errata sheet and date it.                    8   _______________________________________
    10            You are signing same subject                SHAUN ABREU           DATE
    11   to the changes you have noted on the             9
                                                         10
    12   errata sheet, which will be attached to              Subscribed and sworn
    13   your deposition.                                11   to before me this
    14            It is imperative that you                   _____ day of ______________, 20____.
                                                         12
    15   return the original errata sheet to the              My commission expires:______________
                                                         13
    16   deposing attorney within thirty (30) days       14   ____________________________________
    17   of receipt of the deposition transcript              Notary Public
    18   by you. If you fail to do so, the               15
                                                         16
    19   deposition transcript may be deemed to be       17
    20   accurate and may be used in court.              18
    21                                                   19
                                                         20
    22                                                   21
    23                                                   22
                                                         23
    24
                                                         24

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                                                                               Review
                                        Page 462
     1          LAWYER'S NOTES
     2   PAGE LINE
     3   ____ ____ ____________________________
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